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                        Exhibit 01
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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION


NATIONAL INFUSION CENTER
ASSOCIATION, on behalf of itself and its
members; GLOBAL COLON CANCER
ASSOCIATION, on behalf of itself and its
members; and PHARMACEUTICAL
RESEARCH AND MANUFACTURERS OF
AMERICA, on behalf of itself and its
members,

                     Plaintiffs,                    CIVIL ACTION NO. 1:23-cv-00707

       vs.

XAVIER BECERRA, in his official capacity
as Secretary of the U.S. Department of Health
and Human Services; the U.S.
DEPARTMENT OF HEALTH AND
HUMAN SERVICES; CHIQUITA BROOKS-
LASURE, in her official capacity as
Administrator of the Centers for Medicare and
Medicaid Services; and the CENTER FOR
MEDICARE AND MEDICAID SERVICES,


                     Defendants.



              EXPERT DECLARATION OF PROFESSOR CRAIG GARTHWAITE

                                          August 10, 2023
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     I.      INTRODUCTION

                      Qualifications
1.        I am the Herman R. Smith Research Professor in Hospital and Health Services and a tenured
          Professor of Strategy at the Kellogg School of Management, Northwestern University. I am
          also the Director of the Program on Healthcare at Kellogg. I teach courses in the economics
          of strategy and healthcare strategy and organize Kellogg’s healthcare business curriculum. In
          addition, I am a Research Associate at the National Bureau of Economic Research, and a
          Faculty Associate at the Institute for Policy Research at Northwestern University.

2.        I received a Ph.D. in Economics from the University of Maryland at College Park, a Master’s
          in Public Policy from the Gerald R. Ford School of Public Policy at the University of
          Michigan, and a B.A. in Political Science from the University of Michigan.

3.        Prior to my graduate studies, I was an Economist at Public Sector Consultants in Lansing,
          MI, and the Director of Research and Chief Economist at the Employment Policies Institute,
          in Washington, DC.

4.        My research focuses on the business of healthcare with a focus on the interaction between
          private firms and public policies. My recent work has studied pricing and innovation in the
          biopharmaceutical sector. In this area, I have examined the effect of changes in market size
          on investments in new product development, the evolving world of precision medicine, the
          innovation response of United States pharmaceutical firms to increases in demand, and the
          relationship between health insurance expansions and drug prices. Additionally, I have
          examined the impact of policies directed at orphan drugs and potential changes to the drug
          pricing landscape more broadly.1 Finally, I have examined the demand response of the
          market to firms receiving new FDA indications for existing medications.2




     1
       See e.g., Bagley, Nicholas, et al., “The Orphan Drug Act at 35: Observations and an Outlook for the Twenty-First
     Century,” Innovation Policy and the Economy, Vol. 19, No. 1, 2019, pp. 97-137, available at
     https://www.journals.uchicago.edu/doi/full/10.1086/699934. See also Chandra, Amitabh, and Craig Garthwaite,
     “The Economics of Indication-Based Drug Pricing,” The New England Journal of Medicine, Vol. 377, No. 2, July
     13, 2017, pp. 103-106.
     2
       See e.g., Berger, Benjamin, et al., “Regulatory Approval and Expanded Market Size,” NBER Working Paper, June
     2021, No. 28889, available at https://www.nber.org/system/files/working_papers/w28889/w28889.pdf.
                                                             4
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5.       My research has been published in journals such as the Quarterly Journal of Economics, the
         American Economic Review, the Review of Economics and Statistics, the Journal of Health
         Economics, the New England Journal of Medicine, the Annals of Internal Medicine, and
         Health Affairs and has been profiled in media outlets such as the New York Times, the Wall
         Street Journal, the Washington Post, and Vox. I have testified before the United States
         Senate, United States House of Representatives, and state legislatures on matters related to
         healthcare reform, pharmaceutical markets, competition in healthcare markets, and labor
         economics.3 I have also testified several times before Congress on matters related to potential
         healthcare reform focused on controlling drug prices.4

6.       A copy of my curriculum vitae is attached as Appendix A to this report and includes a list of
         my publications authored in the previous ten years. Appendix B includes a list of cases in
         which I have testified either at deposition or trial within the last four years, and recent
         testimony before Congress.

                       Assignment
7.       I have been asked to describe the economic impact of the Inflation Reduction Act of 2022
         with regards to the Medicare Drug Pricing Provision.5 In particular, I have been asked to
         evaluate the “negotiation” process required by the Medicare Drug Pricing Provision, and to
         consider the impact of setting prices for certain selected drugs on innovative behavior by
         manufacturers and the corresponding potential impacts on current and future patients.

8.       In executing my assignment, I have relied on my own training and research, relevant
         literature, and publicly-available information. A list of the materials that I have relied upon is

     3
       See e.g., Garthwaite, Craig Testimony before the House Committee on Oversight and Reform, May 18, 2021,
     available at https://www.congress.gov/117/meeting/house/112631/witnesses/HHRG-117-GO00-Wstate-
     GarthwaiteC-20210518.pdf. See also Garthwaite, Craig Testimony before the Senate Committee on Commerce,
     Science, And Transportation’s Consumer Protection, Product Safety, and Data Security Subcommittee, May 5,
     2022, available at https://www.commerce.senate.gov/services/files/18C46017-860D-4A6A-816D-1290A0B4FBC2.
     4
       See e.g., Garthwaite, Craig Testimony before the House Committee on Education and Labor Subcommittee Health,
     Education, Labor, and Pensions, September 26, 2019, available at
     https://edworkforce.house.gov/uploadedfiles/craig_garthwaite_-_testimony.pdf. See also Garthwaite, Craig
     Testimony before the Senate Committee on Health, Education, Labor, and Pensions, March 22, 2023, available at
     https://www.help.senate.gov/imo/media/doc/Senate_Testimony_HELP_Garthwaite.pdf.
     5
       I am aware that the Inflation Reduction Act of 2022 has additional provisions that may impact drug prices and
     patient costs, including a requirement that manufacturers pay rebates if the prices of their drugs increase faster than
     inflation and limits on Medicare patient out-of-pocket spending, among others. I have not considered or discussed
     their impacts on patient access in this declaration but reserve the right to do so.
                                                               5
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         provided in Appendix C. I also directed a team of employees from Analysis Group, Inc.
         (“Analysis Group”), an economics research and consulting group. I am being compensated at
         an hourly rate of $900. In addition, I receive a portion of the fees paid to Analysis Group for
         its work. No compensation to me or to Analysis Group is contingent on my findings or on the
         outcome of this litigation.

 9.      This declaration summarizes the opinions that I have formed since the Inflation Reduction
         Act of 2022 was enacted in August 2022, the Centers for Medicare and Medicaid Services
         (“CMS”) Guidance was issued in March 2023 and revised in June 2023, and the Internal
         Revenue Service (“IRS”) Guidance was issued in August 2023. My opinions are based on the
         research and analyses that I was able to undertake during this period and the information
         available to me as of the date of this declaration, as well as my own understanding of the
         Inflation Reduction Act, CMS Guidance, and IRS Guidance. My work in this matter is
         ongoing, and I may amend or supplement my opinions and declaration, if necessary and
         appropriate, based on further review of information, research and analyses, or changes to my
         understanding of the law or its implementation.


   II.      SUMMARY OF OPINIONS
10.      The United States is the undisputed global leader in pharmaceutical innovation, with U.S.
         firms responsible for $122 billion or 58.9 percent of global research and development
         (“R&D”) spending in 2020 and more than half of the world’s new drugs in the last decade.
         The U.S. market-based approach to setting pharmaceutical prices allows manufacturers and
         investors to be sufficiently rewarded for drug candidates that do come to market so that they
         can absorb losses when most drug candidates in development fail. While patients in the U.S.
         have historically benefited from this approach through the earliest and broadest access to new
         medications (nearly 80 percent of medicines approved by the FDA in 2021 were available in
         the U.S. before any other country), fundamental changes to this environment and uncertainty
         about whether these changes will persist in the future pose an immediate threat to global
         innovation and access to future treatments in the U.S.

11.      In August 2022, the U.S. Congress passed the Inflation Reduction Act of 2022 (“IRA”). The
         law includes a provision directing the Centers for Medicare and Medicaid Services (“CMS”)

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      to implement a “price negotiation program to lower [Medicare] prices for certain high-priced
      single source drugs” by setting a so-called maximum fair price (“MFP”) that must be offered
      to all eligible Medicare purchasers and beneficiaries. The statute grants CMS substantial
      latitude to define certain key terms and processes and to set MFPs, while also imposing
      extreme penalties on manufacturers who reject the MFPs set by CMS. This combination
      effectively establishes a price-setting regime rather than a price negotiation process for
      covered drugs, which will lead to substantial disruption of the drug development
      environment that benefits U.S. patients.

12.   While the IRA includes some guidelines and broad definitions for identifying MFP-eligible
      drugs and determining MFPs, it leaves many specifics to CMS’ discretion. For example, the
      IRA states that the MFP cannot exceed the lower of the product’s Average Sales Price
      (“ASP”) for a Part B drug or plan-weighted net negotiated price for a Part D drug and an
      applicable percent of the average non-federal average manufacturer price (“non-FAMP”),
      but, for most drugs, does not include a floor price. Similarly, while it directs CMS to consider
      certain factors (e.g., the cost of therapeutic alternatives, comparative effectiveness, unmet
      medical need), whether and how CMS incorporates these factors in its price calculation is
      undefined and subject to CMS’ sole determination. CMS’ Guidance, released on March 15,
      2023 and revised on June 30, 2023, sets out CMS’ interpretation of certain key terms of the
      IRA, as well as its intentions for implementing the IRA’s directive to “develop and use a
      consistent methodology and process… that aims to achieve the lowest maximum fair price
      for each selected drug.” Certain definitions reflected there (e.g., for a Qualifying Single
      Source Drug (“QSSD”) subject to MFP-setting and how CMS will measure whether a
      generic is marketed to determine if competition exists) will expand the statute’s price-setting
      impact on the biopharmaceutical marketplace, manufacturers, and patients.

13.   Moreover, the statute imposes extreme penalties on manufacturers who reject CMS’ MFP
      final “offer.” Manufacturers will be faced with an untenable choice between: (1) accepting
      the MFP set by CMS, no matter how low; (2) an excise tax for non-compliance that could
      escalate from 186 to 1,900 percent of total U.S. revenues from all purchasers for a given
      product (not just Medicare or government sales); or (3) withdrawing all products from
      coverage under Medicare and Medicaid.
                                                    7
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14.   Because of the broad latitude the IRA grants CMS alongside the extreme penalties it imposes
      on manufacturers who reject the MFP set by CMS, Congress has effectively given CMS the
      unfettered power to set prices for eligible drugs. Indeed, so unconstrained are these prices
      that CMS could conceivably set a $0 MFP. From an economic perspective, manufacturers
      (particularly those that sell multiple products), would be better off accepting an offer close to
      a zero price (or even a negative price, i.e., pay CMS for the right to provide the drug to
      Medicare participants) than face either of the onerous and financially unsustainable
      alternatives. Even if such absurd prices were not set by CMS, manufacturers would
      constantly face the threat that they could be, creating substantial economic uncertainty. This
      is particularly important in drug development given that manufacturers must make large
      investment decisions over a decade before potential prices will be set – forcing them to
      predict the decisions of future CMS leaders operating with broad latitude. Moreover, the
      statute ostensibly purports to prohibit manufacturers from seeking judicial review on key
      implementation decisions and once CMS has set its final MFP, no matter how low, or the
      degree to which it has or has not incorporated fair consideration of the factors it is required to
      consider. As a result, the process amounts to, as the CEO of one biopharmaceutical company
      recently described it, “negotiating with a gun to the head.”

15.   The provisions defined in the IRA, together with uncertainty over how CMS will deploy the
      latitude in setting prices granted by the IRA, will change economic incentives for
      manufacturers and in turn, will likely result in consequences that will negatively impact
      patients. These expected consequences are not limited to MFP-eligible drugs, but instead
      extend to a wider set of products because of competitive dynamics in the prescription drug
      and health insurance markets. Foremost among these is reduced drug and indication
      development that will deny patients access to future treatments, resulting in foregone health
      outcome improvements. Specifically, the IRA’s price-setting provisions and timetable will
      result, among other things, in:

      a. Disincentives to invest in and develop post-approval indications. For drugs that have
         already received initial FDA approval, certain manufacturers will conclude that post-
         approval indication development programs are no longer economical because there is not
         sufficient time during which the drug will be able to earn market-based prices to recoup
                                                    8
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   those investments before the drug becomes subject to MFP-setting. In other cases,
   manufacturers and investors will conclude that full drug development programs that
   anticipate multiple post-approval indications are no longer economical and those drugs
   will no longer be developed at all.

b. Disruptions to established oncology drug development approaches and disincentives to
   develop additional indications that have the potential to be life-saving. Historically,
   many oncology drugs launch with approval either for a narrow patient population where
   scientific and clinical proof-of-concept can be most rapidly established, as a later-stage
   treatment for a single tumor type, or both. Over time, manufacturers often then test and
   seek approval for the drug as an earlier line of therapy, for concomitant treatment with
   other medications, or for other tumor types. This development approach prioritizes
   development of the indications that allow the drug to come to market most rapidly and
   therefore to become available to patients sooner. Under the IRA, manufacturers will face
   incentives favoring other approaches, such as delaying or forgoing indications for smaller
   patient populations, or delaying or forgoing trials that would support use with other
   frequently administered drugs.

c. Reduced incentives to develop drugs that primarily treat older or disabled populations.
   Because the IRA sets MFPs for high Medicare-spend drugs, drugs that are
   disproportionately reimbursed through Medicare (e.g., those that treat neurodegenerative
   conditions) will be less appealing innovation targets for manufacturers than those that
   typically treat younger, non-disabled populations, all else equal.

d. Reduced innovation investment for diseases typically treated by small molecule drugs.
   Under the IRA, there are nine years before small molecule drugs and 13 years before
   biologic drugs may face MFP-setting (with the drug possibly being selected for the MFP-
   setting process starting at seven and eleven years, respectively). This nine-year period
   contrasts with the current average period for small molecule drugs between branded drug
   launch and the market entry of the first substitutable generic drug (the “market
   exclusivity period”) of roughly thirteen years. Because of the difference between the
   periods of time until IRA price-setting for small molecule and biologic drugs,
   pharmaceutical manufacturers will face incentives to pursue biologic drugs over small
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   molecule ones, all other factors equal. This is problematic because small molecule
   generic drug entry is well-established, assuring cheaper generic drug treatment options
   for patients and payers, including Medicare and other government programs. In addition,
   small molecule drugs play a central role in certain therapeutic areas because of their
   inherent properties (e.g., in mental health and central nervous system conditions due to
   their ability to cross the blood-brain barrier because of their smaller molecular size), are
   easier and lower-cost to administer, and more convenient for patients.

e. Delayed access to new therapies as non-U.S. markets become relatively more appealing
   for certain drug launches. Manufacturers, in my opinion, will respond to altered
   incentives for post-approval indication development by changing their launch sequencing
   approaches in certain circumstances. While launching new drugs in the U.S. first has
   historically been a well-established strategy, post-IRA, manufacturers in some
   circumstances are more likely to launch in other geographic markets first to gain
   experience and sales before “starting the clock” for MFP-setting eligibility in the U.S.
   This will be particularly true if firms plan to expand a product’s initial label over time
   and/or believe that a launch will be more successful if clinicians have more real-world
   evidence of efficacy.

f. Migration of the MFP payment structure to the commercial market. In the event that
   the IRA’s MFP-setting approach migrates from Medicare to the commercially-insured
   population, consequences to innovation will be further compounded. For example,
   Colorado has established a State Prescription Drug Affordability Board (“PDAB”) with
   authority to set “upper payment limits” for drugs covered both by public and commercial
   plans, which has already indicated it will use MFPs (that the IRA requires CMS to
   publish) as an input to those upper payment limits. Similarly, in Minnesota, products that
   are selected for an upper payment limit by the PDAB and are subject to an MFP must set
   the upper payment limit at the MFP. Other PDABs are likely to follow suit, further
   extending the impact of the IRA on prices and innovation beyond Medicare.




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      III.      BACKGROUND

                        Innovation and Development in the Pharmaceutical Market

                        1. The drug development process is complex, lengthy, risky, and expensive
16.          The process of discovering and developing new drugs is widely understood to be a lengthy,
             risky, and expensive one. According to the 2021 Congressional Budget Office (“CBO”)
             report on R&D in the pharmaceutical industry:

                        “Developing new drugs is a costly and uncertain process, and
                        many potential drugs never make it to market. Only about 12
                        percent of drugs entering clinical trials are ultimately approved for
                        introduction by the FDA. In recent studies, estimates of the
                        average R&D cost per new drug range from less than $1 billion to
                        more than $2 billion per drug… [t]he development process often
                        takes a decade or more, and during that time the company does not
                        receive a financial return on its investment in developing that
                        drug.”6
             Despite this low success rate, the U.S. biopharmaceutical industry spent more than an
             estimated $122 billion on R&D in 2020 alone.7 To maintain this level of investment, the
             expected return for drugs that do make it to market must be high enough to counterbalance
             the substantial likelihood of failure. Importantly, firms (including both manufacturers and
             external investors, such as venture capital and private equity firms) must make judgments
             about the expected return of a product over a decade before it will actually come to market
             and begin earning revenues. This requires predicting the market dynamics the product will
             face at that time prior to making this large fixed and sunk set of initial development
             investments (i.e., investments that cannot be recovered or repurposed). As the CBO confirms,
             “[l]ower expected returns would probably mean fewer new drugs, because there would be
             less incentive for companies to spend on R&D.”8


      6
        “Research and Development in the Pharmaceutical Industry,” Congressional Budget Office, April 2021, available
      at https://www.cbo.gov/publication/57126.
      7
        “U.S. Investments in Medical and Health Research and Development 2016-2020,” Research America, January
      2022, available at https://www.researchamerica.org/wp-content/uploads/2022/07/ResearchAmerica-Investment-
      Report.Final_.January-2022.pdf. Note it is unclear to what degree this estimate comprehensively captures
      expenditures by external investors (e.g., venture capital, private equity) and it thus may be an underestimate of total
      U.S. R&D investment.
      8
        “Research and Development in the Pharmaceutical Industry,” Congressional Budget Office, April 2021, Box 3,
      available at https://www.cbo.gov/publication/57126.
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17.       The path to a successful new drug is complex and unsure, involving an ecosystem composed
          of many different types of institutions and firms. Each party plays a role along the complex
          and uncertain path from early-stage research, to proof-of-concept, to clinical trials in research
          volunteers, and ultimately, if successful at each stage, to FDA approval and
          commercialization. The variety of organizations at each step of this process are motivated by
          different goals and each provides its own unique contribution.

18.       While the earliest stages of research are often funded by public actors (e.g., government
          funders such as the National Institutes of Health, or nonprofit organizations such as
          universities), reflecting the “public good” nature of basic research, this is only one step in the
          long path from “bench to bedside.” Navigating the rest of this path typically requires a
          succession of private firms to invest large amounts of fixed and sunk capital with little
          certainty of a profitable return. Firms are willing to make these investments based on risk-
          adjusted models of the profitability of their investments — models that are premised on
          predictions and assumptions about market conditions many years in the future. These private
          firms, whether early-stage startups or established firms, can only attract and justify the
          necessary capital for drug development if they expect to generate a return for their investors
          that is sufficiently attractive compared to other non-pharmaceutical investment options. This
          is the fundamental economic reality at the center of the drug development process.9

19.       With the support of venture capital and private equity investors, early-stage biotech firms
          generate new scientific approaches and drug leads, but are often not ultimately responsible
          for bringing a drug candidate all the way through clinical testing, regulatory review and
          approval, and commercialization. Rather, they often seek various forms of economic
          relationships that reward them for achieving defined milestones and allow them to be
          acquired by larger, more established, and diversified biopharmaceutical firms (i.e., those with
          multiple product pipelines).




      9
       For further discussion, see Garthwaite, Craig Testimony before Senate Committee on Health, Education, Labor,
      and Pensions, March 22, 2023, available at
      https://www.help.senate.gov/imo/media/doc/Senate_Testimony_HELP_Garthwaite.pdf.
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                    2. The stages of the drug development process
20.     Once early-stage research has identified potential clinical value in a specific molecule or
        moiety,10 the drug development process begins. This process involves investments at three
        stages: pre-clinical research (before human testing begins); clinical testing (human clinical
        trials and regulatory approval); and post-approval R&D (continued exploration and
        development of the drug’s potential in new patient populations and disease indications). I
        describe each stage briefly below.

21.     Pre-clinical testing. Prior to clinical trials in human subjects, potential drug development
        candidates undergo various pre-clinical tests to determine if the drug candidate is sufficiently
        promising in terms of pharmacological activity as well as efficacy and safety in relevant
        animal models to merit further investment and exploration. Many candidates studied during
        the pre-clinical testing phase are rejected, and never enter clinical trials. Moreover, pre-
        clinical testing is expensive and time-consuming, with the CBO summarizing that, based on
        analysis from a 2016 study, “preclinical development accounted for an average of 31 percent
        of a company’s total expenditures on drug R&D, or $474 million per approved new drug,”
        and “takes an average of about 31 months.”11 Candidate drugs that survive the pre-clinical
        phase are then subjected to extensive clinical testing for safety and efficacy in human
        research volunteers.

22.     Clinical testing. Companies file Investigational New Drug (“IND”) applications with the
        FDA detailing planned clinical studies to advance promising drug candidates to human
        testing.12 Clinical development typically encompasses three phases: Phase I, Phase II, and
        Phase III, with research volunteer population sizes that steadily increase from fewer than 100
        patients in Phase I trials to Phase III trials that may enroll thousands of patients across many


   10
     An active moiety is defined as “the molecule or ion, excluding those appended portions of the molecule that cause
  the drug to be an ester, salt (including a salt with hydrogen or coordination bonds), or other noncovalent derivative
  (such as a complex, chelate, or clathrate) of the molecule, responsible for the physiological or pharmacological
  action of the drug substance.” 21 Code of Federal Regulations (“C.F.R.”) §314.3, available at
  https://www.ecfr.gov/current/title-21/chapter-I/subchapter-D/part-314.
  11
     “Research and Development in the Pharmaceutical Industry,” Congressional Budget Office, April 2021, available
  at https://www.cbo.gov/publication/57126, referencing results from DiMasi, Joseph A., et al., “Innovation in the
  pharmaceutical industry: New estimates of R&D costs,” Journal of Health Economics, Vol. 47, May 2016, pp. 20-
  33.
  12
     “Investigational New Drug (IND) Application,” FDA, available at https://www.fda.gov/drugs/types-
  applications/investigational-new-drug-ind-application.
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       clinical trial sites around the country and the world.13 The clinical testing phase requires a
       significant amount of time – averaging 95 months from the start of Phase I trials to the
       conclusion of Phase III trials.14 Each phase serves a specific purpose, and they are typically
       completed sequentially:15

              Phase I trials (also known as human safety trials) involve a small group of healthy
               volunteers, usually between 20 and 100 people, who are given the new drug or
               treatment for the first time. The goal of this phase is to determine the safety of the
               drug. Drugs with higher levels of expected toxicity are typically tested on people who
               have the targeted illness.

              Phase II trials include a larger group of patients, usually several hundred, who have
               the condition being treated. The goal of this phase is to evaluate the effectiveness of
               the treatment and to further assess its safety and identify any side effects.

              Phase III trials involve an even larger group of patients, often between 300 and 3,000
               people, who have the condition being treated – with the number of patients being
               dictated in part by the patient population and the statistical power necessary to
               demonstrate efficacy. The goal of this phase is to confirm the effectiveness of the
               treatment relative to no treatment, monitor side effects, and compare the new
               treatment with existing treatments.

23.    Traditionally, the FDA has required positive results in two Phase III trials for approval.16 In
       addition, post-approval R&D may be undertaken to test the development of additional



  13
     “What Happens in a Clinical Trial?” Healthline, available at https://www.healthline.com/health/clinical-trial-
  phases. Trial size often varies depending on the treatment area. For example, oncology trials have fewer patients
  compared to non-oncology specialties. See Hirsch, Bradford, et al., “Characteristics of Oncology Clinical Trials,”
  JAMA Internal Medicine, Vol. 173, No. 11, June 10, 2013, Table, available at
  https://jamanetwork.com/journals/jamainternalmedicine/fullarticle/1682358.
  14
     “Research and Development in the Pharmaceutical Industry,” Congressional Budget Office, April 2021, available
  at https://www.cbo.gov/publication/57126, referencing results from DiMasi, Joseph A., et al., “Innovation in the
  pharmaceutical industry: New estimates of R&D costs,” Journal of Health Economics, Vol. 46, May 2016, pp. 20-
  33.
  15
     “Research and Development in the Pharmaceutical Industry,” Congressional Budget Office, April 2021, available
  at https://www.cbo.gov/publication/57126; “Step 3: Clinical Research,” FDA, January 4, 2018, available at
  https://www.fda.gov/patients/drug-development-process/step-3-clinical-research.
  16
     “Development & Approval Process | Drugs,” FDA, available at https://www.fda.gov/drugs/development-approval-
  process-drugs.
                                                         14
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           indications and uses (e.g., potential clinical uses in diseases and patients not originally
           tested).17 For example, oncology drugs approved to treat certain cancers may be tested in
           other tumor types, and immunology drugs may be tested on other conditions responding to
           the same anti-inflammatory pathways. Typically, as basic safety and efficacy parameters
           have been established in Phase I and II trials for the same drug, they may not be required (or
           required to the same extent) for other disease indications, uses, and patient populations.

24.        Post-approval R&D may also focus on pharmacovigilance monitoring and long-term safety
           and side effect issues, which may not have been detected in the clinical trials required for the
           drug’s original approval.18 For example, long-term follow-up studies in cardiovascular
           disease may take many years and involve multiple tens of thousands of patients.19 Indeed,
           policies increasingly promote or require the use of real-world evidence (“RWE”), with
           manufacturers investing in such studies to meet regulatory requirements or to further
           demonstrate the benefits of the therapy.20 In addition, in certain circumstances, manufacturers
           may need to fulfill post-marketing requirements, such as demonstrations of clinical benefit




      17
     I use the term “post-approval R&D” to encompass voluntary R&D activities such as post-marketing commitments
  that are not required by statute or regulation (“PMCs”), studies by manufacturers to investigate new indications and
  uses of the drug, and follow-up and monitoring studies for already-approved indications and uses undertaken
  without an FDA requirement. I distinguish these voluntary activities and investments by manufacturers from
  mandatory “post-marketing requirements,” defined below.
  18
     “Research and Development in the Pharmaceutical Industry,” Congressional Budget Office, April 2021, available
  at https://www.cbo.gov/publication/57126.
  19
     For example, the ALLHAT hypertension and lipid control trial took 8 years to complete. “Antihypertensive and
  Lipid-Lowering Treatment to Prevent Heart Attack Trial (ALLHAT),” National Heart, Lung, and Blood Institute,
  available at https://www.nhlbi.nih.gov/science/antihypertensive-and-lipid-lowering-treatment-prevent-heart-attack-
  trial-allhat.
  20
     For example, the most recent reauthorization of the Prescription Drug User Fee Amendments, PDUFA VII,
  incorporated as part of the FDA User Fee Reauthorization Act 2022, established a new pilot program “which seeks
  to identify approaches for generating RWE that meet regulatory requirements in support of labeling for effectiveness
  (e.g., new indications, populations, dosing information) or for meeting post-approval study requirements.”
  See “Advancing Real-World Evidence Program,” FDA, October 20, 2022, available at
  https://www.federalregister.gov/documents/2022/10/20/2022-22795/advancing-real-world-evidence-program.
                                                          15
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           for drugs approved under the accelerated approval pathway, or other safety-related studies
           required by the FDA.21

25.        The cost of developing a single successful drug includes the cost of all pre-clinical and
           clinical trial cash outlays (for both successful and unsuccessful development attempts), as
           well as capital costs, which reflect the fact that drug development requires locking up these
           funds for many years. Total costs vary by the magnitude of the clinical trial outlays required,
           the probability of passing the requirements of each subsequent testing phase, and the length
           of time necessary to complete each phase — factors which may vary by the disease area,
           patient population, and other influences. As noted, the overwhelming majority of drug
           candidates entering pre-human and clinical testing in research volunteers fail, and the costs of
           development reflect that harsh reality. Estimates of the share of drugs that progress from one
           phase to the next vary, but one study estimated that “for every 100 drugs entering phase I
           trials, around 60 advanced to phase II trials, just over 20 entered phase III trials, and only
           about 12 gained FDA approval.”22 Average R&D costs for approved drugs reflect this high
           possibility of failure, and a manufacturer’s total R&D expenditures also incorporates
           investments in drugs that fail in pre-human and clinical testing and do not reach the market.23
           Estimates of total development costs vary, but one study estimated an average cost of $2.6
           billion (in 2013 dollars) per approved drug based on data on 106 randomly selected drugs




      21
     Here, I adopt the FDA’s definition of “postmarketing requirements” (“PMRs”) as “studies and clinical trials that
  sponsors are required to conduct under one or more statutes or regulations” (emphasis in the original). These
  include studies that are required to be conducted to demonstrate clinical benefit for drugs approved under the
  accelerated approval pathway, certain required pediatric studies, certain studies for products approved under the
  Animal Efficacy Rule, and studies required by the FDA to assess a known serious risk related to the use of the drug,
  signals of a serious risk related to the use of the drug, or to identify an unexpected serious risk when available data
  indicate the potential for a serious risk. See “Postmarketing Requirements and Commitments: Introduction,” FDA,
  available at https://www.fda.gov/drugs/guidance-compliance-regulatory-information/postmarket-requirements-and-
  commitments.
  22
     “Research and Development in the Pharmaceutical Industry,” Congressional Budget Office, April 2021, available
  at https://www.cbo.gov/publication/57126. See also “Step 3: Clinical Research,” FDA, January 4, 2018, available at
  https://www.fda.gov/patients/drug-development-process/step-3-clinical-research, which estimates that 70 percent of
  drugs progress from phase I to phase II, 33 percent of those that enter phase II to phase III, and 25-30 percent of
  those that begin phase III ultimately go to market.
  23
     “Research and Development in the Pharmaceutical Industry,” Congressional Budget Office, April 2021, available
  at https://www.cbo.gov/publication/57126.
                                                            16
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        that initiated development between 1995 and 2007.24 Including post-approval R&D costs
        increased the estimate to $2.9 billion.25

                    3. Clinical advances may come from new drugs or from new indications for and
                       uses of approved drugs
26.     Clinical advances for patients may come from the discovery, development, and testing of
        new molecules, or from researching and testing new uses for those molecules among
        different diseases and patient groups, after they are approved (usually in the form of “post-
        approval indications”).26 From 2011-2021, 460 new molecular entities (“NMEs”) were
        approved by the FDA.27 Often, NMEs represent groundbreaking innovations in
        pharmaceutical research, offering new therapeutic options for patients suffering from various
        diseases or conditions. At the same time, the process of developing completely new NMEs is
        risky, time-consuming, and expensive, typically requiring extensive preclinical and clinical
        studies to ensure safety and efficacy. A manufacturer developing an NME also incurs
        financial risk due to the relative uncertainty surrounding a product with no real-world data. In
        addition to the scientific risk, firms are exposed to market risk as competitor products can
        reduce the revenues of successfully launched drugs. Indeed, it typically takes years for drugs
        to achieve peak revenues and within this time new molecules, additional indications and uses
        of competing drugs, or generic versions of existing competitors can be developed and
        launched, leading to market share pressure and more price competition.28

27.     New post-approval indications for existing FDA-approved drugs represent an important
        aspect of drug development and can be of critical clinical importance to patients. My co-
        authors and I conducted a study of drugs approved by the FDA, and found that between 1995
        and 2019, post-approval indications represented approximately 40 percent of all (i.e., total


   24
     DiMasi, Joseph A., et al., “Innovation in the pharmaceutical industry: New estimates of R&D costs,” Journal of
  Health Economics, Vol. 47, May 2016, pp. 20-33.
  25
     DiMasi, Joseph A., et al., “Innovation in the pharmaceutical industry: New estimates of R&D costs,” Journal of
  Health Economics, Vol. 47, May 2016, pp. 20-33.
  26
     Here I define an “indication” to reflect a separate entry in the “Indications and Usage” section of the FDA label
  for the approved product. 21 C.F.R. §201.57(c)(2) available at
  https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfcfr/cfrsearch.cfm?fr=201.57.
  27
     Van Arnum, Patricia, “New Drug Approvals in 2021: The Numbers and Trends,” Value Chain Insights, January
  27, 2022, available at https://www.dcatvci.org/features/new-drug-approvals-in-2021-the-numbers-and-trends/.
  28
     Bauer, Hans H., and Marc Fischer, “Product life cycle patterns for pharmaceuticals and their impact on R&D
  profitability of late mover products,” International Business Review, Vol. 9, No. 6, December 2000, pp. 703-725.
                                                           17
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       initial plus post-approval) indications.29 Another study of 88 new medicines (71 small
       molecules and 17 biologics) first approved by the FDA between 2010 and 2012 found that
       post-approval indications (including, for example, new tumor types or new patient
       populations) are a common feature of drug development; 47, or just over half of the 88
       studied drugs, received at least one post-approval indication, and the post-approval
       indications represented 58 percent of the 209 total indications (including both initial and
       post-approval indications). Further, many of these post-approval indications were approved
       years after the initial approval; 53 (44 percent) of them were approved seven or more years
       after the drug’s initial approval. Both small molecule and biologic drugs generated post-
       approval indications (59 percent of the biologics and 52 percent of the small molecule drugs
       received at least one post-approval indication).30 Similarly, another study found that, of the
       average cost associated with producing a single FDA-approved drug, 25 percent went to
       post-approval R&D (including additional indications, new dosage forms and strengths, and
       post-approval monitoring studies).31

28.    Moreover, because post-approval indications generally can rely on previously completed
       scientific research and early-phase clinical trials related to safety and some aspects of
       efficacy, the development of post-approval indications reflects more streamlined pre-clinical
       and clinical testing, making it a more cost-efficient path for new treatment options than
       developing a new molecular entity drug. As common biological pathways become better
       understood, their importance will likely increase.

29.    While post-approval indications can be clinically important in many disease states, they are
       particularly important in oncology. For example, biologic drug Keytruda (pembrolizumab) is
       an immune checkpoint inhibitor that acts by strengthening the body’s immune system T


  29
     Berger, Benjamin, et al., “Regulatory Approval and Expanded Market Size,” NBER Working Paper, June 2021,
  No. 28889, available at https://www.nber.org/system/files/working_papers/w28889/w28889.pdf.
  30
     “Implications of the Inflation Reduction Act Price Setting Provisions on Post-approval Indications for Small
  Molecule Medicines,” Partnership for Health Analytic Research, June 2023, available at
  https://www.pharllc.com/wp-content/uploads/2023/05/Implications-of-the-IRA-on-Post-Approval-Small-Molecules-
  2006-2012_Final.pdf; Longo, Nicole, “New government price setting policy threatens post-approval research,”
  PhRMA, November 10, 2022, available at https://catalyst.phrma.org/new-government-price-setting-policy-threatens-
  post-approval-research.
  31
     DiMasi, Joseph A., et al., “Innovation in the pharmaceutical industry: New estimates of R&D costs,” Journal of
  Health Economics, Vol. 47, May 2016, pp. 20-33. Figure references the share of estimated total out-of-pocket R&D
  cost attributable to post-approval R&D; the corresponding figure when capitalized is 11 percent.
                                                         18
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           cells’ ability to kill some specific cancer cells.32 It was approved with a single indication in
           2014 for certain patients with melanoma,33 but post-approval clinical trials have shown that
           the mechanism of action can help many patients with a wide variety of cancers.34 As I
           discuss further in Section V.B, Keytruda has subsequently received many additional
           approvals over the past nine years, for a total of 36 current disease indications across 18
           tumor types. While Keytruda may be exceptional in its total number of post-approval
           indications, Rituxan, which was approved in 1996 for the treatment of non-Hodgkin’s
           lymphoma, provides a similar example; since its initial launch, Rituxan has subsequently
           been approved for seven additional indications, including three entirely outside of
           oncology.35 Several were approved eleven or more years after the drug’s initial approval.
           These approvals are summarized in Exhibit 2.

                      Introduction to Medicare and the Current Process for Drug Price
                      Negotiation
30.        Before assessing the implications of the IRA Medicare Drug Pricing Provision, I briefly
           review the different parts of the Medicare program and the benefits Medicare beneficiaries
           received under each program (which will help frame the impact of the IRA).

                      1. Medicare program structure
31.        Medicare is the U.S. federal health insurance program for people who are 65 or older, certain
           younger people with disabilities, and people with end-stage renal disease.36 Medicare is
           provided through four different parts (A, B, C, and D). Collectively, these four programs
           provide beneficiaries with inpatient, skilled nursing, hospice, nursing home, at-home health,




      32
         “Pembrolizumab (Keytruda),” Cancer Research UK, October 8, 2019, available at
      https://www.cancerresearchuk.org/about-cancer/treatment/drugs/pembrolizumab.
      33
         “Keytruda FDA label,” Drugs@FDA, as of September 4, 2014, available at
      https://www.accessdata.fda.gov/drugsatfda_docs/label/2014/125514lbl.pdf.
      34
         “Selected Indications for KEYTRUDA (pembrolizumab),” Keytruda, available at
      https://www.keytrudahcp.com/approved-indications/.
      35
         See Exhibit 2.
      36
         “What’s Medicare?” Medicare.gov, available at https://www.medicare.gov/what-medicare-covers/your-medicare-
      coverage-choices/whats-medicare.
                                                           19
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           outpatient care, and prescription drug coverage.37 In 2021, Medicare benefit payments totaled
           $829 billion.38

32.        Medicare Part A is administered by CMS and covers inpatient hospital stays, some care in
           skilled nursing facilities (“SNF”) relating to a qualifying inpatient hospital stay, hospice care,
           limited nursing home care (inpatient-level care in a SNF that is not custodial or long-term
           care), and some at-home health care.39

33.        Medicare Part B is also administered by CMS and covers medically necessary items and
           services and certain preventive services. Part B coverage includes physicians’ visits, medical
           supplies, outpatient care, and drugs or biologics that are administered by a physician or other
           healthcare provider (typically drugs that are infused or injected).40 By statute, Part B also
           covers certain types of drugs such as oral anti-cancer, anti-emetic drugs, and certain
           inhalation drugs.41

34.        Medicare Part C, more commonly known as Medicare Advantage (“MA”), provides an
           alternative to “original Medicare” coverage through Medicare Part A and Part B. Coverage is
           provided through plans offered by private health insurance companies that Medicare pays.
           Most MA plans also include Part D coverage, as well as some additional benefits, such as




      37
         “What’s Medicare?” Medicare.gov, available at https://www.medicare.gov/what-medicare-covers/your-medicare-
      coverage-choices/whats-medicare.
      38
         Cubanski, Juliette, and Tricia Neuman, “What to Know about Medicare Spending and Financing,” Kaiser Family
      Foundation, January 19, 2023, available at https://www.kff.org/medicare/issue-brief/what-to-know-about-medicare-
      spending-and-financing/.
      39
         “What Part A covers,” Medicare.gov, available at https://www.medicare.gov/what-medicare-covers/what-part-a-
      covers.
      40
         “What Part B covers,” Medicare.gov, available at https://www.medicare.gov/what-medicare-covers/what-part-b-
      covers; “Prescription drugs (outpatient),” Medicare.gov, available at
      https://www.medicare.gov/coverage/prescription-drugs-outpatient; “Drug coverage under different parts of
      Medicare,” Centers for Medicare & Medicaid Services, March 2023, available at https://www.cms.gov/outreach-
      and-education/outreach/partnerships/downloads/11315-p.pdf.
      41
          “Medicare Parts B/D Coverage Issues,” Centers for Medicare & Medicaid Services, available at
      https://www.cms.gov/medicare/prescription-drug-
      coverage/prescriptiondrugcovcontra/downloads/partsbdcoveragesummarytable_041806.pdf.
                                                            20
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           vision and dental, that original Medicare does not cover.42 As of 2022, nearly half (48
           percent) of Medicare beneficiaries chose to enroll in an MA plan.43

35.        Medicare Part D became available to Medicare beneficiaries in 2006 and helps cover the
           cost of prescription drugs (i.e., drugs purchased at a pharmacy and that are usually self-
           administered).44 Like MA, Medicare Part D is also administered by private health insurance
           companies and offered through competing plans selected by Medicare beneficiaries.
           Beneficiaries may choose to enroll in stand-alone Part D prescription drug plans (“PDPs”) or
           MA plans that include Part D coverage (called “MA-PD plans”).45

                       2. Current mechanism for Part D and Part B drug reimbursement
36.        Reimbursement for drugs administered under Medicare Part D and Medicare Part B is
           handled differently. Part D is administered by private plan sponsors who are individually
           responsible for negotiating reimbursement rates with drug manufacturers through a
           competitive private market process. The prices realized by manufacturers under the Part D
           program are their list prices less competitive discounts and rebates.46 In contrast, Part B drugs
           are acquired and administered by providers, such as hospital outpatient clinics and
           physicians’ offices, and those providers are generally reimbursed by Medicare for those
           drugs according to a formula that includes the ASP of the drug plus an additional percentage
           amount. ASP reflects manufacturer net prices to most U.S. commercial ASP-eligible
           purchasers.47

      42
         “Your coverage options,” Medicare.gov, available at https://www.medicare.gov/health-drug-plans/health-
      plans/your-coverage-options; “What’s a Medicare Advantage Plan,” Medicare.gov, revised April 2015, available at
      https://www.medicare.gov/sites/default/files/2018-07/11474.pdf.
      43
         Freed, Meredith, et al., “Medicare Advantage in 2022: Enrollment Update and Key Trends,” Kaiser Family
      Foundation, August 25, 2022, available at https://www.kff.org/medicare/issue-brief/medicare-advantage-in-2022-
      enrollment-update-and-key-trends.
      44
         “What’s Medicare?” Medicare.gov, available at https://www.medicare.gov/what-medicare-covers/your-medicare-
      coverage-choices/whats-medicare; Hoadley, Jack, “Medicare’s New Adventure: The Part D Drug Benefit,” The
      Commonwealth Fund, March 1, 2006, available at https://www.commonwealthfund.org/publications/fund-
      reports/2006/mar/medicares-new-adventure-part-d-drug-benefit.
      45
         Cubanski, Juliette, and Anthony Damico, “Medicare Part D: A First Look at Medicare Drug Plans in 2023,”
      Kaiser Family Foundation, November 10, 2022, available at https://www.kff.org/medicare/issue-brief/medicare-
      part-d-a-first-look-at-medicare-drug-plans-in-2023/.
      46
         Rebates and discounts may be paid directly to plan sponsors, but also to drugs wholesalers (e.g., prompt pay or
      volume discounts), pharmacies, or PBMs. See “Follow the Pill: Understanding the U.S. Commercial Pharmaceutical
      Supply Chain, Kaiser Family Foundation, February 28, 2005, available at https://www.kff.org/other/report/follow-
      the-pill-understanding-the-u-s/.
      47
         SSA, §1847A(c).
                                                             21
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37.     Because Medicare Part D plans are administered through private health insurance companies,
        reimbursement to drug manufacturers works much the same way as it does in employer-
        provided or other commercial health plan coverage. Plan sponsors (or their designated
        Pharmacy Benefit Manager (“PBM”))48 negotiate directly with drug manufacturers to
        determine reimbursement rates (including discounts and rebates).49 The negotiated price is
        often conditioned on formulary placement (e.g., the manufacturer’s product cannot be on a
        less favorable formulary tier than a competitor’s product) and whether or not there will be
        access restrictions, such as prior authorization or step therapy requirements.50 Because
        formulary placement and access restrictions are the primary ways that insurers orient their
        beneficiaries towards specific products, manufacturers are willing to offer lower prices for
        conditions that will increase the demand for their drugs.51 Part D plan sponsors and
        manufacturers participate in the negotiation, with manufacturers competing against one
        another for preferred formulary position and access, and plans in a given geography
        competing against each other to offer an attractive set of drugs covered and premium
        amounts to beneficiaries.

38.     Under Medicare Part B, CMS reimburses providers who purchase and administer single-
        source small molecule and originator biologic Part B drugs directly (“buy and bill”),




   48
     PBMs are contracted by insurers to act as intermediaries with drug manufacturers. PBMs provide a range of
  services, including creating and structuring formularies, negotiating rebates for all members with drug
  manufacturers, and processing claims, among others. See “Pharmacy Benefit Managers,” National Association of
  Insurance Commissioners, updated June 1, 2023, available at https://content.naic.org/cipr-topics/pharmacy-benefit-
  managers.
  49
     “Prescription Drug Pricing in the Private Sector,” Congressional Budget Office, January 2007, pp. 1-26, at pp. 2-
  3, available at https://www.cbo.gov/sites/default/files/110th-congress-2007-2008/reports/01-03-
  prescriptiondrug.pdf.
  50
     “Prescription Drug Pricing in the Private Sector,” Congressional Budget Office, January 2007, pp. 1-26, at p. 2,
  available at https://www.cbo.gov/sites/default/files/110th-congress-2007-2008/reports/01-03-prescriptiondrug.pdf;
  Forrester, Caroline, “Benefits of Prior Authorizations,” Journal of Managed Care Pharmacy, July 2020, Vol. 26,
  No. 7, pp. 820-822, at p. 820, available at https://www.jmcp.org/doi/pdf/10.18553/jmcp.2020.26.7.820.
  51
     Grabowski, Henry, and C. Daniel Mullins, “Pharmacy Benefit Management, Cost-Effectiveness Analysis and
  Drug Formulary Decisions,” Social Science & Medicine, Vol. 45, No. 4, August 1, 1997, pp. 535-544.
                                                           22
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     generally using a fixed formula of Average Sales Price plus 6 percent (“ASP + 6%”).52,53 In
     the case of biosimilars, this formula is ASP plus 8 percent (for qualifying products) or 6
     percent (for non-qualifying products) of the ASP of the reference biological product.54
     Providers purchase drugs at prices that may vary depending on volume or other discounts
     available to them or the Group Purchasing Organizations (“GPOs”) that represent them.55,56
     Generally, all Part B-eligible drugs (i.e., physician-administered drugs) are covered by
     Medicare, without the same type of formulary selection and coverage decisions seen for Part
     D drugs that are applied by private sector plans.57 Historically, for MA plans, prior
     authorization was discouraged and step therapy was prohibited. Beginning in 2019, however,
     MA plans were permitted to apply step therapy requirements in some circumstances (i.e., for
     new prescriptions or administrations of Part B drugs for beneficiaries not actively receiving
     the medication).




52
   ASP is a volume-weighted average actual selling price for a given drug, net of price concessions (such as volume,
prompt pay, discounts, chargebacks, and rebates), and excluding certain sales (those excluded from the
determination of Medicaid Best Price), calculated with a two-quarter lag. See “Average Sales Prices: Manufacturer
Reporting and CMS Oversight,” Department of Health and Human Services, February 2010, p. 2, available at
https://oig.hhs.gov/oei/reports/oei-03-08-00480.pdf.
53
   Due to provisions in the Budget Control Act of 2011 and the Balanced Budget and Emergency Deficit Control Act
beginning in 2013, “ASP + 6%” effectively became “ASP + 4.3%” for a defined period of years, with suspensions
and a 1 percent phase-in during the pandemic. See Weidner, Susan, et al., “Observations Regarding the Average
Sales Price Reimbursement Methodology,” Evidence-Based Oncology, June 2021, Vol. 27, No. 4, pp. SP156-SP160,
at p. SP156, available at https://www.ajmc.com/view/observations-regarding-the-average-sales-price-
reimbursement-methodology; “Medicare Part B Drugs: Trends in Spending and Utilization, 2006-2017,” ASPE
Issue Brief, November 2020, pp. 1-23, at FN 10, available at
https://aspe.hhs.gov/sites/default/files/private/pdf/264416/Part-B-Drugs-Trends-Issue-Brief.pdf.
54
   Prior to the IRA, the reimbursement rate for all biosimilars was ASP plus 6 percent of the ASP of the reference
biological product. Starting October 1, 2022, the IRA defined a temporary reimbursement rate of ASP plus 8 percent
of the ASP of the reference biological product for “qualifying biosimilars” for a 5-year period. A “qualifying
biosimilar” is one that maintains a lower ASP than its reference biological product during the 5-year period that
began on October 1, 2022. For new qualifying biosimilars first paid under Medicare Part B from October 1, 2022 to
December 31, 2027, the 5-year period starts the first day of the calendar quarter that payments are made. “Part B
Biosimilar Biological Product Payment,” CMS.gov, available at https://www.cms.gov/medicare/medicare-fee-for-
service-part-b-drugs/mcrpartbdrugavgsalesprice/part-b-biosimilar-biological-product-payment.
55
   “What Is a GPO?” Healthcare Supply Chain Association, available at https://supplychainassociation.org/about-
us/what-is-gpo/.
56
   O’Brien, Dan, et al., “Group Purchasing Organizations: How GPOs Reduce Healthcare Costs and Why Changing
Their Funding Mechanism Would Raise Costs,” Healthcare Supply Chain Association, pp. 1-40, at p. 21, available
at https://supplychainassociation.org/wp-content/uploads/2018/05/Leibowitz_GPO_Report.pdf.
57
   Nall, Rachel, “What is the difference between Medicare Part B and Medicare Part D?” MedicalNewsToday,
updated March 18, 2021, available at https://www.medicalnewstoday.com/articles/medicare-part-b-vs-part-d#about-
medicare.
                                                        23
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                       3. Drug price negotiation within the current Medicare structure
39.        The Medicare Part D program was designed to foster competition between plan sponsors and
           reduce costs.58 This was reflected, among other things, in a statutory “non-interference
           clause,” which prohibited the Department of Health and Human Services (“HHS”) from
           interfering “with the negotiations between drug manufacturers and pharmacies and PDP
           sponsors” or from requiring “a particular formulary or institut[ing] a price structure for the
           reimbursement of covered part D drugs.”59 Because coverage of particular drugs for most
           classes is not required and Part D relies on negotiation by private firms, Part D plans reflect
           the preferences for tradeoffs between premium costs and access of members and potential
           members. As I describe further below, because broader drug coverage appeals to
           beneficiaries, plans are generally incentivized to include as many treatment options as
           necessary to attract a sufficient number of customers to their plan at a given premium.
           However, Part D plans retain the option of not including certain treatments on their
           formularies (or positioning them on less favorable tiers) if the price offered by a
           manufacturer for a specific product is judged to be too high given the demand of customers
           for access to that particular product. In this way, negotiations reflect both the preferences of
           patients and outside options of manufacturers, i.e., manufacturers have the option to refuse to
           sell a given drug to a particular plan without forgoing the entire market for all of their
           products.

40.        The role of the private market as a means of negotiating prices under Part D is not an
           accident or incidental feature of the design of the law. The Medicare Modernization Act
           (“MMA”), which created the Part D drug benefit, followed years of bipartisan debate about
           the optimal design of prescription drug coverage in the Medicare program, and the
           importance of market competition to drive efficient outcomes. For example, discussing a
           precursor plan in 2000, Rep. Pete Stark stated that:



      58
         Lakdawalla, Darius and Wesley Yin, “Insurers’ Negotiation Leverage and the External Effects of Medicare Part
      D,” The Review of Economics and Statistics, Vol. 97, No. 2, May 1, 2015, pp. 314-331, at Section 2.1, available at
      https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4414344/pdf/nihms554423.pdf; “Competition and the Cost of
      Medicare’s Prescription Drug Program,” Congressional Budget Office, July 2014, at Chapter 2, available at
      https://www.cbo.gov/sites/default/files/113th-congress-2013-2014/reports/45552-PartD.pdf.
      59
         Social Security Act (“SSA”), §1860D-11(i)(1)-(2).
                                                              24
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                   “[We] will have a plan that is absolutely voluntary and that
                   promotes people keeping their current coverage if they like it; that
                   has catastrophic protection; that is simple and is run by private
                   contractors not bureaucrats; and uses the private market to
                   negotiate prices and not government price controls.”60
                   (emphasis added)

41.    Similarly, in calling for prescription drug reform, President Bill Clinton remarked, “[w]e
       desperately need a comprehensive plan to provide a prescription drug benefit that is optional,
       affordable, accessible to all, based on competition, not price controls (emphasis added), to
       boost seniors bargaining power to get the best possible price…”61 On signing the MMA into
       law, a White House press release from President George Bush said, “[p]rivate health plans
       will compete for seniors’ business by providing better coverage at affordable prices-helping
       to control the costs of Medicare by using market-place competition, not government
       price-setting.” (emphasis added).62

42.    As I describe in Section III.B.2, under the MMA, the government contracts with private
       insurers to administer drug plans, which negotiate retail drug prices and rebates directly with
       pharmacies and manufacturers.63 Part D plan sponsors and manufacturers both carry leverage
       in the negotiation, driving a competitive process that generally results in lower drug prices as
       well as a wide range of plan options to beneficiaries. While Part D plans must reflect either a
       defined standard benefit or a plan of actuarially-equivalent value,64 they are given substantial
       latitude to develop unique formularies, placing them in a strong negotiating position with
       drug manufacturers. Part D plans are required to cover all drugs in six “protected classes,”65

  60
     Rep. Stark statement, “Hearing of the House Ways and Means Committee on Medicare and Prescription Drug
  Coverage,” Federal News Service, June 13, 2000.
  61
     “Remarks by the President at Call to Action for Medicare and Prescription Drug Reform,” White House press
  release, May 10, 2000.
  62
     “Fact Sheet: Medicare Prescription Drug, Improvement, and Modernization Act of 2003,” White House press
  release, December 8, 2003, available at https://georgewbush-
  whitehouse.archives.gov/news/releases/2003/12/20031208-3.html.
  63
     Lakdawalla, Darius and Wesley Yin, “Insurers’ Negotiation Leverage and the External Effects of Medicare Part
  D,” The Review of Economics and Statistics, Vol. 97, No. 2, May 1, 2015, pp. 314-331, at Section 2.1, available at
  https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4414344/pdf/nihms554423.pdf.
  64
     “What are the Medicare Part D Defined Standard Benefits and Alternatives?” Medicareful Living, August 5, 2021,
  available at https://living.medicareful.com/what-are-the-medicare-part-d-defined-standard-benefits-and-alternatives.
  65
     Protected classes include immunosuppressants, antidepressants, antipsychotics, anticonvulsants, antiretrovirals,
  and antineoplastics. “Medicare Advantage and Part D Drug Pricing Final Rule (CMS-4180-F),” CMS.gov, May 16,
  2019, available at https://www.cms.gov/newsroom/fact-sheets/medicare-advantage-and-part-d-drug-pricing-final-
  rule-cms-4180-f.
                                                          25
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        but are only required to cover two drugs in other classes.66 As a result, in contrast with MFP-
        setting, both manufacturers and plan sponsors usually have the option to walk away from a
        negotiation. Plan sponsors may put certain drugs on less favorable tiers, or place access
        conditions like prior authorization or step therapy for drugs sold by manufacturers who do
        not offer competitive pricing.67 Moreover, while a Part D insurer must negotiate
        manufacturer rebates for Part D enrollees separately from rebates for its commercial plan
        enrollees, in practice, an insurer with more Part D enrollees may have more negotiating
        leverage across all transactions.68

43.     Simultaneously, Part D plan sponsors compete in a crowded marketplace against other plans
        and must include a broad range of therapies to appeal to beneficiaries. In 2023, the average
        Medicare beneficiary could choose between 24 PDP stand-alone plans or 35 MA plans for
        provision of Part D coverage.69 These plans offer different packages of drug coverage to their
        members, selected based on net prices (including discounts and rebates) offered by
        manufacturers, their assessment of the clinical importance of the drugs, and the demands of
        their members. Medicare’s online plan finder allows beneficiaries to easily compare plans
        available to them across a number of factors, including cost and drug coverage.70 As a result,
        plan sponsors have an incentive to include a broad range of products on their formularies to
        retain and gain new beneficiaries, giving the drug manufacturers some leverage, as well.

44.     The Medicare Part D structure has been successful in its objective to foster competition
        between plan sponsors and reduce costs. For instance, a CBO analysis found that plans’ bids




   66
     “What Medicare Part D drug plans cover,” Medicare.gov, available at https://www.medicare.gov/drug-coverage-
  part-d/what-medicare-part-d-drug-plans-cover.
  67
     See Duggan, Mark and Fiona Scott Morgan, “The Effect of Medicare Part D on Pharmaceutical Prices and
  Utilization,” NBER Working Paper Series, April 2008, No. 13917, pp. 1-37, available at
  https://www.nber.org/system/files/working_papers/w13917/w13917.pdf.
  68
     Lakdawalla, Darius and Wesley Yin, “Insurers’ Negotiation Leverage and the External Effects of Medicare Part
  D,” The Review of Economics and Statistics, Vol. 97, No. 2, May 1, 2015, pp. 314-331, at Section 2.1, available at
  available at https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4414344/pdf/nihms554423.pdf.
  69
     “The Average Medicare Beneficiary Has a Choice of 43 Medicare Advantage Plans and 24 Part D Stand-Alone
  Plans for Coverage in 2023,” Kaiser Family Foundation Newsroom, November 10, 2022, available at
  https://www.kff.org/medicare/press-release/the-average-medicare-beneficiary-has-a-choice-of-43-medicare-
  advantage-plans-and-24-part-d-stand-alone-plans-for-coverage-in-2023/.
  70
     “Explore your Medicare Coverage Options,” Medicare.gov, available at https://www.medicare.gov/plan-
  compare/#/?year=2023&lang=en.
                                                          26
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         were lower when a larger number of plan sponsors competed in a region.71 Moreover, some
         have observed that spending on Part D has been below initial projections since the start of the
         program.72,73 Similarly, current competition and negotiation in Part D result in substantial
         rebates, estimated to reduce net costs to Medicare Part D plans on average 42.3 percent (and
         up to 69 percent) below list prices, after removing patient cost-sharing.74


   IV.      INFLATION REDUCTION ACT (IRA) DRUG PRICING NEGOTIATION
            PROGRAM
45.      The IRA’s “Drug Pricing Negotiation Program” aims to lower the prices of high Medicare-
         spend drugs that do not have generic or biosimilar competition by requiring CMS to set
         Maximum Fair Prices (“MFPs”) for certain Part D and Part B prescription drugs and
         biologics, starting in 2026. The program will begin with ten drugs covered under Medicare
         Part D in 2026, followed by increasing numbers of additional drugs in subsequent years.75 By
         2031, 100 drugs will have been selected for MFP-setting across Medicare Part B and Part D,
         and it has been estimated that the drugs likely to be selected represented almost half of Part B
         and Part D drug spending in 2020.76

46.      While the law provides that CMS must “develop and use a consistent methodology and
         process… that aims to achieve the lowest maximum fair price for each selected drug,”77 it
         leaves many terms and processes ambiguous and open for CMS to define, including specifics
         of how the MFP “negotiation” process will proceed and how required inputs into the MFP
         will be considered. For example, the IRA defines a maximum ceiling price where the MFP


   71
     “Competition and the Cost of Medicare’s Prescription Drug Program,” Congressional Budget Office, July 2014, at
  p. 2, available at https://www.cbo.gov/sites/default/files/113th-congress-2013-2014/reports/45552-PartD.pdf.
  72
     Forecasts for Fiscal Year 2012 start at over $120 billion in 2004 and reduced to $60 billion in 2012, which was
  just over actual Medicare Part D spending in 2012. See Holtz-Eakin, Douglas, and Robert Book, “Competition and
  the Medicare Part D Program,” American Action Forum, September 11, 2013, available at
  https://www.americanactionforum.org/print/?url=https://www.americanactionforum.org/research/competition-and-
  the-medicare-part-d-program/, Figure on page 6.
  73
     “Competition and the Cost of Medicare’s Prescription Drug Program,” Congressional Budget Office, July 2014, at
  p. 7, available at https://www.cbo.gov/sites/default/files/113th-congress-2013-2014/reports/45552-PartD.pdf.
  74
     “Estimate of Medicare Part D Costs After Accounting for Manufacturer Rebates,” QuintilesIMS Institute, October
  2016, available at https://www.iqvia.com/-/media/iqvia/pdfs/institute-reports/estimate-of-medicare-part-d-costs-
  after-accounting-for-manufacturer-rebates.pdf.
  75
     SSA, §1192.
  76
     “Updated Reconciliation Package Changes Drugs Eligible for Negotiation,” Avalere Health, July 25, 2022,
  available at https://avalere.com/insights/updated-reconciliation-package-changes-drugs-eligible-for-negotiation.
  77
     SSA, §1194.
                                                         27
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           cannot exceed a certain amount, but, for most drugs, does not include a floor price.
           Beginning with this ceiling price, the IRA directs CMS to consider certain other factors,
           including the cost of therapeutic alternatives, comparative effectiveness, and unmet medical
           need. How CMS incorporates these factors in its price calculation is undefined in the statute
           and is subject to CMS determination. If a manufacturer accepts the resulting MFP, it must be
           offered to all eligible purchasers and Medicare beneficiaries. Failure to do so results in
           onerous financial consequences that make the supposed “negotiation” more akin to a price-
           setting regime rather than an actual negotiation.

47.        On March 15th, 2023, CMS released an Initial Guidance document, subsequently revised on
           June 30th, 2023, to clarify its interpretation of the IRA and intentions for implementation.78
           The definitions and intentions included in the guidance exemplify the nearly unlimited
           discretion the IRA has granted to CMS in regard to implementing the Drug Price Negotiation
           Program.

48.        In this section, I summarize the law and corresponding CMS Guidance, discuss how
           provisions in the law provide CMS with substantial and unchecked power to define critical
           elements of the statute, and explain why the process the IRA dictates is more akin to price
           setting than negotiation.

                       Summary of Drug Price Negotiation Program and CMS Guidance
49.        As I discuss in Section III.B, prices for drugs covered by Medicare Part D are currently
           negotiated directly between manufacturers and Part D plan sponsors or their PBM
           representatives. Congress sets reimbursement under Part B based on the market prices and
           average discounts experienced by a broad set of U.S. purchasers – Part B reimbursement to




      78
        “Medicare Drug Price Negotiation Program: Initial Memorandum, Implementation of Sections 1191 – 1198 of the
      Social Security Act for Initial Price Applicability Year 2026, and Solicitation of Comments,” CMS, March 15, 2023,
      available at https://www.cms.gov/files/document/medicare-drug-price-negotiation-program-initial-guidance.pdf
      (“CMS Initial Guidance”); “Medicare Drug Price Negotiation Program: Revised Guidance, Implementation of
      Sections 1191 – 1198 of the Social Security Act for Initial Price Applicability Year 2026,” CMS, June 30, 2023,
      available at https://www.cms.gov/files/document/revised-medicare-drug-price-negotiation-program-guidance-june-
      2023.pdf (“CMS Guidance”).
                                                             28
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        providers, generally, is set at ASP plus 6 percent.79 Prior to the passage of the IRA, Congress
        specifically prohibited the federal government from directly negotiating prices for drugs
        covered under Medicare Part D through a non-interference clause.80 The IRA Drug Pricing
        Negotiation Program amends the previously referenced non-interference clause and now
        requires the CMS to set prices for certain of the highest-spend Part D drugs (beginning in
        2026) and Part B drugs (beginning in 2028).

                     1. Drugs eligible for pricing program

                               (a) IRA Statute
50.     According to the IRA, drugs subject to MFPs must be Qualifying Single Source Drugs
        (“QSSDs”), which generally are Part D or Part B-covered brand-name drugs or biologics
        without generic or biosimilar competitors (and not subject to certain statutory exclusions,
        discussed below).81 An increasing number of drugs will become MFP-eligible over the years
        based on their total Medicare spend, beginning with ten Part D drugs for 2026, followed by
        another 15 Part D drugs for 2027, 15 Part B or D drugs for 2028, 20 Part B or D drugs for




   79
      As noted earlier, due to provisions in the Budget Control Act of 2011 and the Balanced Budget and Emergency
   Deficit Control Act beginning in 2013, “ASP + 6%” effectively became “ASP + 4.3%” for a defined period of years,
   with suspensions and a 1 percent phase-in during the pandemic. See Weidner, Susan, et al., “Observations Regarding
   the Average Sales Price Reimbursement Methodology,” Evidence-Based Oncology, June 2021, Vol. 27, No. 4, pp.
   SP156-SP160, at p. SP156, available at https://www.ajmc.com/view/observations-regarding-the-average-sales-price-
   reimbursement-methodology; “Medicare Part B Drugs: Trends in Spending and Utilization, 2006-2017,” ASPE
   Issue Brief, November 2020, pp. 1-23, at FN 10, available at
   https://aspe.hhs.gov/sites/default/files/private/pdf/264416/Part-B-Drugs-Trends-Issue-Brief.pdf. ASP is the average
   price to all non-federal purchasers in the U.S, including commercial payers, inclusive of discounts and rebates (other
   than rebates paid under the Medicaid program). See also Medicare Prescription Drug, Improvement, and
   Modernization Act (“MMA”) of 2003; SSA, §1847A.
   80
      MMA 2003; 42 U.S.C. §1395w-111; SSA, §1860D–11.
   81
      For small molecules, a QSSD is a drug (1) that is approved and marketed under section 505(c) of the Federal Food
   Drug, and Cosmetic Act (“FD&C Act”); (2) for which, as of the selected drug publication date with respect to a
   given initial price applicability year, at least seven years have elapsed since the date of such approval; and (3) that is
   not the listed drug for any drug approved and marketed under the Abbreviated New Drug Application under section
   505(j) of the FD&C Act. SSA, §1192(e)(1)(A).
   For biologics, a QSSD is a product (1) that is licensed and marketed under section 351(a) of the Public Health
   Service Act (“PHS Act”); (2) for which, as of the selected drug publication date with respect to a given initial price
   applicability year, at least eleven years have elapsed the date of licensure; and (3) that is not the reference product
   for any biologic that is licensed and marketed under section 351(k) of the PHS Act. SSA, §1192(e)(1)(B).
   For both small molecule drugs and biologics, authorized generics versions will be treated as the same drug as the
   product approved under 505(c) or licensed under section 351(a) and are not treated as generic or biosimilar
   competition. SSA, §1192(e)(2)(A).
                                                              29
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           2029 and every year after.82 Once a drug becomes subject to an MFP, it will remain so until a
           certain period of time after it faces a generic or biosimilar competitor, which must also meet
           CMS’ definition of “marketed.”83

51.        The process to identify MFP-eligible drugs for each year will typically begin two years prior,
           with the exception of those for 2026, for which the process will begin in 2023. The IRA
           directs CMS to determine Part D “negotiation-eligible drugs,” which are (1) the top 50
           Medicare-spend QSSDs from Part D (largely small molecule drugs) for which at least seven
           years have passed since approval, and (2) the top 50 Medicare-spend QSSDs from Part B
           (largely biologics) for which at least eleven years have passed since licensure (CMS will not
           develop a list of Part B drugs for the first two years, since these will not be subject to MFPs
           until 2028).84 The IRA states that eligible drugs will be selected for the purposes of price-
           setting based on “total expenditures… during the most recent 12 month period.”85 For Part D
           products, the IRA specifies that “total expenditures” will be measured based on “the total
           gross covered prescription drug costs” as defined by the Social Security Act, which in turn
           depends on CMS’ regulatory definition of “gross covered prescription drug costs.”86 For Part
           B products, the IRA provides that the term “total expenditures” will exclude those
           expenditures that are “bundled or packaged into the payment of another service,”87 but does
           not provide a complete definition of how Part B total expenditures will be calculated. In each
           year, the designated number of QSSDs with the highest Medicare expenditures that do not
           meet any of the exclusion criteria will be added to the list of MFP-eligible products.

52.        Per the IRA, drugs are not considered QSSDs if they:88


      82
         SSA, §1192.
      83
         SSA, §1192(c)(1), §1192(d), and §1194(f). The IRA states that a drug will be considered “selected” for price-
      setting purposes after meeting eligibility criteria to be a QSSD in a year and will remain “selected” for “each
      subsequent year beginning before the first year that begins at least nine months after the date on which the Secretary
      determines at least one drug or biological product (A) is approved or licensed… and (B) is marketed pursuant to
      such approval or licensure.” As such, a drug that is already subject to MFP will remain so for at least nine months
      but up to 21 months after CMS has determined that a generic or biosimilar is marketed. Notably, this period could
      extend beyond 21 months after a generic or biosimilar actually becomes available based on how CMS elects to
      determine whether a generic or biosimilar is “marketed,” which the IRA left to CMS’ discretion.
      84
         SSA, §1192(a) and §1192(d).
      85
         SSA, §1192(b).
      86
         SSA, §1191(c)(5).
      87
         SSA, §1191(c)(5).
      88
         SSA, §1192(e)(1)(A).
                                                               30
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               have a generic or biosimilar approved and marketed; or

               are less than seven years (for small-molecule drugs) or less than eleven years (for
                biologics) from their FDA-approval or licensure date.

        A QSSD can be exempt from the MFP-setting process for several additional reasons:89

               if, upon request from a biosimilar sponsor, CMS determines that the reference
                biologic is highly likely to face biosimilar competition within two years;

               if it has a single orphan designation and all approved indications are within that
                designation (i.e., no orphan approved indications outside that designation or other
                orphan designations);

               if it is a plasma-derived product;

               if it had Medicare spend of less than $200 million in 2021;90 or

               if it is considered a “small biotech drug”91 (until 2029).

        Notably, the IRA does not clearly define a number of key elements, including but not limited
        to how total Medicare expenditures will be measured and how to determine whether a
        generic/biosimilar is marketed, leaving substantial latitude for CMS to interpret these
        fundamental elements of the program.

                             (b) CMS Guidance
53.     In its guidance, CMS defines QSSDs as Part D or Part B-covered brand-name drugs or
        biologics without generic or biosimilar competitors, combining all dosage forms and
        strengths of the drug/biological product with the same active moiety/ingredient and the same
        holder of a New Drug Application (“NDA”) or Biologics License Application (“BLA”),




   89
      SSA, §1192(d)(2), §1192(e)(3) and §11002(f)(1).
   90
      This amount will be adjusted using the Consumer Price Index for All Urban Consumers (“CPI-U”) for subsequent
   years.
   91
      Small biotech drugs are defined by the IRA as those which account for 1 percent or less of total 2021 Part D or
   Part B spending and account for 80 percent or more of total 2021 spending under each part on that manufacturer’s
   drugs.
                                                          31
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       inclusive of products that are marketed under different NDAs/BLAs.92 Thus, by CMS’
       definition, a QSSD could incorporate drug or biological products that are branded and sold
       separately, sometimes across different NDAs or BLAs and trade names.93 In instances where
       this occurs, CMS intends to use the earliest date of approval or licensure of the initial FDA
       application number assigned to the NDA/BLA holder for the active moiety/ingredient to
       determine if the QSSD meets the MFP eligibility requirements.94

54.    In its Initial Guidance, CMS stated that it intended to update its interpretation of the
       regulatory definition of total expenditures described in the IRA (discussed further in Section
       IV. B below) to “eliminate any potential ambiguity in the regulation text and help to ensure
       there is a consistent understanding of the term for purposes of both the Part D program and
       the IRA.”95 In its June 30th, 2023 Guidance, CMS referenced an April 2023 final rule
       amending the definition of “gross covered prescription drug costs.” 96 CMS stated that this
       definition of “gross covered prescription drug costs” refers to “costs directly related to the
       dispensing of covered Part D drugs [which] are most logically calculated as the accumulated
       total of the negotiated prices that are used for purposes of determining payment to the
       pharmacy or other dispensing entity for covered Part D drugs.”97 CMS clarifies that it will
       use PDE data to calculate total gross expenditure under Part D and “will not consider any
       rebates or other price concessions not reflected in the negotiated price of the drug on the PDE
       to identify and rank negotiation-eligible drugs.”98 Additionally, CMS states that it will use
       Part B claims data to calculate total allowed charges, inclusive of beneficiary cost-sharing


  92
     CMS Guidance §30.1. In its June 30, 2023 Guidance, CMS states that a distinct NDA or BLA does not indicate a
  distinct QSSD; an active moiety/active ingredient with different dosage forms, strengths, formulations, and licenses
  is to be considered a single QSSD. CMS bases this interpretation on how it reads Section 1192(d)(3)(B) of the IRA
  and indicates that “CMS’ understanding of the statutory language gives full effect to all relevant provisions of the
  statute, including sections 1192(e), 1192(d)(3)(B), and 1196(a)(2) of the act; CMS is applying an interpretation of
  the statute that follows the statutory criteria for the identification of a qualifying single source drug under section
  1192(e) of the Act and, consistent with sections 1192(d)(3)(B) and 1196(a)(2) of the Act, effect to the statutory
  policy that a drug that may be selected for negotiation includes multiple dosage forms and strengths and
  formulations of that drug.” See CMS Guidance, p. 11.
  93
     While it appears that the 2026 projected list of MFP-eligible drugs will not include any QSSDs encompassing
  such a scenario, it may occur in future years.
  94
     CMS Guidance, §30.1.
  95
     CMS Guidance, §30.
  96
     CMS Guidance, §30.
  97
     CMS Guidance, p. 18.
  98
     CMS Guidance, p. 18.
                                                            32
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         under Part B, to remain consistent with the statutory and regulatory total expenditures
         definition under Part D which is inclusive of Part D beneficiary cost sharing.99

55.      With respect to how CMS will measure whether a generic or biosimilar product is marketed,
         CMS Guidance states that there must be “bona fide marketing” (emphasis added) of the
         generic or biosimilar.100 CMS indicates that it will review both PDE data and Average
         Manufacturer Price (AMP) data reported by manufacturers to measure this,101 but does not
         provide specific information on what it must see in the PDE or AMP data to determine that
         bona fide marketing has occurred.102 Further, CMS indicates that it will take into account the
         “totality of circumstances” and only allow products to avoid selection or be removed from
         the selected drug list if they are “subject to meaningful competition,”103 which it will
         measure on an ongoing basis once a drug has been selected for MFP.104 CMS does not
         provide details on what constitutes “meaningful competition” under the “totality of
         circumstances.”

                    2. Determining the “maximum fair price”

                             (a) IRA Statute
56.      The IRA states that CMS and each manufacturer of an MFP-eligible drug will enter into a
         “negotiation”105 to determine an MFP for all eligible purchasers,106 which may then be
         renegotiated if the selected drug is “renegotiation eligible.”107


   99
     CMS Guidance, p. 17.
   100
      CMS Guidance, §30.
  101
      CMS Guidance, §30.
  102
      While CMS indicates that it will review PDE and AMP data, it leaves open the possibility of using other sources
  of information, stating that the “determination whether a generic drug or biosimilar is marketed on a bona fide basis
  will be a holistic inquiry” (emphasis added). See CMS Guidance, §30.1.
  103
      CMS Guidance, p. 74.
  104
      CMS Guidance, §90.4.
  105
      The use of the “negotiation” or “negotiated price” terminology throughout this report does not imply a finding
  that the process is a bona fide negotiation. See Section IV.C.
  106
      The IRA defines an MFP-eligible individual with respect to a selected drug as an individual enrolled in a PDP
  plan under Part D or an MA-PD plan under Part C with coverage provided under the plan for the drug, or an
  individual who is enrolled under Part B (including those enrolled in an MA plan under Part C) with coverage
  provided under the plan for the drug. SSA, §1191(c)(1).
  107
      A “renegotiation-eligible” drug is defined by the IRA as a selected drug for which: (1) a new indication is added,
  or (2) there is a change in status to that of an extended-monopoly drug, or (3) there is a change in status to that of a
  long-monopoly drug, or 4) the Secretary determines that there has been a material change of any of the factors
  considered during the negotiation process. See SSA, §1193(a)(2). See also FN 120 for details on the IRA’s
  definition of “monopoly” drugs.
                                                            33
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57.      The IRA states that the MFP-setting process will begin when CMS publishes the list of drugs
         selected for a given year by February 1 two years preceding the first year that the MFP is
         effective.108 Next, the manufacturer109 will enter into an “agreement” to participate in the
         MFP-setting process by February 28, and will submit required information to CMS by March
         1.110 CMS will make an initial MFP “offer” by June 1, giving the manufacturer 30 days to
         accept or submit a counteroffer. In the event that the manufacturer submits a counteroffer,
         CMS will send a written response to it, but no timeframe is specified for the CMS response
         to the counteroffer.111 The statute does not provide any additional guidance on the course of
         action for CMS or the manufacturer in the event that the counteroffer is not accepted by
         CMS, and does not specify a process in which CMS and the manufacturer can discuss or
         iterate on the offered prices. The MFP-setting process for this initial group of selected drugs
         will end by November 1.112 If the manufacturer (defined based on CMS’ interpretation of the
         IRA) chooses to accept CMS’ initial or final MFP offer, such Part D drugs will then be
         covered by all Part D plans at the MFP.

58.      The IRA requires CMS to “develop and use a consistent methodology and process… that
         aims to achieve the lowest maximum fair price for each selected drug,”113 as well as the
         ability to specify the process for “renegotiation” of a determined MFP.114 The IRA states that



   108
      For example, a drug selected by February 1, 2025, will face MFP-setting for prices in 2027. Selected drugs for
  2026 will follow a different timeline. The list of selected drugs for 2026 will be published no later than September 1,
  2023. See SSA, §1194.
  109
      SSA, §1191(c)(1) cross references SSA, §1847A(c)(6)(A) to define “manufacturer,” which in turn refers to SSA,
  §1927(k)(5) which defines a manufacturer as “any entity which is engaged in—(A) the production, preparation,
  propagation, compounding, conversion, or processing of prescription drug products, either directly or indirectly by
  extraction from substances of natural origin, or independently by means of chemical synthesis, or by a combination
  of extraction and chemical synthesis, or (B) in the packaging, repackaging, labeling, relabeling, or distribution of
  prescription drug products.”
  110
      I note that a substantial burden will be placed on manufacturers, who are required to aggregate and submit data as
  specified by CMS on “Selected Drug Information,” “Non-FAMP Data Collection,” “Research and Development
  Costs and Recoupment,” “Current Unit Costs of Production and Distribution,” “Prior Federal Financial Support,”
  “Patents, Exclusivities, and Approvals,” “Market Data, Revenue, and Volume,” and “Certification of Submission.”
  In certain cases, manufacturers will be required to obtain and report information on behalf of “Secondary
  Manufacturers” (see FN 121). See “Information Collection Request (ICR) Form for Negotiation Data Elements
  under Sections 11001 and 11002 of the Inflation Reduction Act (IRA),” CMS, March 21, 2023, available at
  https://www.govinfo.gov/content/pkg/FR-2023-03-21/pdf/2023-05784.pdf.
  111
      SSA, §1194.
  112
      As outlined in Exhibit 1, this timeline will be slightly different for drugs included on the 2026 list.
  113
      SSA, §1194 (b)(1).
  114
      SSA, §1194 (f)(1).
                                                            34
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            CMS’ initial MFP offer to and subsequent discussions with the manufacturer will consider a
            number of inputs. These factors include but are not limited to:115

                  the cost of the alternative treatment and comparative effectiveness of the selected
                   drug relative to that alternative;

                  the unmet medical needs being addressed by the selected drug;

                  R&D costs incurred by the manufacturer and the extent to which these costs have
                   been recouped;

                  current costs of production and distribution;

                  federal financial support for novel therapeutic discovery and development related to
                   the selected drug; and

                  market data, revenue, and sales volume data for the selected drug in the U.S.

59.         The IRA does not define how to identify these inputs; notably it does not specify how to
            determine a therapeutic alternative to a selected drug, or how to identify unmet medical need.
            CMS itself emphasizes that “while the statute requires CMS to provide an initial offer and a
            justification, it does not specify how CMS should determine an initial offer nor how or to
            what degree each factor should be considered.”116

60.         The guidance offered by the IRA regarding how the MFP amount should be calculated is
            limited. The IRA only provides that the MFP amount offered by CMS may not exceed a
            determined price ceiling, without providing any price floor for most drugs.117 The price
            ceiling will be the lower of the product’s average net price (Part D drugs) or average sales




      115
          SSA, §1194.
      116
          CMS Guidance, §60.3.
      117
          A temporary price floor is established for small biotech drugs for price applicability years 2029 and 2030. For
      these drugs, the MFP may not be less than 66 percent of the average non-FAMP, adjusted for inflation. SSA, §1194
      (d). This price floor will act as a transition following the small biotech exclusion for price applicability years 2026-
      2028.
                                                                 35
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         price (Part B drugs),118 and an applicable percent of the average non-FAMP (with the
         percentage determined based on the so-called “monopoly” category the drug belongs
         to).119,120 This price ceiling is likely to be well below the average commercial prices in the
         market, as the non-FAMP price metric already incorporates average discounts provided to
         wholesalers or distributors for commercial distribution.

61.      Most notably, while the IRA references a “negotiation” between CMS and manufacturers to
         determine the MFP for eligible products, it does not define how this so-called “negotiation”
         will take place, leaving substantial latitude for CMS interpretation.

                             (b) CMS Guidance
62.      CMS has provided guidance on how it will identify the manufacturer of each MFP-eligible
         product, additional dates for the “negotiation” process, and certain details on inputs it will
         consider for the MFP.




   118
      Specifically, the ceiling price cannot exceed the lower of the drug’s enrollment-weighted net negotiated price for
  a Part D drug, or the average sales price for a Part B drug, and a specified percentage of the drug’s average non-
  FAMP. For Part D drugs, this calculation uses the sum of the enrollment-weighted negotiated prices of the drug
  under each PDP or MA-PD plan, after netting out all price concessions received by the plan or by PBMs on behalf
  of the plan. For Part B drugs, this calculation uses the average sales price for the drug determined under SSA,
  §1847A(b)(4). The specified percentage of a drug’s average non-FAMP have been set at 75 percent for small-
  molecule, so-called short-monopoly drugs with more than nine years but less than 12 years since approval, 65
  percent for so-called extended-monopoly drugs with between 12 and 16 years since approval or licensure, and 40
  percent for so-called long-monopoly drugs with at least 16 years since approval or licensure. For small biotech
  drugs, starting in 2029, the maximum fair price will be set at 66 percent of the non-FAMP. From 2028 onwards, the
  MFP can be renegotiated for a drug that becomes a so-called “long-monopoly drug” or “extended-monopoly drug,”
  or if there is a material change in any factors considered during the original price-setting process, including a new
  indication for the drug. SSA, §1194 (c), §1194(d), and §1194(f).
  119
      The non-FAMP is the average price paid to the manufacturer by merchant middlemen (wholesalers and
  distributors), net of wholesaler discounts and chargebacks relating to non-federal sales. This price does not take into
  account any prices paid by the federal government or rebates paid by the manufacturer to health plans and PBMs.
  The non-FAMP was originally formulated as the maximum price for branded drugs that manufacturers can charge
  the “Big Four” – the Department of Veterans Affairs, the Department of Defense, the Public Health Service, and the
  Coast Guard. See “Prices for Brand-Name Drugs Under Selected Federal Programs,” Congressional Budget Office,
  June 2005, available at https://www.cbo.gov/sites/default/files/109th-congress-2005-2006/reports/06-16-
  prescriptdrug.pdf. Thus, this price was not intended for as large of a patient population as is covered by Medicare.
  120
      The IRA defines a so-called “monopoly” for short and long monopoly drugs, which mischaracterizes the
  competitive environment a drug faces. Specifically, the descriptive term of “monopoly” that the IRA used to classify
  these drugs is potentially inaccurate and misleading, overlooking the likelihood that branded drugs face competition
  from therapeutic alternatives during their market exclusivity periods.
                                                            36
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63.      To the extent that more than one entity meets the statutory definition of manufacturer for a
         selected drug, CMS intends to designate the entity that holds the NDA(s)/BLA(s) for that
         drug as the “Primary Manufacturer” for purposes of the price-setting process.121

64.      Next, the CMS Guidance adds to the dates that the IRA dictates for the price-setting process.
         CMS will first hold a meeting with manufacturers between the submission of relevant data
         and the initial offer, which will be restricted to providing context on the original data and
         adding any newly available data related to alternative treatments.122 CMS indicates that if
         neither its initial offer nor the manufacturer’s counteroffer is accepted, CMS and the
         manufacturer can hold up to three possible in-person or virtual meetings before CMS
         provides its final MFP offer.123 Specifically, this includes a minimum of one meeting with
         the manufacturer to discuss CMS’ written initial offer, the manufacturer’s written
         counteroffer, and factors considered. After this initial meeting, CMS and the manufacturer
         each have the option to request one additional meeting. At the conclusion of these meetings,
         CMS will provide the manufacturer with its final MFP offer, which the manufacturer can
         choose to accept or reject.124 Exhibit 1 summarizes the combined price-setting timeline
         based on the dates provided in the IRA and in CMS’ Guidance.

65.      Finally, regarding the factors outlined by the statute for consideration during MFP-setting,
         CMS has indicated that it will only include pharmaceutical alternatives and that it will
         consider “data submitted by Primary Manufacturer and the public, FDA-approved
         indications, indications included in CMS-approved Part D compendia, widely accepted
         clinical guidelines, and peer-reviewed studies…” as well as “…clinical evidence available
         through literature searches when a therapeutic alternative has not yet been incorporated into



   121
      CMS goes on to state that it intends to refer to any other entity that meets the statutory definition of manufacturer
  for a drug product included in the selected drug and that either (1) is listed as a manufacturer in an NDA or BLA for
  the selected drug or (2) markets the selected drug pursuant to an agreement with the Primary Manufacturer as a
  “Secondary Manufacturer.” Secondary Manufacturers would include any manufacturer of any authorized generics
  and any repacker or relabeler of the selected drug that meet these criteria. CMS Guidance, §40.
  122
      CMS Guidance, §60.4. Specifically, the statute states “CMS will invite the Primary Manufacturer for each
  selected drug to one meeting in Fall 2023 after the data submission deadline. The purpose of this meeting will be for
  the Primary Manufacturer to provide additional context on its data submission and share new section 1194(e)(2)
  data, if applicable, as CMS begins reviewing the data and developing an initial offer.”
  123
      CMS Guidance, §60.4.3. Note that the manufacturer is entitled to two meetings and CMS may request a third.
  124
      CMS Guidance, §60.4.3.
                                                             37
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        nationally recognized, evidence-based guidelines.”125 Moreover, it will consider unmet
        medical need separately for each indication, and an unmet medical need will be identified “in
        cases where limited or no treatment options exist.”126

                   3. Penalties for refusing the MFP or non-compliance in the MFP-setting process

                           (a) IRA Statute and IRS Guidance
66.     Per the IRA, in the event that a manufacturer chooses not to comply with the MFP-setting
        process or does not agree to the final MFP, it will be subject to an excise tax. This tax will be
        levied if a manufacturer fails to enter into the initial “agreement” to participate in the price-
        setting process in a timely manner, fails to “agree” to the MFP on time, or fails to submit the
        required information within the stipulated timeframe.127 While the IRA dictates the tax is
        calculated based on an “applicable percentage” that starts at 65 percent and escalates by 10
        percentage points every 90 days until it reaches 95 percent from the 271st day onward, the tax
        is calculated as the ratio of “(1) such tax, divided by (2) the sum of such tax and the price
        for which so sold [sic] [emphasis added],” which results in a tax rate that is actually much
        higher.128 For example, the first day a manufacturer is subject to the excise tax (at a 65
        percent rate), the tax would be approximately $1.86 for each dollar of revenue (i.e., $1.86 is
        equal to 65 percent of $2.86 – the sum of the $1.86 tax and the $1.00 in revenue), or 186
        percent of the product’s revenue. As such, the excise tax would start at 186 percent and
        increase every 90 days until it reaches 1,900 percent from the 271st day onward (e.g., if
        annual drug net revenues are $1 billion, the excise tax on day 272 would reach $19 billion on
        an annualized basis, at which point $19 billion would equal 95 percent of the sum of $1
        billion plus $19 billion).129 Alternatively, if a manufacturer does not wish to pay the tax, it




  125
      CMS Guidance, §60.3.1.
  126
      CMS Guidance, §60.3.3.2.
  127
      “Tax Provisions in the Inflation Reduction Act of 2022 (H.R. 5376),” Congressional Research Service, August
  10, 2023, pp. 4 and 29, available at https://crsreports.congress.gov/product/pdf/R/R47202.
  128
      26 U.S.C. §5000D.
  129
      See e.g., “Description of the Revenue Provisions of H.R.3, the “lower drug costs now act of 2019,” Joint
  Committee on Taxation, October 18, 2019, available at
  https://www.congress.gov/116/meeting/house/110137/documents/HMKP-116-WM00-20191022-SD006.pdf; York,
  Erica, “Lawmakers’ Tax Rate to Help Pay for Reconciliation is 1,900 percent,” Tax Foundation, August 31, 2021,
  available at https://taxfoundation.org/hr3-tax-pay-for-reconciliation/.
                                                        38
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            can choose to withdraw all of its drugs from coverage under the Medicare and Medicaid
            programs.130,131

67.         On August 4th, 2023, the Treasury Department and the IRS issued a brief guidance document
            for drug manufacturers, producers, and importers with general information on how they
            intend to implement this tax, including the scope of taxable sales, how the tax will be charged
            in relation to price, and procedural rules.132 This document supports the conclusion that the
            tax escalates from 186 percent to 1,900 percent of a drug’s revenues.133 The guidance also
            notes that the tax will be imposed on “taxpayer sales of designated drugs dispensed,
            furnished or administered to individuals under the terms of Medicare.”134 It is not clear what
            the IRS means by “under the terms of Medicare.”

68.         Manufacturers could also face significant civil monetary penalties if they are found to violate
            parts of the price-setting process. For example, manufacturers are subject to penalties of $1
            million per day if they fail to comply with the terms required by CMS under the “agreement”
            required under section 1193 of the Social Security Act.135 Moreover, if manufacturers fail to
            offer the finally-determined MFP to a Medicare beneficiary or to that beneficiary’s provider


      130
      26 U.S.C. §5000D(c) gives manufacturers the option to “suspend” the excise tax. Under this subsection, the
  excise tax is suspended beginning on the first day that: 1) a manufacturers gives notice to CMS that it is terminating
  all of its “applicable agreements” (i.e., Coverage Gap Discount Program (“CGDP”) Agreement, Manufacturer
  Discount Program (“MDP”) Agreement, and Medicaid National Drug Rebate Agreement), and 2) none of the
  manufacturer’s Part D drugs are covered under a CGDP or MDP Agreement.
  131
      Also, although a manufacturer could theoretically try to avoid Part B coverage by not entering into a Medicaid
  rebate agreement, CMS as a practical matter may continue to provide reimbursement in error for drugs taken by
  covered patients when claims are submitted by participating Part B providers, even if the manufacturer does not
  have a current rebate agreement in place.
  132
      “Treasury and IRS issue guidance relating to section 5000D of the Internal Revenue Code,” IRS.gov, available at
  https://www.irs.gov/newsroom/treasury-and-irs-issue-guidance-relating-to-section-5000d-of-the-internal-revenue-
  code.
  133
      Specifically, the document states that “when the §5000D tax is separately charged on the invoice or records
  pertaining to the sale of a designated drug by the manufacturer, the tax is not part of the price of the designated
  drug.” It also states that if the manufacturer does not make a separate charge for the tax while invoicing sales, it will
  be presumed that the tax is included in the amount charged for the drug, and thus the tax due to the IRS will be
  computed on and deducted from this amount. The document provides the following example. If the manufacturer
  charges a purchaser $100 for a drug during the first 90 days of the statutory period but does not separately make a
  charge for the tax, $65 will be allocated to the tax, while the remaining $35 will be allocated to the price of the drug.
  Note: A tax of $65 on a drug with a price of $35 equals a taxation rate of $65/$35, or 186%. “Section 5000D Excise
  Tax on Sales of Designated Drugs; Reporting and Payment of the Tax,” IRS.gov, Section 3; pp. 3-4, available at
  https://www.irs.gov/pub/irs-drop/n-23-52.pdf.
  134
      “Section 5000D Excise Tax on Sales of Designated Drugs; Reporting and Payment of the Tax,” IRS.gov, Section
  3; p. 3, available at https://www.irs.gov/pub/irs-drop/n-23-52.pdf.
  135
      SSA, §1197(b).
                                                             39
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             or dispenser, they are subject to significant civil monetary penalties equal to ten times the
             difference between the price charged (calculated on a net basis) and the MFP. The statute
             gives CMS the ability to define what instances constitute a failure to offer the finally-
             determined MFP to a beneficiary or provider. Additionally, if a manufacturer knowingly
             submits false information under the procedures for the small biotech exception or the
             biosimilar delay, it is subject to a $100 million penalty for each item of false information
             provided.

                                   (b) CMS Guidance
69.          The IRA gives the Secretary jurisdiction over the civil monetary penalties by granting CMS
             the responsibility of identifying and monitoring non-compliance by a manufacturer and
             establishing a mechanism through which violations shall be reported. The CMS Guidance
             addresses how CMS will enforce these penalties,136 and states that the IRS will administer
             the tax and the Treasury Department will issue additional guidance relating to the excise
             tax.137

70.          I have included in Appendix D the drugs likely to be subject to MFP in 2026 based on the
             IRA criteria and CMS Guidance.

                         The IRA gives CMS substantial latitude to define critical elements of the
                         statute
71.          The IRA provides CMS with substantial latitude to define critical elements of the law at its
             discretion. This freedom allows for additional impact on both biopharmaceutical
             manufacturers and patients as a result of CMS decisions, beyond (and sometimes at odds
             with) what the IRA specifies. As discussed in Section IV.A, based on the discretion provided
             in the IRA, CMS has adopted certain definitions and communicated certain implementation
             processes that it plans to follow. In particular, CMS’ Guidance further interprets (1) the
             definition of QSSD, (2) how total Medicare expenditure will be quantified in selecting the
             drugs that will be subject to price-setting in a given year, (3) how CMS will determine
             whether a generic or biosimilar is marketed, and (4) the specifics of the MFP “negotiation”


      136
            CMS Guidance, §100.
      137
            CMS Guidance, §90.3.
                                                          40
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        process. While CMS has provided these additional elements of interpretation, other
        ambiguous aspects of the IRA remain undefined, leading to substantial uncertainty. Most
        notably, neither the IRA nor the CMS Guidance provide sufficient information on how CMS
        will enforce the requirement that MFPs be made available to all eligible parties and not to
        ineligible parties, or whether it will be permissible for Medicare Part D plans nevertheless to
        put formulary restrictions on products facing MFPs.

72.     First, CMS has interpreted the IRA definition of QSSD to include “all drugs with the same
        active moiety or active ingredient.”138 This interpretation groups multiple drugs or biological
        products (regardless of dosage form, strength, or route of administration) under a single
        QSSD, even if they are approved under separate NDAs/BLAs, marketed as different drugs,
        or used to treat different conditions.139,140 This interpretation has a number of implications for
        innovation investments. Specifically:

            a. CMS has indicated that it will use the earliest NDA/BLA approval date for that
                active moiety or active ingredient to “start the clock” on when a QSSD will be MFP-
                eligible.141 For example, if a manufacturer produces two drugs with the same active
                moiety that have differing routes of administration, are marketed as two separate
                drugs, and have been approved for different indications, for the purposes of price-
                setting under the IRA, both of them will be treated as the same QSSD. Moreover, the
                earlier of the two approval dates will be used by CMS to determine when the QSSD
                will be MFP-eligible. Manufacturers are less likely to develop innovative products
                with valuable patient benefit if they will be considered the same QSSD as an existing

  138
      Elsewhere, an active moiety is defined as “the molecule or ion, excluding those appended portions of the
  molecule that cause the drug to be an ester, salt (including a salt with hydrogen or coordination bonds), or other
  noncovalent derivative (such as a complex, chelate, or clathrate) of the molecule, responsible for the physiological
  or pharmacological action of the drug substance.” 21 C.F.R. § 314.3, available at https://www.ecfr.gov/current/title-
  21/chapter-I/subchapter-D/part-314.
  139
      CMS Guidance, p. 12 and §30.1.
  140
      CMS’s interpretation of the IRA is based on its understanding of SSA, §1192(d)(3)(B) (which directs CMS to
  “use data that is aggregated across dosage forms and strengths of the drug, including new formulations of the drug,
  such as an extended release formulation, and not based on the specific formulation or package size or package type
  of the drug”). Others, including those submitting comments to CMS (see CMS Guidance, p. 11) have interpreted the
  statute differently and do not believe that the language in SSA, §1192(d)(3)(B) is relevant for the identification of
  QSSD (which is defined separately in SSA, §1192(e)). In this declaration I discuss the innovation implications based
  on CMS’s interpretation of the QSSD definition but note that there would be other innovation implications based on
  this alternative interpretation.
  141
      CMS Guidance, p. 13 and §30.1.
                                                           41
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              product and will thus be subject to price controls ahead of when they would be
              expected to face generic or biosimilar competition.

          b. Under the CMS definition of QSSD, manufacturers would be disincentivized to
              engage in additional clinical trials for new indications of their products if they face
              immediate price controls. For example, Eli Lilly and Boehringer Ingelheim are
              running clinical trials for Jardiance, their SGLT2 inhibitor that has already been
              approved for glycemic control and reduction in the risk of cardiovascular death and
              hospitalization, for a potential new indication in adults with chronic kidney
              disease.142,143 Manufacturers are less likely to continue investing in such additional
              clinical trials if their drugs will be subject to price controls based on the CMS’
              definition of a QSSD.

          c. A further implication of including all dosages and new formulations in the definition
              of a QSSD is reduced incentives to develop new formulations. Examples of new
              formulations that provide important patient benefits are newer extended-release/long-
              acting antipsychotic formulations for individuals living with schizophrenia to prevent
              relapse and rehospitalization, and to address negative consequences of poor
              adherence associated with the disease.144 As I discuss in Section V.A, this definition

142
    Jardiance has already been tested and approved for a chronic kidney disease indication in the EU. “Jardiance
FDA label,” Drugs@FDA, as of June 20, 2023, available at
https://www.accessdata.fda.gov/drugsatfda_docs/label/2023/204629s042lbl.pdf; “US FDA accepts supplemental
New Drug Application for Jardiance® for adults with chronic kidney disease,” Eli Lilly Investors, January 20, 2023,
available at https://investor.lilly.com/news-releases/news-release-details/us-fda-accepts-supplemental-new-drug-
application-jardiancer-0; “Jardiance® (empagliflozin) approved in the EU for the treatment of adults with chronic
kidney disease,” BioSpace, July 25, 2023, available at https://www.biospace.com/article/releases/jardiance-
empagliflozin-approved-in-the-eu-for-the-treatment-of-adults-with-chronic-kidney-disease/.
143
    Eli Lilly is also running additional clinical trials on Mounjaro, its tirzepatide drug that has already been approved
for type 2 diabetes, for a new weight loss indication. See Liu, Angus, “In heavyweight obesity fight, Eli Lilly
launches Mounjaro head-to-head trial against Novo Nordisk’s Wegovy,” FiercePharma, April 21, 2023, available at
https://www.fiercepharma.com/pharma/heavyweight-obesity-fight-lilly-launches-mounjaro-head-head-trial-against-
novos-wegovy. Note that while weight-loss medications are not currently covered by Medicare, it is possible that
this may change in the future. For instance, the Treat and Reduce Obesity Act would allow Medicare coverage of
weight-loss medications. Moreover, recent modeling suggests that covering new obesity treatments may be an
attractive option for policymakers, in that it may contribute to substantial cost offsets for Medicare over time. See,
e.g., Young, Kerry D., “Will ICER Review Aid Bid for Medicare to Pay for Obesity Drugs?” MedScape, November
21, 2022, available at https://www.medscape.com/viewarticle/984386; “Medicare Coverage of Weight Loss Drugs
Could Significantly Reduce Costs,” USC Schaffer, April 18, 2023, available at
https://healthpolicy.usc.edu/article/medicare-coverage-of-weight-loss-drugs-could-significantly-reduce-costs/.
144
    Siegel, Steven J., “Extended Release Drug Delivery Strategies in Psychiatry,” Psychiatry (Edgmont), Vol. 2, No.
6, June 2005, available at https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3000189.
                                                           42
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                will have substantial impacts on indication sequencing decisions and other
                investments in innovation in the biopharmaceutical industry.

73.     Second, the IRA states that MFP-eligible Part D drugs will be selected based on “total
        expenditures” under Part D, defining these expenditures to include “total gross covered
        prescription drug costs (as defined in section 1860D-15(b)(3) of the Social Security Act).”145
        The definition of these costs under the Social Security Act depends on CMS’ broader
        regulatory definition of “costs incurred under a Part D plan,”146 which could be subject to
        change, introducing substantial ambiguity in how these costs will be determined in the future.
        For example, at the time the IRA was enacted, CMS’ regulations defined “gross covered
        prescription drug costs” to be net of direct and indirect remuneration, including manufacturer
        rebates and discounts.147 However, after the IRA was enacted, CMS revised this regulatory
        definition to remove the language that indicated that such costs are net of such direct and
        indirect remuneration.148 Since the IRA depends on CMS’ cost definition, which is a broader
        regulatory definition used for a variety of different reimbursement purposes, it may be
        subject to change periodically. This definition and the corresponding exclusion or inclusion
        of direct and indirect remuneration will play an important role in determining which Part D
        QSSDs will be selected for MFP-setting.

74.     Third, the IRA stipulates that drugs facing approved and “marketed” generic or biosimilar
        competition are ineligible for selection or will no longer be subject to the MFP. CMS has
        taken the position that it may define the term “marketed” to mean “bona fide” marketing.
        While CMS has indicated that it will review PDE and AMP data to determine whether a drug
        has been marketed,149 it has not indicated what share of prescriptions or total payments it
        must see in the PDE or AMP data to determine that there has been “bona fide marketing” of



  145
      SSA, §1191(c)(5) and §1860D-15(b)(3).
  146
      SSA, §1860D-15(b)(3).
  147
      42 C.F.R. §423.308, available at https://www.ecfr.gov/current/title-42/chapter-IV/subchapter-B/part-423/subpart-
  G/section-423.308.
  148
      “Medicare Program; Contract Year 2024 Policy and Technical Changes to the Medicare Advantage Program,
  Medicare Prescription Drug Benefit Program, Medicare Cost Plan Program, and Programs of All-Inclusive Care for
  the Elderly,” CMS, April 12, 2023, available at https://www.federalregister.gov/documents/2023/04/12/2023-
  07115/medicare-program-contract-year-2024-policy-and-technical-changes-to-the-medicare-advantage-program.
  149
      CMS Guidance, §30.
                                                          43
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            the generic or biosimilar, nor what will happen if that share changes over time.150 Moreover,
            CMS has indicated that it “will not set a single specific numeric threshold for meaningful
            generic drug or biosimilar competition,”151 and has left open the possibility of utilizing other
            sources of information to determine whether marketing of a generic product is “bona fide,”
            stating that the decision will be based on a “totality-of-the-circumstances inquiry that will not
            necessarily turn on any one source of data.”152 Under this definition, the agency appears to
            believe that it could require that a generic or biosimilar hold any share of sales or
            prescriptions in order to determine that it is marketed, and this threshold will have an
            important and far-reaching impact. After CMS determines that there is “bona fide marketing”
            of a generic or biosimilar, the Guidance states that CMS will “monitor whether robust and
            meaningful competition exists in the market” and could feasibly place a drug back on the
            selected drug list if it deems that there is not “meaningful competition.”153

75.         For small molecule drugs, this would be especially pertinent when a single QSSD includes
            multiple products, only one of which is generic. For example, if a manufacturer develops a
            new extended-release formulation of one of its drugs, both the original formulation and the
            extended-release formulation might be considered the same QSSD. If a generic is available
            for the original formulation but not the extended-release formulation, the generic’s share of
            total QSSD sales would appear smaller, even if it presented a viable, less expensive
            therapeutic option for patients and puts downward pressure on the price of the extended-
            release formulation. Given the ambiguity around what total payment or prescription share
            threshold or other criteria CMS will require to determine whether there is “bona fide
            marketing” of a generic, it is unclear whether in this example both the original formulation
            and extended-release formulation products would collectively be subject to MFP-setting.

76.         The lack of clarity is likely to be similarly meaningful for biologics; while small molecule
            generic uptake is generally rapid and straightforward, this is not yet the case for biosimilars,
            where uptake can be affected by a number of factors that would impact a determination of
            whether such a threshold was met. Moreover, because biosimilar uptake thus far has been

      150
          CMS Guidance, §30.1.
      151
          CMS Guidance, p. 75.
      152
          CMS Guidance, §70.
      153
          CMS Guidance, § 90.4.
                                                         44
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      slower and less predictable than small molecule generic uptake,154 it is even possible that a
      biosimilar’s share of sales will change over time, fluctuating above and below whatever
      threshold CMS sets to determine that a biosimilar is marketed.

77.   Fourth, the IRA directs CMS to “develop and use a consistent methodology and process…
      that aims to achieve the lowest maximum fair price for each selected drug,”155 but it does not
      clarify the specifics of the MFP “negotiation” process, nor whether CMS is permitted to
      change its methodology over time. Specifically:

      a. The IRA provides high-level guidance on a number of dimensions CMS must consider,
          such as the cost of therapeutic alternatives, comparative effectiveness relative to these
          alternatives, and whether the product addresses unmet medical need, but it leaves these
          terms open for CMS to define. For example, with regard to the determination of
          therapeutic alternatives, the statute does not require the clinical indication(s) to be the
          same as those of the MFP-eligible product. Because there is no defined approach to
          determine the relevant market, the law gives CMS substantial latitude to identify relevant
          therapeutic alternatives, which could include very inexpensive products that may
          occasionally be used to treat the same condition(s) as the selected drug but do not truly
          represent an appropriate clinical alternative for most patients. Moreover, CMS has not
          explained how it will address circumstances where an MFP-eligible product is indicated
          to treat more than one condition and if (or how) the indications of multiple products, and
          the use across those indications and products, will be weighted to calculate initial and
          subsequent MFP offers. For example, a drug like Dupixent is indicated to treat multiple
          conditions (i.e., asthma, eczema, and eosinophilic esophagitis); each of these conditions
          has different therapeutic alternatives that would (in theory) serve as inputs to the MFP
          calculation. While CMS may determine that Dupixent faces competition from very
          inexpensive topical over-the-counter corticosteroids for the treatment of eczema,156 these



  154
      Kozlowski, Steven, et al., “Uptake and Competition Among Biosimilar Biological Products in the US Medicare
  Fee-for-Service Population,” Journal of General Internal Medicine, Vol. 37, No. 16, June 1, 2022, pp. 4292-4294,
  available at https://link.springer.com/article/10.1007/s11606-022-07670-7.
  155
      SSA, §1194(b)(1).
  156
      “Available Eczema Treatments,” National Eczema Association, available at
  https://nationaleczema.org/eczema/treatment/.
                                                         45
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         are not a viable alternative to treat asthma.157 The freedom the IRA provides to CMS to
         determine and apply multi-market calculations could have substantial impacts on the
         MFPs it offers to manufacturers.

      b. The IRA imposes a price ceiling for the MFP-setting process, but it does not include a
         price floor for most drugs.158 Moreover, the IRA sets out a directive to push prices as low
         as possible during the price-setting process. Ultimately, if desired, CMS could set the
         MFP at $0. From an economic perspective, manufacturers (particularly those that sell
         multiple products), would be better off accepting an offer close to a zero price (or even a
         negative price– i.e., pay CMS for the right to provide the drug to Medicare participants–
         with the IRS calculating the excise tax as above 100 percent of U.S. revenues for the
         MFP drug) than face either of the onerous and financially unsustainable alternatives.
         Even if such absurd prices were not set by CMS, the threat that they could be illustrates
         the extreme power that the statute vests in CMS, and the uncertainty it introduces into
         investors’ economic calculations. The statute purports to prohibit manufacturers from
         seeking judicial review once CMS has set its final MFP, no matter how low or the degree
         to which it has or has not incorporated fair consideration of the factors it is required to
         consider, or the input of manufacturers or others.

      c. The IRA does not specify the extent of CMS’ engagement with manufacturers through
         each step of the “negotiation” process. CMS’ Guidance states that they will meet with
         manufacturers once between the submission of relevant data and the initial offer.
         However, this meeting is restricted to providing context on the original data and adding
         any additional relevant data from the statute.159 The provisions of the IRA leave no room
         for manufacturer input on topics such as potential evidence sources and therapeutic
         comparator choice in the period after MFP-eligible drug selection but prior to initiation of
         the price-setting process. The IRA also does not require CMS to be transparent in its


157
    See, e.g., “Asthma,” Mayo Clinic, available at https://www.mayoclinic.org/diseases-conditions/asthma/diagnosis-
treatment/drc-20369660.
158
    There is a temporary price floor for small biotech drugs. See SSA, §1194(d).
159
    CMS Guidance, §60.4. Specifically, the statute states “CMS will invite the Primary Manufacturer for each
selected drug to one meeting in Fall 2023 after the data submission deadline. The purpose of this meeting will be for
the Primary Manufacturer to provide additional context on its data submission and share new section 1194(e)(2)
data, if applicable, as CMS begins reviewing the data and developing an initial offer.”
                                                         46
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           decision-making and the analyses considered in price-setting and does not specify
           whether manufacturers will have an opportunity to correct errors and assumptions and
           provide important context during the process. Moreover, the IRA does not outline a
           “renegotiation” process, leaving it up to CMS to formulate a course of action to control
           whether a previously determined MFP will be subject to a “renegotiation” process in
           subsequent years (either raising or lowering the MFP). This lack of specificity in the law
           effectively gives CMS unrestrained power over determining the steps involved in the
           price-setting process, forcing the manufacturer to accept the hand it is dealt.

        d. Finally, the IRA does not specify whether CMS is permitted to adjust its “consistent
           methodology” over time. As I discuss in Section III.A.1, making the decision to invest in
           pharmaceutical development now requires forecasting returns well into the future. Given
           the freedom that the IRA has granted CMS, firms are being forced to make decisions
           today based on a very uncertain future regulatory environment. This uncertainty,
           combined with the unprecedented power granted to CMS under the statute, in my opinion
           will exacerbate the consequences I discuss in Section V.

78.     Beyond the key issues that are left for CMS’ interpretation, the statute leaves open how CMS
        will enforce the requirement that manufacturers make MFPs available to eligible parties,
        while preventing MFPs from being offered to ineligible entities. Specifically, as I describe in
        Section III.B.2, under a “buy and bill” approach, Part B drugs are purchased by outpatient
        clinics, physicians’ offices, or other eligible providers directly from manufacturers or
        wholesalers.160 Currently, clinics or other purchasers may be eligible for discounted prices
        from manufacturers, and are subsequently reimbursed at ASP + 6% for Medicare claims.161
        Under the IRA, purchasers will only be reimbursed at MFP + 6% for MFP-eligible drugs



  160
      Ginsburg, Paul B., et al., “The use of vendors in Medicare Part B drug payment,” Brookings, August 2, 2019,
  available at https://www.brookings.edu/blog/usc-brookings-schaeffer-on-health-policy/2019/08/02/the-use-of-
  vendors-in-medicare-part-b-drug-payment/.
  161
      “Report to Congress on Medicaid and CHIP,” Medicaid and CHIP Payment and Access Commission, March 15,
  2023, available at https://www.macpac.gov/wp-content/uploads/2023/03/MACPAC_March-2023-Report-WEB-
  Full-Booklet_508.pdf. As discussed earlier, “ASP + 6%” effectively became “ASP + 4.3%” for a defined period of
  years, with suspensions and a 1 percent phase-in during part of the federal Public Health Emergency for COVID-19.
  See Weidner, Susan, et al., “Observations Regarding the Average Sales Price Reimbursement Methodology,”
  Evidence-Based Oncology, June 2021, Vol. 27, No. 4, pp. SP156-SP160, at p. SP156, available at
  https://www.ajmc.com/view/observations-regarding-the-average-sales-price-reimbursement-methodology.
                                                         47
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      provided to Medicare patients, and manufacturers are required to effectively sell these units
      to these purchasers at or below the MFP. But it is not always known which patient (e.g., a
      Medicare patient in a Medicare Advantage plan or a commercially-insured patient in a plan
      offered by the same insurer) is associated with each unit. As such, there must be an after-the-
      fact reconciliation between the manufacturer and the purchaser to ensure the correct price
      paid for each unit corresponds to the type of patient who receives it.

79.   Not only is this operationally complex, but significant issues have arisen with similar
      programs. For example, the 340B pricing program “allows eligible healthcare clinics and
      hospitals… to purchase outpatient drugs at a 20-50% discount.”162 Under this program, there
      have been claims of drug price diversion (i.e., ineligible individuals receiving discounted
      prices),163 duplicate discounts (i.e., the same prescription erroneously getting discounted
      under multiple discount programs, for instance 340B and Medicaid),164 and a lack of audits,
      transparency, and enforcement activity.165 The accuracy and propriety of discounts claimed
      by covered entities under the 340B program remains a controversial topic and the subject of




  162
      Mulligan, Karen, “The 340B Drug Pricing Program: Background, Ongoing Challenges and Recent
  Developments,” USC Schaeffer, October 2021, pp. 1-18, at p. 1, available at https://healthpolicy.usc.edu/wp-
  content/uploads/2022/07/USC_Schaeffer_340BDrugPricingProgram_WhitePaper.pdf.
  163
      Mulligan, Karen, “The 340B Drug Pricing Program: Background, Ongoing Challenges and Recent
  Developments,” USC Schaeffer, October 2021, pp. 1-18, at p. 9, available at https://healthpolicy.usc.edu/wp-
  content/uploads/2022/07/USC_Schaeffer_340BDrugPricingProgram_WhitePaper.pdf (“Although contract
  pharmacies increase the distribution of 340B discounted drugs, they also increase the complexity of identifying
  340B prescriptions because they simultaneously serve patients of covered entities and non-340B providers.
  Consequently, contract pharmacies increase the risk of drug diversion, which occurs when 340B drugs are provided
  to a non-340B eligible patient. To prevent diversion, contract pharmacies must correctly identify which patients and
  prescriptions are 340B eligible… However, drug diversion still occurs.”)
  164
      Mulligan, Karen, “The 340B Drug Pricing Program: Background, Ongoing Challenges and Recent
  Developments,” USC Schaeffer, October 2021, pp. 1-18, at pp. 7-8, available at https://healthpolicy.usc.edu/wp-
  content/uploads/2022/07/USC_Schaeffer_340BDrugPricingProgram_WhitePaper.pdf.
  165
      Mulligan, Karen, “The 340B Drug Pricing Program: Background, Ongoing Challenges and Recent
  Developments,” October 2021, pp. 1-18, at p. 7, available at https://healthpolicy.usc.edu/wp-
  content/uploads/2022/07/USC_Schaeffer_340BDrugPricingProgram_WhitePaper.pdf (“The 340B program has been
  examined regularly by the Government Accountability Office (GAO) and the Department of Health and Human
  Services Office of Inspector General (OIG), and their reports have highlighted several issues with the program,
  including limited oversight, lack of transparency, concerns stemming from DSH hospitals and contract pharmacies,
  and duplicate discounts.”).
                                                          48
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            ongoing litigation.166 While there is an IRA 340B nonduplication provision that prohibits
            applying both 340B and MFP discounts in a duplicated manner to the same units of a
            selected drug and CMS mentions that they will work with the Health Resources and Services
            Administration “to help to ensure that the MFP is made available to 340B covered entities
            where appropriate and that there is no duplication with the 340B ceiling price,” CMS does
            not provide specific details on how this complexity will be managed and monitored or how
            access to the MFP will be limited only to eligible parties.167

80.         In addition, the IRA does not explicitly prevent Part D plans from placing drugs subject to
            MFP on less favorable formulary tiers or imposing utilization management requirements.
            While the CMS Guidance states that CMS intends to use its formulary review process to
            ensure that this does not occur, it does not clarify how it intends to enforce these
            requirements across a large and diverse set of Part D plans.168 The lack of clarity on whether
            CMS will adequately protect drugs subject to MFP from these circumstance may cause
            manufacturers to have to negotiate additional rebates on top of the MFP with Part D plans
            and PBMs to ensure favorable formulary access.

                        The Drug Price “Negotiation” Program is Actually a Price-Setting Program
81.         The most basic definition of negotiate is “to arrange for or bring about through conference,
            discussion, and compromise” (emphasis added).169 From an economic perspective, this
            means coming to an agreement that is superior to either party’s best alternative option to a
            negotiated agreement (“BATNA”). If either party’s BATNA represents a better outcome for


      166
           Mulligan, Karen, “The 340B Drug Pricing Program: Background, Ongoing Challenges and Recent
      Developments,” USC Schaeffer, October 14, 2021, pp.1-18, at p. 1, available at https://healthpolicy.usc.edu/wp-
      content/uploads/2022/07/USC_Schaeffer_340BDrugPricingProgram_WhitePaper.pdf; “The Federal 340B Drug
      Pricing Program: What It Is, and Why It’s Facing Legal Challenges,” The Commonwealth Fund, September 8, 2022,
      available at https://www.commonwealthfund.org/publications/explainer/2022/sep/federal-340b-drug-pricing-
      program-what-it-is-why-its-facing-legal-challenges.
      167
          It is possible that this uncertainty will further expose manufacturers to enforcement actions under the IRA (in the
      form of the civil monetary penalties equal to 10 times the difference between the price the manufacturer actually
      makes available and the MFP, multiplied by the total number of units sold) for failing to ensure access to the
      determined MFP to an eligible Medicare beneficiary or dispenser. SSA, §1197(a).
      168
          As of 2023, there were 801 stand-alone Part D plans being offered to Medicare beneficiaries, with at least 2,557
      more Medicare Advantage plans that provide Part D coverage. See “An Overview of the Medicare Part D
      Prescription Drug Benefit,” Kaiser Family Foundation, October 19, 2022, available at
      https://www.kff.org/medicare/fact-sheet/an-overview-of-the-medicare-part-d-prescription-drug-benefit/.
      169
          “negotiate,” Merriam-Webster.com, available at https://www.merriam-webster.com/dictionary/negotiate.
                                                                49
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         that party, the negotiation will come to an impasse and that party will exit the negotiation. In
         order for compromise to occur within a negotiation, each party must have a realistic option to
         walk away if the conditions offered by the counterparty are not acceptable. When the rules of
         negotiation are such that one party’s BATNA is not actually a feasible alternative, a more
         powerful opposing party can effectively demand whatever outcome it chooses. Under such
         circumstances, the “negotiation” is effectively reduced to a process more akin to price-setting
         by the party with the greater power, or “negotiation with a gun to your head,” as a
         biopharmaceutical CEO recently described it.170

82.      Others have recognized this distinction between price negotiation amongst parties
         confronting a “zone of possible agreement”171—even where parties have differing levels of
         bargaining power—and price-setting imposed by one party. For instance, the World Health
         Organization distinguishes between three distinct processes by which prices may be
         determined in healthcare: individual negotiations between providers and payers; negotiation
         between associations of providers and payers; and unilateral administrative price setting.172
         Similarly, in a review of potential design considerations in approaches to “government
         regulated or negotiated drug prices,” the authors distinguish between three alternative
         approaches: “unilateral HHS authority to set prices”; “HHS sets prices through notice and
         comment rulemaking”; and an “independent arbitrator sets prices.”173 The first of these
         potential approaches (“unilateral HHS authority to set prices”) closely approximates the
         design reflected in the IRA. In this approach:

                    The Secretary would have the discretion to consider, as appropriate, the
                    information and positions exchanged during the initial negotiation stage, as well
                    as any expert analysis HHS might choose to consider. HHS would have broad
                    discretion, including whether to establish procedures for public comment by
                    stakeholders such as manufacturers, beneficiary organizations, insurers and

   170
      Constantino, Annika K., “Pfizer CEO Says Medicare will likely face legal action over drug price negotiations,”
  CNBC, May 11, 2023, available at https://cnb.cx/3M0M3Pk.
  171
      “What is the Zone of Possible Agreement?” Harvard Law School Program on Negotiation, available at
  https://www.pon.harvard.edu/tag/zone-of-possible-agreement/.
  172
      Barber, Sarah L., et al., “Price setting and price regulation in health care: lessons for advancing universal health
  coverage,” World Health Organization, 2019, p. 29, available at
  https://apps.who.int/iris/bitstream/handle/10665/325547/9789241515924-eng.pdf?sequence=1&isAllowed=y.
  173
      Ginsburg, Paul B., and Steven M. Lieberman, “Government regulated or negotiated drug prices: Key design
  considerations,” Brookings, August 30, 2021, available at https://www.brookings.edu/essay/government-regulated-
  or-negotiated-drug-prices-key-design-considerations/.
                                                             50
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                   employers. In addition, the legislation could provide guidance to HHS, potentially
                   limiting its discretion by specifying factors which might argue for a higher or
                   lower price within the permitted range.174

83.   In this section I examine what the BATNAs look like for manufacturers and CMS under the
      IRA to demonstrate why the law is not structured to facilitate a true negotiation. As I
      describe in more detail in Section IV.A, the “negotiation” process dictated by the provisions
      of the IRA begins with an initial MFP offered by CMS to the manufacturer (“initial offer”),
      which will be based on its determination of the therapeutic alternative(s) and the perceived
      benefits of the MFP-eligible product relative to such alternative(s). This initial offer may not
      exceed a specified ceiling specifically defined in the IRA.175 If the manufacturer declines
      CMS’ initial offer, it may submit a counteroffer within 30 days (per the IRA). If CMS
      declines the counteroffer, per the CMS Guidance, CMS and the manufacturer may hold up to
      three meetings to discuss the inputs to and calculation of the MFP. Following these meetings,
      CMS will submit a final written price determination to the manufacturer (“final offer”),
      which the manufacturer can choose to accept or decline.176

84.   While the process outlined in the IRA incorporates some limited opportunities for the
      manufacturer to provide feedback to CMS on the MFP calculation, there is no requirement
      for CMS to offer this or for CMS to incorporate this information into its decision-making
      process. If CMS chooses to ignore this feedback in its final MFP determination, the
      manufacturer is left with no practical recourse. Specifically, as described in more detail in
      Section IV.A and summarized below, the IRA provides manufacturers with only two options
      if they reject CMS’ final MFP offer: (1) face an excise tax for non-compliance that could
      escalate from 186 to 1,900 percent of total U.S. revenues from all purchasers for a given
      product (not just Medicare or government sales), or (2) withdraw all products from Medicare




  174
      Ginsburg, Paul B., and Steven M. Lieberman, “Government regulated or negotiated drug prices: Key design
  considerations,” Brookings, August 30, 2021, available at https://www.brookings.edu/essay/government-regulated-
  or-negotiated-drug-prices-key-design-considerations/.
  175
      CMS Guidance, §60.1 and §60.2.
  176
      CMS Guidance, §60.4.
                                                        51
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        and Medicaid coverage.177 The consequence of either of these options would be catastrophic
        for almost any manufacturer.

85.     Under the first option (accept the excise tax), manufacturers would be charged an escalating
        excise tax penalty until they opt to accept CMS’ MFP or they successfully withdraw all
        products from Medicare and Medicaid coverage. As I discussed in Section IV.A.3(a), recent
        IRS guidance confirms an escalating tax rate ranging from 186 to 1,900 percent of the drug’s
        total U.S. revenues, which is also supported by the Congressional Research Service (“CRS”)
        and CBO.178 The magnitude of this penalty makes it unfeasible for manufacturers to reject
        CMS’ final MFP price determination, as the tax itself could rapidly deplete revenues. For
        example, if the MFP-eligible drug accounts for approximately 13 percent or more of its
        manufacturer’s total net revenues, applying the excise tax over a full year (beginning at 186
        percent and escalating to 1,900 percent by day 272) would result in an excise tax liability of
        100 percent of the manufacturer’s total net revenues.

86.     Under the second option (withdraw from Medicare and Medicaid), manufacturers would be
        forced to withdraw all products from Medicare and Medicaid coverage. Not only does this
        give extra weight to the MFP-setting by tying its consequences to other products that are not




  177
      26 U.S.C. §5000D(c). It is also notable that having a manufacturer withdraw all products from Medicare and
  Medicaid coverage could increase Medicare spending, as a result of their withdrawing low-cost small molecule
  generic or biosimilar alternatives to higher cost drugs that are included in their drug portfolio. Besides the direct
  effects of replacing a lower-cost drug with a higher-cost drug, the price of other products covered by Medicare may
  increase as a result of the reduced competition. Of the ten products listed in Appendix D, four are produced by
  manufacturers who also produce at least one biosimilar. This number is likely to grow over time as the biosimilar
  market expands.
  178
      According to the CRS report, “the excise tax would range from 185.71% to 1,900% of the selected drug’s price
  depending on the duration of noncompliance.” It goes on to elaborate that, because the statute defines the applicable
  tax rate as the ratio of the tax to the tax plus price, this simplifies to a higher de facto tax rate than the stated
  applicable rate under the statute. “Tax Provisions in the Inflation Reduction Act of 2022 (H.R. 5376),”
  Congressional Research Service, p. 6, available at https://crsreports.congress.gov/product/pdf/R/R47202; the CBO
  report specifies that it “expects that drug manufacturers will comply with the negotiation process because the costs
  of not doing so are greater than the revenue loss from lower, negotiated prices.” “How CBO Estimated the
  Budgetary Impact of Key Prescription Drug Provisions in the 2022 Reconciliation Act,” Congressional Budget
  Office, February 2023, p. 10, available at https://www.cbo.gov/system/files/2023-02/58850-IRA-Drug-Provs.pdf
                                                           52
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         covered by the negotiation process,179 but also has serious financial and reputational
         ramifications.

87.      First, Medicare and Medicaid constitute a substantial portion of drug sales in the U.S. and for
         many manufacturers. A 2023 Kaiser Family Foundation study estimated that, as of 2021,
         Medicare accounted for 32 percent of U.S. retail prescription drug sales.180 A similar
         summary stated that, as of 2017, Medicare accounted for 30 percent of retail prescription
         drug sales and Medicaid accounted for an additional 10 percent.181 Moreover, reimbursement
         from Medicare and Medicaid is unlikely to be the only foregone revenue that manufacturers
         experience by exercising this option. As I discuss in Section III.B, Medicare predominantly
         insures patients over 65 years old and certain younger people with disabilities. If patients
         need to begin long-term treatment in the years leading up to Medicare eligibility, physicians
         may be less likely to select a drug for their patients for which they will lose coverage once
         they rely on Medicare. As a result, choosing to withdraw from Medicare and Medicaid could
         lead to spillover effects in the commercial market associated with additional lost revenues.

88.      Second, withdrawing all products from Medicare and Medicaid raises broader ethical
         concerns for manufacturers and could lead to costly reputational damage. These two
         programs insure millions of older and financially needy patients.182 Withdrawing all products
         from coverage would eliminate access to many safe and effective medications, including
         those not subject to MFP-setting. Not only would this be devastating for millions of patients,


   179
      In its June 30, 2023 Guidance, CMS clarified that it will find “good cause” to expedite Part D termination in 30
  days if withdrawal from Medicare and Medicaid coverage is the option a manufacturer elects to take, enabling them
  to “avoid incurring excise tax liability…” Despite this update, the remaining options presented to manufactures
  under the IRA are still highly coercive and amount to a price-setting process rather than a negotiation. See CMS
  Guidance, p. 33, §40.1, and §40.6.
  180
      Cubanski, Juliette and Tricia Neuman, “What to Know about Medicare Spending and Financing,” Kaiser Family
  Foundation, January 19, 2023, available at https://www.kff.org/medicare/issue-brief/what-to-know-about-medicare-
  spending-and-financing/.
  181
      Cubanski, Juliette, and Matthew Rae, “How Does Prescription Drug Spending and Use Compare Across Large
  Employer Plans, Medicare Part D, and Medicaid?” Kaiser Family Foundation, May 20, 2019, available at
  https://www.kff.org/medicare/issue-brief/how-does-prescription-drug-spending-and-use-compare-across-large-
  employer-plans-medicare-part-d-and-medicaid/.
  182
      As of 2022, 65.0 million people are enrolled in Parts A and B of Medicare, and 88.5 million people are enrolled
  in Medicaid & CHIP. There is some overlap in these numbers as 12.5 million people are jointly enrolled in Medicare
  and Medicaid. See “CMS Fast Facts,” CMS, March 2023, available at https://data.cms.gov/sites/default/files/2023-
  03/CMSFastFactsMar2023.pdf; Peña, Maria T., et al., “A Profile of Medicare-Medicaid Enrollees (Dual Eligibles),”
  Kaiser Family Foundation, January 31, 2023, available at https://www.kff.org/medicare/issue-brief/a-profile-of-
  medicare-medicaid-enrollees-dual-eligibles/.
                                                          53
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            but this decision would harm manufacturers’ reputations, which could lead to further
            financial repercussions. Indeed, a recent study found that “[health care professionals]
            worldwide want the peace of mind that they are prescribing treatments from brands they
            respect… and… [o]utside a medication’s functional characteristics… corporate reputation is
            the No. 1 factor that influences an HCP’s decision to prescribe or recommend a therapy.”183
            Ultimately, forgoing Medicare and Medicaid reimbursements would substantially reduce
            manufacturer revenues and has the potential for costly reputational damage. As a result,
            similar to paying the excise tax, withdrawal from these programs is unlikely to be an option
            that most manufacturers could meaningfully consider.

89.         The issue of an unrealistic BATNA for manufacturers is exacerbated by the fact that CMS is
            directed by the IRA to “develop a methodology and process… that aims to achieve the
            lowest maximum fair price for each selected drug,” without defined limits;184 the law
            specifies an upper limit on the MFP (a price ceiling), but for most drugs the law does not
            include a lower limit (a price floor), any standards for reasonableness, or judicial review in
            the event that manufacturers disagree with the accuracy of the basis for CMS’ final price-
            setting amount. As I discuss in Section IV.A.2(a), the IRA does not define how CMS must
            (1) determine the therapeutic alternatives, nor (2) the specifics of valuing the perceived
            benefits of the negotiated product relative to the chosen therapeutic alternative. These
            ambiguous provisions give CMS significant latitude to select an “alternative” that is
            substantially less expensive than the negotiated product but is not actually viewed as a true
            alternative by prescribers in most cases, and to undervalue the perceived benefits of the
            negotiated product, both of which could be used to drive down the MFP. This could
            especially be the case when the set of potential alternative products includes generic drugs.

90.         Overall, CMS faces little risk of manufacturers rejecting the final MFP amount no matter
            how low it is. Indeed, the CBO explicitly stated that it “expects that drug manufacturers will
            comply with the negotiation process because the costs of not doing so are greater than the




      183
      “Health Reputation: More than Medicine,” WE Communications, 2023, at pp. 1-2, available at https://www.we-
  worldwide.com/media/k02kcyrr/we-brands-in-motion-2023-healthy-reputation.pdf.
  184
      SSA, §1194(b).
                                                         54
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            revenue loss from lower, negotiated prices,”185 and an identical earlier excise tax provision
            was assumed by the Joint Committee on Taxation to generate zero revenues, consistent with
            the reason that no manufacturer could realistically afford to be subject to and pay it for any
            extended length of time.186


      V.       THE IRA WILL REDUCE PHARMACEUTICAL INNOVATION AND DELAY
               PATIENT ACCESS TO NOVEL THERAPIES
91.         The United States has historically been a global leader in pharmaceutical innovation, with
            $122 billion or 58.9 percent of global R&D spending in 2020.187 A market-based approach to
            pharmaceutical pricing in the U.S. has resulted in patients in the U.S. benefiting from the
            earliest and broadest access to new medications, with nearly 80 percent of medicines
            approved by the FDA in 2021 being available in the U.S. before any other country.188

92.         As I discussed in Section III.A, drug development (after early-stage scientific research) is
            typically funded by private investors. For smaller biotech firms, this investment comes from
            external sources, such as venture capital or private equity. For larger, more established
            manufacturers, it can come from either external sources or through reinvestment of revenues
            into the R&D pipeline.189 Any substantial reductions in expected return on investment
            (“ROI”) will change investment decisions, reducing innovation in the pharmaceutical space.
            In a recent analysis evaluating the impact of proposed legislation to control drug prices, the
            CBO found that a reduction in expected returns on R&D for future drugs would “reduce the




      185
      “How CBO Estimated the Budgetary Impact of Key Prescription Drug Provisions in the 2022 Reconciliation
  Act,” Congressional Budget Office, February 2023, p. 10, available at https://www.cbo.gov/system/files/2023-
  02/58850-IRA-Drug-Provs.pdf.
  186
      “Re: Effects of Drug Price Negotiation Stemming From Title 1 of H.R. 3, the Lower Drug Costs Now Act of
  2019, on Spending and Revenues Related to Part D of Medicare,” Congressional Budget Office, October 11, 2019,
  p. 8, available at https://www.cbo.gov/system/files/2019-10/hr3ltr.pdf.
  187
      “Total global pharmaceutical R&D spending 2014-2028,” Statista, October 2022; “U.S. Investments in Medical
  and Health Research and Development 2016-2020,” Research America, January 2022, available at
  https://www.researchamerica.org/wp-content/uploads/2022/07/ResearchAmerica-Investment-Report.Final_.January-
  2022.pdf (I calculate the U.S. share of total global spending on pharmaceutical R&D by dividing $122 billion by
  $207 billion).
  188
      “Advancing Health Through Innovation: New Drug Therapy Approvals 2021,” FDA, January 2022, available at
  https://www.fda.gov/media/155227/download.
  189
      “Research and Development in the Pharmaceutical Industry,” Congressional Budget Office, April 2021, available
  at https://www.cbo.gov/publication/57126.
                                                         55
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         introduction of new drugs.”190 Furthermore, the CBO report cites several studies that find a
         relationship between market size for pharmaceutical products and innovation, including an
         increase in new drug approvals when the market expands.191

93.      For both smaller biotech firms and larger established manufacturers, the goal of investors is
         ROI, whether through a profitable “exit” (that is, the sale of rights to a newly developed drug
         or company) or future revenue.

94.      A profitable “exit” typically happens in the form of an acquisition of the rights to a drug or
         the purchase of its owner, though some early-stage biotechnology firms may go public
         through an initial public stock offering. A trend toward going public has reversed in recent
         years given existing market conditions, but may rebound in the future.192 However, even
         many of these firms with early-stage IPOs are also subsequently acquired by larger firms
         with the assets to further develop and commercialize the product. This private venture capital
         or private equity funding is highly mobile and has no particular commitment to the
         pharmaceutical industry; it is simply in search of the highest returns on behalf of investors,
         such as large pension funds. If potential returns from biotech investments fall, investors will
         redirect their funds from the pharmaceutical sector towards the next best option. The
         financial terms of these eventual exits are dictated by the expected revenues of the product in
         the market and thus would be affected by aggressive price regulation and other factors that
         decrease average expected returns.

95.      Likewise, established biopharmaceutical firms are influenced by expected returns when they
         make economic decisions regarding the acquisition of drug candidates and startup firms, and
         the further development of those drug candidates and launched drugs. Changes in the


   190
      “Re: Effects of Drug Price Negotiation Stemming From Title 1 of H.R. 3, the Lower Drug Costs Now Act of
  2019, on Spending and Revenues Related to Part D of Medicare,” Congressional Budget Office, October 11, 2019,
  p. 2, available at https://www.cbo.gov/system/files/2019-10/hr3ltr.pdf.
  191
      Dubois, Pierre, et al., “Market Size and Pharmaceutical Innovation,” RAND Journal of Economics, Vol. 46, No.
  4, October 26, 2015, pp. 844-871; Blume-Kohout, Margaret E. and Neeraj Sood, “Market Size and Innovation:
  Effects of Medicare Part D on Pharmaceutical Research and Development,” Journal of Public Economics, Vol. 97,
  January 2013, pp. 327-336; Acemoglu, Daron and Joshua Linn, “Market Size in Innovation: Theory and Evidence
  From the Pharmaceutical Industry,” Quarterly Journal of Economics, Vol. 119, No. 3, August 2004, pp. 1049-1090.
  While the size of effect varies across study, each one establishes that changing the expected market size for
  pharmaceutical products changes R&D investment and subsequently the number of new drugs entering the market.
  192
      “Biotech’s post-IPO boom: rebounding from a 2022 Low?” Pharmaceutical Technology, March 23, 2023,
  available at https://www.pharmaceutical-technology.com/comment/biotech-post-ipo-boom/.
                                                        56
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        economic “rules of the game” and expected returns to their investments influence their
        decisions about the deployment of their resources.

96.     With its exclusive focus on lowering Medicare drug prices, the IRA ignores the impact of
        reduced drug revenues and the corresponding consequence of lower expected ROI for future
        drug development. The CBO estimates that “net prices for selected drugs will decrease by
        roughly 50 percent, on average, as a result of negotiation.”193 Because Medicare accounts for
        approximately 30 percent of prescription drug spending in the U.S.,194 imposing MFPs will
        have a meaningful impact on revenues.

97.     The scientific risk associated with drug development on investment decisions is compounded
        by the long timelines associated with bringing a drug to market. The average clinical and
        approval phase times for new molecular entities from 2005-2009 was between seven and
        eight years, depending on whether the drug received priority status or not.195 With MFPs for
        the first group of drugs set to come into effect in 2026, some drugs that are currently being
        developed will have to take into account potentially reduced revenues due to the IRA.

98.     The IRA’s impact on prices and corresponding investment decisions in my opinion will
        result in several consequences related to drug development, some of which will
        disproportionately impact certain patient populations (e.g., cancer patients and patients with
        conditions that disproportionately impact older individuals). Moreover, because of
        competitive dynamics, these consequences are unlikely to be limited to the drugs or
        manufacturers of drugs ultimately subject to MFP-setting. Most drugs face competition from
        branded alternatives even before generic formulations of their own molecules are available.
        If one drug in a category experiences a stark reduction in price due to the imposition of an
        MFP, alternative branded products will need to reduce their prices to effectively compete, as
        well. As a result, these consequences will extend to: (1) drugs in disease categories with any

  193
      “How CBO Estimated the Budgetary Impact of Key Prescription Drug Provisions in the 2022 Reconciliation
  Act,” Congressional Budget Office, February 2023, p. 10, available at https://www.cbo.gov/system/files/2023-
  02/58850-IRA-Drug-Provs.pdf.
  194
      Cubanski, Juliette, and Tricia Neuman, “What to Know about Medicare Spending and Financing,” Kaiser Family
  Foundation, January 19, 2023, available at https://www.kff.org/medicare/issue-brief/what-to-know-about-medicare-
  spending-and-financing/.
  195
      Kaitin, Kenneth I., and Joseph A. DiMasi, “Pharmaceutical Innovation in the 21st Century: New Drug Approvals
  in the First Decade, 2000-2009,” Clinical Pharmacology & Therapeutics, Vol. 89, No. 2, February 2011, pp. 183-
  188, at p. 185.
                                                        57
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              MFP-eligible alternatives, (2) products already on-market whose manufacturers are weighing
              investment in additional indications and face uncertain or changed prospects in the disease
              category, (3) products in development facing similar uncertain revenue prospects years in the
              future, and (4) potential early-stage prospects, especially those in disease categories with
              existing generic products that could be considered therapeutic alternatives. Ultimately, this
              could encompass almost all products, directly or indirectly. Because the IRA changes the
              “rules of the game” and adds new elements of financial risk to investment calculations, it will
              affect the full landscape of products and investors.

                          Distortions and disruptions to established indication sequencing approaches
                          will impact patient access to new therapies

 99.          The optimal strategy for a manufacturer facing the risky proposition of developing a new
              drug is often to launch with a single indication where the scientific path is clearest and the
              clinical data supporting efficacy and safety is the strongest. After the drug has launched, the
              manufacturer will pursue subsequent indications over time. Because the IRA creates a new,
              shorter period to earn market-based returns for drugs that fall under the MFP-setting
              provisions and does not allow for exceptions or extensions related to new indications,196
              manufacturers have an incentive to pause, terminate, or adjust their development and launch
              approaches, with potential impact on future treatment availability.

100.          Currently, manufacturers consider an array of factors when determining whether to pursue
              development of a drug in a specific therapeutic area. These factors include the duration, cost
              and probability of technical success during development, peak net sales from the drug’s
              initial indication(s), the potential for additional follow-on indications, and the drug’s
              commercial sales lifetime prior to generic or biosimilar entry, which is affected by factors
              such as patent protection and statutory exclusivity provisions (including, for example, for
              orphan diseases and pediatric indications). Each of these factors affects the ROI a drug is
              expected to produce. The IRA’s new “price-setting” has the effect of (1) creating a new point
              in time after which it will be uneconomic to invest in additional post-approval indications,
              and (2) discouraging pursuit of certain indications, such as those that are likely to include

       196
             SSA, §1192(e).
                                                            58
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          alternative treatments that are generic or otherwise relatively inexpensive (e.g., they are of an
          older treatment generation or part of a different classes of medications that could be
          considered therapeutic alternatives (based on the IRA’s vague definition) once the drug
          becomes MFP-eligible).

101.      Because the IRA shortens the length of time MFP-eligible drugs can earn market-based
          returns, it skews incentives away from a strategy of an initial launch with a narrower
          indication, followed by additional approvals later. For example, biologic Dupixent was
          initially approved in 2017 for the treatment of atopic dermatitis (eczema).197 Since then, it
          has received 4 subsequent indications for different conditions,198 and Sanofi just released
          Phase III trial results for the treatment of chronic obstructive pulmonary disease (“COPD”) –
          a condition that has not seen a new approved therapy in more than a decade.199 With a shorter
          period to earn market-based returns, the incentive to undergo the COPD trial nearly seven
          years after Dupixent’s initial launch would be significantly diminished. Instead of the
          incremental approval approach seen with Dupixent (and other drugs), manufacturers are
          likely to consider different strategies, such as delaying launch in order to include a broader
          set of indications from the outset, subject to patent considerations. Such a strategy would
          result in increased development complexity, higher pre-launch costs, and delays for some
          indications that would otherwise be ready to be launched and be available to U.S. patients
          sooner.

102.      In other instances, manufacturers are likely to conclude that a given post-approval
          development program is no longer economical because there is not sufficient time to earn
          market-based returns before the drug becomes MFP-eligible, or because an additional
          indication could, on the margin, actually cause a drug that would not otherwise be MFP-
          eligible to become MFP-eligible as a result of those incremental sales.



    197
       “FDA Approves First Treatment for Eosinophilic Esophagitis, a Chronic Immune Disorder,” FDA, May 20,
   2022, available at https://www.fda.gov/news-events/press-announcements/fda-approves-first-treatment-eosinophilic-
   esophagitis-chronic-immune-disorder.
   198
       “Dupixent FDA label,” Drugs@FDA, as of October 17, 2022, available at
   https://www.accessdata.fda.gov/drugsatfda_docs/label/2022/761055s046lbl.pdf.
   199
       Dunleavy, Kevin, “With Dupixent leading the way, Sanofi’s taking on the 'big players' in respiratory diseases:
   exec,” FiercePharma, May 22, 2023, available at https://www.fiercepharma.com/pharma/dupixent-leading-way-
   copd-sanofi-set-play-big-boys-and-girls-respiratory-diseases.
                                                          59
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103.      It is even possible that manufacturers will conclude that a certain full drug development
          program, including initial and post-approval indications, is no longer economical and will
          pass on an opportunity to invest in, acquire, or develop the drug. Such decisions would lead
          to valuable new treatments being lost, not only as a result of new drugs not being developed
          but also by preventing the positive spillover effect that scientific advances can have on other,
          future products’ development. A recent example of the ripple effect of new scientific
          advances is the development of COVID-19 vaccines, which boosted the research on how the
          mRNA vaccine technology can be applied to other diseases, including HIV and cancer,
          among other conditions.200

104.      Additionally, as I discussed in Section IV.B, the IRA’s lack of specific requirements that
          CMS must follow to identify therapeutic alternatives could have negative impacts on
          therapeutic advances. For example, in my view, manufacturers will be less likely to seek
          approval for indications where the therapeutic alternative is expected to include a generic
          drug if and when the drug becomes MFP-eligible, even if the drug presents a significant
          therapeutic advancement relative to competitive products. One example is Auvelity, a drug
          developed by Axsome Therapeutics that was approved by the FDA in August 2022 for the
          treatment of major depressive disorder (“MDD”).201 Auvelity is the “first and only rapid-
          acting oral medicine approved for the treatment of MDD,” an important therapeutic
          advancement that was recognized by the FDA when it granted breakthrough therapy
          designation for Auvelity for the treatment of MDD in March 2019, and subsequently




    200
       See e.g., “mRNA Vaccine Technology: A Promising Idea for Fighting HIV,” National Institutes of Health,
   February 20, 2023, available at https://covid19.nih.gov/news-and-stories/mrna-vaccine-technology-promising-idea-
   fighting-hiv.
   201
       “Auvelity FDA label,” Drugs@FDA, as of August 18, 2022, available at
   https://www.accessdata.fda.gov/drugsatfda_docs/label/2022/215430Orig1s000Correctedlbl.pdf; “Auvelity FDA
   Approval Letter,” Drugs@FDA, as of August 18, 2022, available at
   https://www.accessdata.fda.gov/drugsatfda_docs/appletter/2022/215430Orig1s000Correctedltr.pdf.
                                                          60
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         evaluated the NDA under priority review.202,203 Notably, Axsome Therapeutics developed
         Auvelity for the treatment of MDD in the context of a therapeutic area where the standard of
         care include selective serotonin reuptake inhibitors (“SSRIs”) and serotonin and
         norepinephrine reuptake inhibitors (“SNRIs”), both of which have many generic options.204
         Drugs such as Auvelity will be less likely to be developed in the first place if their expected
         therapeutic alternatives for the purpose of MFP setting have generic versions. While generic
         availability of competing products is a factor that manufacturers like Axsome Therapeutics
         consider in the current environment, they rely on the market’s ability to recognize and reward
         clinical benefit and product differentiation, which CMS may not choose to do in its unilateral
         identification of a therapeutic alternative.

105.     Finally, in my view, the IRA’s timeline for the imposition of MFP-setting will affect
         incentives for the collection of safety and efficacy data in real world settings, which can
         involve lengthy follow-up studies and can be vital for determining long-term viability,
         efficacy, and cost-effectiveness of a drug and to inform clinician decisions about optimal
         prescribing for a given patient. Some lengthy post-approval clinical trials will become
         economically unviable with the shortened periods of market-based pricing. For example, the
         Health Outcomes and Reduced Incidence with Zoledronic Acid Once Yearly-Pivotal Fracture
         Trial (HORIZON) and extensions followed participants for up to nine years and helped shed
         light on the long-term effectiveness zoledronic acid treatment for osteoporosis.205

   202
       “Axsome Therapeutics Announces FDA Approval of AUVELITYTM, the First and Only Oral NMDA Receptor
   Antagonist for the Treatment of Major Depressive Disorder in Adults,” Axsome Therapeutics Press Release, August
   19, 2022, available at https://www.multivu.com/players/English/9034852-axsome-therapeutics-announces-fda-
   approval-auvelity/.
   203
       The FDA Breakthrough Therapy designation “is a process designed to expedite the development and review of
   drugs that are intended to treat a serious condition and preliminary clinical evidence indicates that the drug may
   demonstrate substantial improvement over available therapy on a clinically significant endpoint(s).” “Breakthrough
   Therapy,” FDA, available at https://www.fda.gov/patients/fast-track-breakthrough-therapy-accelerated-approval-
   priority-review/breakthrough-therapy. The FDA Priority Review designation is intended to “direct overall attention
   and resources to the evaluation of applications for drugs that, if approved, would be significant improvements in the
   safety or effectiveness of the treatment, diagnosis, or prevention of serious conditions when compared to standard
   applications.” “Priority Review,” FDA, available at https://www.fda.gov/patients/fast-track-breakthrough-therapy-
   accelerated-approval-priority-review/priority-review.
   204
       “Practice Guideline for the Treatment of Patients with Major Depressive Disorder,” Psychiatry Online, October
   2010, available at https://psychiatryonline.org/pb/assets/raw/sitewide/practice_guidelines/guidelines/mdd.pdf.
   205
       Black, Dennis M., et al., “The effect of 6 versus 9 years of zoledronic acid treatment in osteoporosis: a
   randomized second extension to the HORIZON‐Pivotal Fracture Trial (PFT),” Journal of Bone and Mineral
   Research, Vol. 30, No. 5, December 26, 2014, pp. 934-944, available at
   https://asbmr.onlinelibrary.wiley.com/doi/10.1002/jbmr.2442.
                                                            61
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                         Established oncology drug development approaches will be disrupted
106.         The IRA’s disruption to indication sequencing investment decisions is likely to be
             particularly problematic for oncology drugs. Many oncology drugs launch with approval as a
             later-stage treatment for a single diagnosis and, over time, seek approval as an earlier line of
             therapy, for concomitant treatment with other medications, and for other tumor types or
             diagnoses.206

107.         For example, the biologic Keytruda was originally approved in 2014 for a single indication to
             treat certain patients with melanoma, but post-approval clinical trials have shown that the
             mechanism can help many patients with a wide variety of cancers. Keytruda has
             subsequently received additional disease approvals over the past nine years, with a current
             total of 36 disease indications across 18 tumor types.207 Details of the timing and description
             for each additional indication are available in Exhibit 3. Moreover, company leadership
             recently indicated that the IRA would directly undermine the ability to develop additional
             indications, stating that, “If you look at our drug Keytruda … we are less than halfway
             through the development program. I don’t know if in the future you will be able to do that,
             where you keep investing in the follow-on indications, and that concerns me.”208

108.         Even with relatively costly development and slower launch-to-peak-sales curves, oncology
             products have historically been appealing to investors due in part to the possibility of
             additional post-approval indications and growing sales from these indications. A
             development strategy that had the manufacturer prioritizing development of the indication(s)
             that would allow the drug to come to market most rapidly, and therefore would be available
             to patients sooner, was often favored. With the IRA, manufacturers will face incentives to re-


       206
           “Implications of the Inflation Reduction Act Price Setting Provisions on Post-approval Indications for Small
       Molecule Medicines,” Partnership for Health Analytic Research, June 2023, available at
       https://www.pharllc.com/wp-content/uploads/2023/05/Implications-of-the-IRA-on-Post-Approval-Small-Molecules-
       2006-2012_Final.pdf.
       207
           Keytruda holds indications to treat patients with certain types of bladder cancer, breast cancer, cervical cancer,
       colorectal cancer, diffuse large B-cell lymphoma, esophageal cancer, gastric cancer, head and neck cancer,
       hepatocellular (liver) cancer, Hodgkin’s lymphoma, Merkel cell carcinoma, non-small cell lung cancer, renal cell
       cancer, squamous cell carcinoma, solid tumors, and uterine (endometrial) cancer. “Keytruda FDA label,”
       Drugs@FDA, as of April 3, 2023, available at
       https://www.accessdata.fda.gov/drugsatfda_docs/label/2023/125514s136lbl.pdf.
       208
           Merrill, Jessica, “US Pricing Reform Puts Cancer Drug Innovation At Risk, Drug Leaders Warn,” Scrip,
       November 2, 2022.
                                                                62
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           think this approach, either delaying or forgoing indications for smaller patient populations
           and disease indications, compared with the current approach. This, in turn, will also reduce
           their ability to rely on valuable real-world evidence accumulated through clinical practice in
           the design and implementation of future clinical trials. A recent concrete example is the
           statement by Genentech CEO that the company faces difficult decisions about how best to
           sequence research on an oral cancer molecule that could help patients with diseases like
           ovarian cancer with smaller populations, or with prostate cancer with larger populations: “It’s
           a cancer drug that we think has best-in-class potential. We believe it has potential in breast
           cancer, ovarian cancer, and prostate cancer. Normally, we would develop it in a fast market
           approach for ovarian cancer. That’s the shortest path to patients … but that is a much smaller
           indication than prostate cancer, which would take three years longer. So the dilemma we’re
           facing right now is, do we go with the initial indication being prostate cancer and then hold
           off on the development and the approval of ovarian because the clock will be started with
           prostate?… We face a lot of difficult decisions to make squaring the science and the societal
           patient unmet need together with the business case. It’s frustrating that this is an artifact of
           government legislation, which is creating a disincentive for us to do the right thing for
           patients.” 209

109.       Moreover, as noted, the negative consequences for manufacturer revenues related to the IRA
           are not limited to the drugs that end up on the selected drug list. Oncology drugs commonly
           have indications across multiple types of cancer. When a drug with multiple indications
           becomes subject to an MFP, alternative treatments for every indication will compete for
           formulary placement and coverage with a product with a much lower price. This could drive
           down the price and corresponding expected returns of those alternative products as well,
           creating a dynamic that discourages further innovation in any treatment area that has (or
           expects to have) an MFP-eligible product. This reduction in expected market-based returns
           extends beyond MFP-eligible drugs and is likely to lead to fewer future options for patients.

110.       There is some early evidence that manufacturers are already canceling or pausing
           development of cancer drugs. For example, Eli Lilly’s CEO recently cited the IRA as a


    209
          Cohrs, Rachel, “Genentech weighs slow-walking ovarian cancer therapy to make more money under drug pricing
       reform,” STAT, August 10, 2023.
                                                            63
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             reason for abandoning the development of a BCL2 inhibitor for the treatment of blood
             cancer. A spokesperson indicated, “[t]he IRA changes many dynamics for small molecules in
             oncology and when we integrated those changes with this program and its competitive
             landscape, the program’s future investment no longer met our threshold.”210 The CEO of
             BMS also confirmed that the IRA has led them to review their portfolio when he said “I do
             expect that we will cancel some programs, whether that is, you know, a full-on indication for
             an existing medicine or a new medicine. We are undergoing a review of our portfolio now,”
             noting that “[t]he biggest impact of IRA is actually in oncology. It’s in cancer therapy.”211

                        IRA pricing provisions will disincentivize innovation of drugs that typically
                        treat older or disabled populations
111.         Because the IRA focuses its price-setting activity on high Medicare-spend drugs, drugs that
             are disproportionately reimbursed through Medicare will be less appealing innovation
             investment targets for manufacturers than those that typically treat younger, non-disabled
             populations, all else equal. Because Medicare beneficiaries are predominantly age 65+ or
             disabled, the populations typically identified as most in need of therapeutic options will
             likely lose future treatments due to changes in resource distribution for development and
             innovation.212

112.         For example, drug therapy innovation in the Alzheimer’s space, which has a history of
             substantial R&D cost yielding little medical benefit, would be further challenged by reducing
             incentives that target the 65+ population, where one in nine people suffer from Alzheimer’s
             disease.213 From 1995 to 2021, cumulative private clinical R&D funding for Alzheimer’s
             disease was estimated to be $42.5 billion overall and $24 billion incurred during Phase III.214


       210
           Gelman, Max, “Updated: Eli Lilly blames Biden’s IRA for cancer drug discontinuation as the new pharma
       playbook takes shape,” EndPoints News, November 1, 2022.
       211
           Smyth, Jamie, “Bristol Myers Squibb warns US price reforms will dent drug development,” Financial Times,
       November 20, 2022.
       212
           Tarazi, Wafa, et al., “Medicare Beneficiary Enrollment Trends and Demographic Characteristics,” Office of the
       Assistant Secretary for Planning and Evaluation, March 2, 2022, pp. 1-13, at p. 5, available at
       https://aspe.hhs.gov/reports/medicare-enrollment.
       213
           “Alzheimer's Facts and Figures Report,” Alzheimer's Association, available at https://www.alz.org/alzheimers-
       dementia/facts-figures.
       214
           Cummings, Jeffrey L., et al., “The costs of developing treatments for Alzheimer's disease: A retrospective
       exploration,” Alzheimer’s Dementia, Vol. 18, No. 3, March 2022, pp. 469-477, at pp. 471-472, available at
       https://alz-journals.onlinelibrary.wiley.com/doi/10.1002/alz.12450.
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             Still, only a small number of drugs for symptomatic treatment have been approved by the
             FDA.215 Similarly, ophthalmic conditions such as geographic atrophy (a chronic, progressive
             degeneration of the macula) disproportionately impact senior populations and have very few
             therapeutic options.216 The disincentives created by the IRA to invest in research for diseases
             primarily affecting the 65+ population will only exacerbate an already-difficult pathway for
             treatments of diseases such as Alzheimer’s and geographic atrophy.

113.         Indeed, there is historical evidence that changes to profitability due to government policy
             have influenced the level and mix of investment in innovation for drugs targeting the
             Medicare population. For example, the introduction of Medicare Part D was found to spur
             drug research and innovation targeting illnesses that predominantly affect seniors.217 A
             separate analysis found that a 1 percent increase in potential market size, proxied by long-run
             demographic aging in the United States, led to a 4-6 percent increase in the entry of non-
             generic drugs and new molecular entities.218 Conversely, price-setting in the Medicare
             program in my opinion will disincentivize clinical research and development for products
             aimed at the elderly.

                        Disincentives to invest in small molecule drugs
114.         Under the IRA, there are seven years before small molecule drugs and eleven years before
             biologic drugs can be considered for inclusion in the price-setting process, and generally nine
             years and thirteen years, respectively, before an MFP applies.219 Because of the difference
             between the eligibility periods for small molecules and biologics, and because nine years is
             below the current average period of market exclusivity for small molecule drugs,220 this will


       215
           “Medications for Alzheimer's Disease,” Stanford HealthCare, available at https://stanfordhealthcare.org/medical-
       conditions/brain-and-nerves/alzheimers-disease/treatments/medications.html.
       216
           Harrison, Wendy, and Joe Wheat, “Sizing Up Geographic Atrophy,” Review of Optometry, June 15, 2020,
       available at https://www.reviewofoptometry.com/article/sizing-up-geographic-atrophy.
       217
           Dranove, David, et al., “Does consumer demand pull scientifically novel drug innovation?” RAND Journal of
       Economics, Vol. 53, No. 3, August 18, 2022, pp. 590-638. See also Blume-Kohout, Margaret E. and Neeraj Sood,
       “Market Size and Innovation: Effects of Medicare Part D on Pharmaceutical Research and Development,” Journal
       of Public Economics, Vol. 97, January 2013, pp. 327-336.
       218
           Acemoglu, Daron and Joshua Linn, “Market Size in Innovation: Theory and Evidence From the Pharmaceutical
       Industry,” Quarterly Journal of Economics, Vol. 119, No. 3, August 2004, pp. 1049-1090.
       219
           SSA, §1192(e).
       220
            Grabowski, Henry, et al., “Continuing trends in U.S. brand-name and generic drug competition,” Journal of
       Medical Economics, Vol. 24, No. 1, August 2, 2021, pp. 908-917, at p. 911, available at
       https://www.tandfonline.com/doi/full/10.1080/13696998.2021.1952795.
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         further incentivize pharmaceutical manufacturers to pursue biologic drugs over small
         molecule ones, all other factors equal.

115.     A further shift towards biologics comes with potential downsides:

            a. Small molecule generic drugs tend to be cheaper to develop than biosimilars of
                biologics,221 and demonstrating “sameness” for purposes of generic drug approval is,
                from a scientific and regulatory procedure perspective, much simpler than
                demonstrating biosimilarity.222 As a result, once the patent term and statutory
                exclusivity ends, the share of the referenced brand drugs fall rapidly, reaching just 18
                percent one year after first generic entry for drugs with sales of at least $250 million
                the year before generic entry (in 2019 dollars), and 23 percent for all drugs.223 The
                current statutory framework for small molecule generic entry has resulted in the
                percentage of retail prescriptions being dispensed as a generic drug reaching over 90
                percent.224 Once available, generic drugs offer patients a cheaper option for
                equivalent treatment. This pattern is not yet as established with biosimilars, and the
                IRA is likely to reduce incentives for biosimilar entry by lowering biologic reference
                prices and therefore the corresponding returns on investment for biosimilar
                products.225

            b. Due to their chemical structure, small molecule drugs are typically administered
                orally, resulting in benefits for patients who are therefore able to avoid trips to



   221
       Grabowski, Henry, et al., “Regulatory and Cost Barriers are Likely to Limit Biosimilar Development and
   Expected Savings in the Near Future,” Health Affairs, Vol. 33, No. 6, June 2014, pp. 1048-1057.
   222
       Blackstone, Erwin A., and Joseph P. Fuhr, “The Economics of Biosimilars,” American Health & Drug Benefits,
   Vol. 6, No. 8, September/October 2013, pp. 469-478, available at
   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4031732/.
   223
       Grabowski, Henry, et al., “Continuing trends in U.S. brand-name and generic drug competition,” Journal of
   Medical Economics, Vol. 24, No. 1, August 2, 2021, pp. 908-917, at p. 911, available at
   https://www.tandfonline.com/doi/full/10.1080/13696998.2021.1952795.
   224
       “The Use of Medicines in the U.S.,” IQVIA, May 2021, available at https://www.iqvia.com/insights/the-iqvia-
   institute/reports/the-use-of-medicines-in-the-us.
   225
       Indeed, the IRA recognizes this undesirable outcome by allowing biosimilar manufacturers to request a delay in
   the addition of their reference products for MFP-eligibility (see SSA, §1198). But this delay will only be effective if
   the reference product has not yet become subject to an MFP. For example, if Keytruda is subject to an MFP
   beginning in 2028 without any biosimilar manufacturer filing for delay, once a biosimilar manufacturer is ready to
   launch, its price will be anchored to Keytruda’s MFP rather than its pre-MFP market price. As a result, the IRA will
   likely lead to an overall decrease in biosimilar entry, reducing competition for certain products.
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                    doctors’ offices or infusion centers, which pose significant obstacles to receiving
                    regular treatment (particularly in rural areas).226

                c. Because the IRA establishes a beneficiary out-of-pocket maximum for Part D but not
                    Part B,227 a shift towards drugs more often covered by Part B is likely to be more
                    expensive for patients who do not have supplemental insurance (i.e., Medigap,
                    employer-sponsored retiree health coverage, or Medicaid), who account for nearly 1
                    in 5 Medicare beneficiaries.228

116.         Certain therapeutic areas where small molecules account for a large portion of drug
             treatments will likely be disproportionately affected by a shift away from small molecule
             drug development. This is the case, for example, of mental health and central nervous system
             (CNS) conditions for which small molecules account for the vast majority of drug
             treatments.229 Pharmaceutical companies that specialize in these treatment areas in my
             opinion will be disproportionately affected by the IRA incentives favoring biologics, and in
             some cases may even exit the therapeutic area or cease to exist, resulting in reduced
             development of drugs in essential therapeutic areas.

                        The “U.S. launch first” strategy will likely no longer be a foregone conclusion
117.         Various analyses have confirmed that initial launch sequencing decisions are influenced by
             drug pricing regime, and therefore there is a relationship between price regulation regime and
             how quickly patients in a given country have access to new drug therapies:

             a. In a study of the launch experience of 85 new chemical entity drugs in 25 industrialized
                countries launched between 1994 and 1998, only 55 percent of potential country-




       226
           Mócsai, Attila, et al., “What is the future of targeted therapy in rheumatology: biologics or small molecules?”
       BMC Medicine, Vol. 12, No. 43, March 13, 2014, pp. 1-9, at p. 7, available at
       https://bmcmedicine.biomedcentral.com/articles/10.1186/1741-7015-12-43.
       227
           SSA, §1860D-2(b); Werble, Cole, “Medicare Part B,” Health Affairs Health Policy Brief, August 10, 2017,
       available at https://www.healthaffairs.org/do/10.1377/hpb20171008.000171/.
       228
           Koma, Wyatt, et al., “A Snapshot of Sources of Coverage Among Medicare Beneficiaries in 2018,” Kaiser
       Family Foundation, March 23, 2021, available at https://www.kff.org/medicare/issue-brief/a-snapshot-of-sources-
       of-coverage-among-medicare-beneficiaries-in-2018/.
       229
           Brazil, Rachel, “A barrier to progress: getting drugs to the brain,” The Pharmaceutical Journal, May 15, 2017,
       (“[Taking] small molecules and [making] them more liquid soluble…[has] given us 95% of the drugs that we use for
       the central nervous system.”).
                                                               67
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             compound launches occurred, and many launches involved months or years of delay. 230
             In the sample, the U.S. led with 73 launches, i.e., more than 85 percent of the 85 new
             chemical entity drugs covered in the study. Most other countries had far fewer launched
             products and those that were launched had longer average launch lags: “The results
             indicate that countries with lower expected prices or smaller expected market size have
             fewer launches and longer launch delays, controlling for per capita income and other
             country and firm characteristics.”231

          b. An analysis of launch experience in 15 countries from 1992 to 2003 for drugs in 12 major
             therapeutic classes found that “launch timing and prices of new drugs are related to a
             country’s average prices of established products in a class. Thus, to the extent that price
             regulation reduces price levels, such regulation directly contributes to launch delay in the
             regulating country.”232

          c. In an analysis of the timing of launches of 642 new drugs in 76 countries between 1983
             and 2002, Cockburn, Lanjouw and Schankerman also found “countries that adopt strong
             pharmaceutical price controls experience significantly longer launch lags for new drugs.
             We estimate that introducing price controls increases launch lags by about 25 percent,
             and with instrumental variables the estimate rises to more than 80 percent.”233

118.      Because of the approach taken in the U.S., where manufacturers set market-based prices at
          launch, manufacturers typically adopt a “U.S. launch first” approach to global drug launch
          sequencing, leading to U.S. patients having the fastest and broadest access to newly
          developed therapies. For example, a 2019 report by IQVIA, a health data analytics company,
          found that patients in the United States had the broadest access to oncology drugs launched


    230
       Danzon, Patricia. M., et al., “The Impact of Price Regulation on the Launch Delay of New Drugs — Evidence
   from Twenty-Five Major Markets in the 1990s,” Health Economics, Vol. 14, No. 3, March 2005, pp. 269-292,
   available at https://repository.upenn.edu/entities/publication/7d075784-9731-468c-96b1-4586b00d3918.
   231
       Danzon, Patricia M., et al., “The Impact of Price Regulation on the Launch Delay of New Drugs — Evidence
   from Twenty-Five Major Markets in the 1990s,” Health Economics, Vol. 14, No. 3, March 2005, pp. 269-292,
   available at https://repository.upenn.edu/entities/publication/7d075784-9731-468c-96b1-4586b00d3918.
   232
       Danzon, Patricia M., and Andrew J. Epstein, “Effects of Regulation on Drug Launch and Pricing in
   Interdependent Markets,” Advances in Health Economics and Health Services Research, Vol. 23, 2012, pp. 35-71,
   available at https://faculty.wharton.upenn.edu/wp-content/uploads/2018/12/Effects-of-regulation-on-drug-
   launches.pdf.
   233
       Cockburn, Iain M., et al., “Patents and the Global Diffusion of New Drugs,” American Economic Review, Vol.
   106, No. 1, January 2016, pp. 136-164.
                                                         68
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             in 2013-2017, with 96 percent of drugs being available by 2018.234 Additionally, the U.S. had
             the quickest access of all studied countries with access to 94 percent of all oncology drugs
             launched within two years.235 On the other hand, patients in the United Kingdom had access
             to only 76 percent of drugs overall and 70 percent within two years of first global launch.236

119.         As I discuss in Section V.A, manufacturers will likely respond to altered incentives for post-
             approval indication development by reconsidering and changing their launch sequencing
             approaches. While historically, launching new drugs first in the U.S. has been a well-
             established commercialization strategy, in some cases post-IRA, certain manufacturers will
             likely opt to launch in places such as the European Union or Japan first in order to avoid
             “starting the IRA clock” and preserving the time prior to MFP eligibility. Although 76
             percent of novel medicines in 2021 were first approved in the U.S.,237 product launches in
             Europe often take place close in time.238 Moreover, despite its regulatory challenges (e.g.,
             longer review times by the European Medicines Agency and price negotiation at the national
             level),239 Europe remains an important market for manufacturers as it accounts for over 20
             percent of the global pharmaceutical market.240 Given these realities, the IRA’s regulations in
             my opinion will incentivize producers to more carefully consider launching in Europe first
             before exposing themselves to an MFP after some years on the U.S. market. This will be
             particularly appealing if manufacturers think that they need to build out evidence of efficacy;


       234
       “Global Oncology Trends 2019: Therapeutics, Clinical Development and Health System Implications,” IQVIA,
   May 2019, Exhibit 24, available at https://intelligencepharma.files.wordpress.com/2019/05/global-oncology-trends-
   2019-report.pdf.
   235
       “Global Oncology Trends 2019: Therapeutics, Clinical Development and Health System Implications,” IQVIA,
   May 2019, Exhibit 24, available at https://intelligencepharma.files.wordpress.com/2019/05/global-oncology-trends-
   2019-report.pdf.
   236
       “Global Oncology Trends 2019: Therapeutics, Clinical Development and Health System Implications,” IQVIA,
   May 2019, Exhibit 24, available at https://intelligencepharma.files.wordpress.com/2019/05/global-oncology-trends-
   2019-report.pdf.
   237
       “Advancing Health Through Innovation: New Drug Therapy Approvals 2021,” FDA, January 2022, available at
   https://www.fda.gov/media/155227/download.
   238
       Heskett, Clay, et al., “First Biopharma Product Launch in Europe: What It Takes to Succeed,” L.E.K. Consulting,
   available at https://www.lek.com/sites/default/files/insights/pdf-attachments/2044-First-Biopharma-Product-Launch-
   in-Europe-What-It-Take.pdf.
   239
       Joppi, Roberta, et al., “Food and Drug Administration vs European Medicines Agency: Review times and clinical
   evidence on novel drugs at the time of approval,” British Journal of Clinical Pharmacology, Vol. 86, No. 1,
   December 16, 2019, pp. 170-174, available at https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6983504/.
   240
       Ronte, Hanno, et al., “Deciding on the right path: how biotechs should expand in(to) Europe,” Deloitte Insights,
   January 25, 2022, available at https://www2.deloitte.com/xe/en/insights/industry/life-sciences/expanding-into-
   european-biotech-industry.html.
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             launching in Europe would allow them to earn revenue while gaining market acceptance,
             potentially avoiding a ramp-up period while “on the clock” in the U.S. This strategy would
             leave patients in the U.S. waiting for treatments that would have otherwise been available.

120.         Manufacturers will also be more likely to consider some launch approaches where the cost of
             getting to market is lower. In China, while drug prices are lower, the costs associated with
             completing clinical trials are also much lower and the insured population served is very large
             (and expanding), making it an appealing market to develop proof-of-concept for various
             indications before identifying the optimal indication(s) to pursue in the U.S.241

                        Migration of the MFP payment structure to the commercially insured
                        population would compound disincentives for innovation
121.         The IRA’s MFP itself will likely migrate from Medicare to the commercially insured
             population (i.e., “spill over” from Medicare to the commercial market). In some cases, this
             will be statutorily imposed by State Prescription Drug Affordability Boards (“PDABs”).242
             Additionally, certain commercial insurers are expected to try to reflect MFPs into their own
             negotiation process with manufacturers.243 Any migration into the commercially insured
             population will further compound the aforementioned consequences to innovation.

122.         PDABs are independent bodies established in several states that analyze prescription drug
             costs and, to varying degrees, regulate drug prices.244 There are currently seven states with




       241
           “China’s Latest Approach to Drug Development and Approvals,” AAPS Newsmagazine, March 2021, available at
       https://www.aapsnewsmagazine.org/aapsnewsmagazine/articles/2021/mar21/elearning-mar21.
       242
           For example, recent legislation enables the Minnesota PDAB to set upper payment limits on all sales of select
       pharmaceutical products in the state; if the product is subject to a Medicare MFP, the upper payment limit must be
       equal to the MFP. See Minnesota Statutes, §62J.88-92.
       243
           According to the CMS Guidance “the Negotiation Program does not regulate payment rates by payers outside of
       the Medicare program (e.g., in the commercial markets).” But the Guidance goes on to note that, “CMS will publish
       the MFP for each selected drug, as required by law. The MFP for each selected drug could be published by
       pharmaceutical pricing database companies and could be used by other payers for reimbursement and other
       purposes. Payers will continue to have discretion to consider Medicare payment rates among other considerations in
       establishing their own payment policies.” See CMS Guidance, p. 40.
       244
           Clark, Bobby, and Marlene Sneha P., “Can State Rx Drug Affordability Boards Address High-Cost Prices?”
       Commonwealth Fund, October 11, 2011, available at https://www.commonwealthfund.org/blog/2022/can-state-
       prescription-drug-affordability-boards-address-high-cost-drug-prices.
                                                              70
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      PDABs and several others with pending legislation to establish such boards.245 Certain
      PDABs, such as those in Maine and New Hampshire, are not allowed to set upper payment
      limits for the private sector and only have jurisdiction over public health plans.246 Others,
      however, have the authority to set upper payment limits not only for public plans but also
      commercial plans.247 For example, Washington, Colorado, Maryland, and Minnesota PDABs
      have the authority to set upper payment limits for many commercially insured consumers in
      the state, and Oregon is set to follow pending additional legislative approval.248 Minnesota’s
      PDAB has already been required to set upper payment limits at the Medicare MFP for drugs
      subject to the Medicare MFP.249 Additionally, Colorado has stated its intention to utilize
      Medicare’s MFP as a reference for setting upper payment limits,250 and it will be a strong
      policy consideration for other state PDABs moving forward, further extending the reach of
      the IRA beyond Medicare.251




245
    PDABs currently exist in Colorado, Maryland, Minnesota, Oregon, Washington, Maine, and New Hampshire.
See “2023 State Legislative Action to Lower Pharmaceutical Costs,” National Academy for State Health Policy,
updated July 7, 2023, available at https://nashp.org/2023-state-legislative-action-to-lower-pharmaceutical-costs/;
“2022 RxTracker,” National Academy for State Health Policy, available at https://eadn-wc03-
8290287.nxedge.io/wp-content/uploads/2023/01/Rx-Tracker-2022-Archive.pdf; “Comparison of State Prescription
Drug Affordability Review Initiatives,” National Academy for State Health Policy, March 31, 2022, available at
https://nashp.org/comparison-of-state-prescription-drug-affordability-review-initiatives/.
246
    “Comparison of State Prescription Drug Affordability Review Initiatives,” National Academy for State Health
Policy, March 31, 2022, available at https://nashp.org/comparison-of-state-prescription-drug-affordability-review-
initiatives/.
247
    “Comparison of State Prescription Drug Affordability Review Initiatives,” National Academy for State Health
Policy, March 31, 2022, available at https://nashp.org/comparison-of-state-prescription-drug-affordability-review-
initiatives/.
248
    “Comparison of State Prescription Drug Affordability Review Initiatives,” National Academy for State Health
Policy, March 31, 2022, available at https://nashp.org/comparison-of-state-prescription-drug-affordability-review-
initiatives/; See also “2023 State Legislative Action to Lower Pharmaceutical Costs,” National Academy for State
Health Policy, updated July 7, 2023, available at https://nashp.org/2023-state-legislative-action-to-lower-
pharmaceutical-costs/.
249
    Minnesota Statutes, §62J.88-92.
250
    3 Colo. Code Regs. §702-9-4.1, available at https://casetext.com/regulation/colorado-administrative-
code/department-700-department-of-regulatory-agencies/division-702-division-of-insurance/rule-3-ccr-702-9-
prescription-drug-affordability-board/part-3-ccr-702-9-4-upper-payment-limits/section-3-ccr-702-9-41-upper-
payment-limit-methodology.
251
    For example, the National Academy for State Health Policy, a nonpartisan policy development organization, has
already proposed model legislation for states to utilize new rates set by CMS under the IRA for public and
commercial plans. Reck, Jennifer, and Drew Gattine, “New NASHP Model Legislation Supports State Efforts to
Lower Drug Costs by Leveraging Medicare Negotiations,” National Academy for State Health Policy, November
11, 2022, available at https://nashp.org/new-nashp-model-legislation-supports-state-efforts-to-lower-drug-costs-by-
leveraging-medicare-negotiations/.
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123.   While commercial insurers will likely not have the same leverage to force price reductions on
       manufacturers during formulary negotiations, Medicare payment structures have spilled over
       to the commercial market in the past. For example, after the MMA established the ASP-
       based system for Medicare, a substantial portion of commercial payers adjusted their
       reimbursement and payment approaches from other benchmarks (e.g., Wholesale Acquisition
       Cost (WAC) or Average Wholesale Price (AWP) to one based on ASP over time.252
       Similarly, a 2017 study examining how Medicare influences private insurers’ payments
       found that changes to Medicare physician reimbursements led to changes in private
       reimbursement rates as well. Specifically, the authors found that the relationship between the
       two was almost one-to-one — i.e., that a one dollar change in Medicare prices led to a one
       dollar change in private prices.253 Another study examined the impact of Medicare regulatory
       spillovers in the context of physicians’ choices regarding surgery setting and stated, “[o]ur
       work consequently reveals the long reach of Medicare rulemaking and its ability to shape
       physician behavior and healthcare delivery beyond the statutory scope of the regulation.”254
       Finally, in comments published with their Guidance, CMS suggests that commercial payors
       may rely on published MFPs “in establishing their own payment policies.”255 Ultimately,
       even assuming CMS is able to limit unintentional spillover of MFPs into the commercial
       market (i.e., commercial payors being erroneously provided with the MFP), past history
       suggests that may commercial payors will attempt to replicate the Medicare payment
       methodology and will rely on the publicly available MFPs to do so.




   252
       Mullen, Patrick, “The Arrival of Average Sales Price,” Biotechnology Healthcare, Vol. 4, No. 3, June 2007, pp.
   48-53, at pp. 49-50, available at https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3541838/; Alwardt, Sarah, et al.,
   “IRA Question of the Week_ How Will Negotiation Affect Reimbursement,” Avalere Health, March 23, 2023,
   available at https://avalere.com/insights/ira-question-of-the-week-how-will-negotiation-affect-reimbursement.
   253
       Clemens, Jeffrey, and Joshua D. Gottlieb, "In the Shadow of a Giant: Medicare’s Influence on Private Physician
   Payments," Journal of Political Economy, Vol. 125, No. 1, 2017, pp. 1-39, available at
   https://www.journals.uchicago.edu/doi/full/10.1086/689772.
   254
       Geruso, Michael, and Michael R. Richards, “Trading spaces: Medicare's regulatory spillovers on treatment
   setting for non-Medicare patients,” Journal of Health Economics, Vol. 84, July 2022, pp. 1-31, at p. 8.
   255
       CMS Guidance, p. 40. Moreover, the Guidance also notes that “Medicare already establishes and publishes
   payment rates for drugs under Part B using the Average Sales Price (ASP) methodology that may be used by other
   payers (such as state Medicaid programs), and Medicaid also publishes various pharmaceutical pricing benchmarks,
   such as the National Average Drug Acquisition Cost (NADAC) file and Federal Upper Limits (FULs) for multiple
   source drugs, that may be used by other payers.”
                                                          72
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                          The “small biotech drugs” exclusion could lead to counterproductive
                          reductions in drug development efficiency and increased risk of clinical trial
                          failures
124.         As I noted earlier, acquisition of smaller, start-up companies in the pharmaceutical industry
             is a common route from discovery and early-stage development to commercial launch.256
             Larger pharmaceutical manufacturers frequently acquire early-stage drugs outright or rights
             to develop and market them to usher them successfully through the late clinical trial process,
             regulatory review, and/or marketing introduction. These larger manufacturers may have
             experience, organizational depth, and resources that increase the chance of success in later-
             phase clinical trials and regulatory approval, and with lower costs.257 For example, an
             analysis of a data set containing information on over 1,900 compounds under development in
             the U.S. by over 900 firms between 1988 and 2000 showed that “(p)roducts developed in an
             alliance tend to have a higher probability of success, at least for the more complex phase 2
             and phase 3 trials, and particularly if the licensee is a large firm,” and the authors concluded
             that “(o)ur results confirm that alliances with large firms increase the probability of success
             in clinical trials for drugs originated by small firms.”258

125.         As another indicator, a recent IQVIA report found that emerging biopharma companies
             received complete response letters (CRLs), which detail outstanding deficiencies which must
             be corrected in a submission package, at a 38 percent higher rate than other biopharma
             companies (12.7 percent of the time, as opposed to 9.2 percent of the time), and that they
             were deficient more frequently for clinical reasons that might require additional clinical
             trials.259

126.         If drugs are able to avoid inclusion on the selected drug list because they are owned by
             smaller biotech companies, on the margin, this will likely provide an incentive to delay an


       256
           “Emerging Biopharma’s Contribution to Innovation,” IQVIA, June 2022, available at
       https://www.iqvia.com/insights/the-iqvia-institute/reports/emerging-biopharma-contribution-to-innovation.
       257
           “Emerging Biopharma’s Contribution to Innovation,” IQVIA, June 2022, available at
       https://www.iqvia.com/insights/the-iqvia-institute/reports/emerging-biopharma-contribution-to-innovation.
       258
           Danzon, Patricia M., et al., “Productivity in Pharmaceutical-Biotechnology R&D: the Role of Experience and
       Alliances,” Journal of Health Economics, Vol. 24, No. 2, March 2005, pp. 317-339.
       259
           Emerging biopharma companies were defined as those with less than $500 million in annual sales and less than
       $200 million in R&D spending per year, see “Emerging Biopharma’s Contribution to Innovation,” IQVIA, June
       2022, available at https://www.iqvia.com/insights/the-iqvia-institute/reports/emerging-biopharma-contribution-to-
       innovation.
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             otherwise attractive sale to or milestone-based agreement with a larger manufacturer, which
             could reduce efficiency through the clinical trial process and may even result in some drugs
             failing clinical trials that would otherwise have been successful. While the “small biotech”
             exclusion from the selected drug list is currently scheduled to end after 2028, it may affect
             plans for some smaller companies with ongoing clinical trial programs and presents
             uncertainty around whether the exception will be extended in the future.

                        The “orphan drug” exclusion will deter manufacturers from seeking
                        incremental indications on drugs with a single orphan designation
127.         The IRA excludes from MFP-setting drugs that have a single orphan designation and
             approved indication(s) only within that single designated rare disease or condition.260
             Because this exclusion does not extend to drugs indicated to treat more than one disease
             (even if those two diseases combined have fewer than 200,000 patients – the threshold for an
             orphan designation),261 manufacturers will be disincentivized from seeking any incremental
             approvals for drugs that currently hold a single orphan designation.

128.         As I discuss in Section III.A.3, clinical advances made through seeking new indications for
             existing drugs can provide a more efficient route to expanding treatment options for patients.
             This is especially valuable for patients with rare diseases and a small patient population that
             can benefit from pre-established safety of an already-approved treatment. Under CMS’s
             interpretation of the IRA, any drug that has an orphan designation will no longer be
             exempted from MFP-setting if it is approved for any indication outside of the single orphan-
             designated disease.262 Creating a disincentive to invest in subsequent orphan indications will
             further limit treatment development for patients who already have limited options. It also
             discourages the efficiency gains that can be made by approving a drug for a new disease type
             after it has already undergone a costly discovery and development process.

129.         For example, small molecule drug Amvuttra, which holds an orphan designation and is
             currently only indicated to treat adults with polyneuropathy caused by hATTR



       260
           SSA, §1192(c)(3)(A).
       261
           “Orphan Products: Hope for People With Rare Diseases,” FDA, March 1, 2018, available at
       https://www.fda.gov/drugs/information-consumers-and-patients-drugs/orphan-products-hope-people-rare-diseases.
       262
           SSA §1192(e)(3)(A).
                                                             74
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          amyloidosis,263 was in a Phase III clinical trial for the treatment of Stargardt disease –
          another rare disease for which there are no treatment options.264 But the manufacturer
          recently announced the decision to abandon this trial while they “evaluate the impact of the
          Inflation Reduction Act on therapies being developed from orphan disease.”265 Decisions
          such as these – which could adversely affect patients with great unmet need – are likely to
          become more common under the IRA.


    VI.      CONCLUSION
130.      The IRA establishes what is effectively a price-setting regime for critically important
          Medicare drugs — with the potential for far-reaching effects across nearly all drugs,
          therapeutic categories, and patient populations. As a result of the IRA’s system of extreme
          penalties, manufacturers will have no economically viable alternative to acquiescing to
          almost any price set by CMS, no matter how unrelated this price might be to product value.
          As a result of the changes in incentives for investment in drug innovation, the IRA will have
          substantial impact on current and future patients, forgoing access to some future medical
          innovations in favor of lower prices for today’s drugs, thereby also forgoing the health
          benefits of those unknown future innovations.




                                                                                                    Craig Garthwaite
                                                                                                    August 10, 2023



   263
       “Amvuttra FDA label,” Drugs@FDA, as of June 13, 2022, available at
   https://www.accessdata.fda.gov/drugsatfda_docs/label/2022/215515s000lbl.pdf.
   264
       “Stargardt Disease,” National Eye Institute, updated September 29, 2021, available at
   https://www.nei.nih.gov/learn-about-eye-health/eye-conditions-and-diseases/stargardt-disease (“There’s no
   treatment for Stargardt disease, but vision rehabilitation can help people make the most of their remaining vision”).
   265
       “Alnylam Pharmaceuticals, Inc. (ALNY) Q3 2022 Earnings Call Transcript,” Seeking Alpha, October 27, 2022.
                                                            75
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                                          APPENDIX A
                                    CRAIG GARTHWAITE
                                       Strategy Department
                     Kellogg School of Management, Northwestern University
                            2211 Campus Drive, Evanston, IL 60208
                          Email: c-garthwaite@kellogg.northwestern.edu

APPOINTMENTS

     Kellogg School of Management, Northwestern University
            Professor of Strategy, 2020 - Present
            Herman R. Smith Research Professor in Hospital and Health Services, 2017-Present
            Director, Program on Healthcare at Kellogg, 2016 - Present
            Associate Professor of Strategy (with tenure), 2016 – 2020
            Assistant Professor of Strategy, 2010 - 2016
            Senior Lecturer and Donald P. Jacobs Scholar in Management and Strategy, 2009 - 2010

     National Bureau of Economic Research
            Research Associate, 2016-Present
            Faculty Research Fellow, 2011-2016

     Institute for Policy Research, Northwestern University
              Faculty Associate, 2015 - Present

EDUCATION

     Ph.D. Economics, University of Maryland at College Park, 2009
     M.A. Economics, University of Maryland at College Park, 2008
     M.P.P Gerald R. Ford School of Public Policy at the University of Michigan, 2001
     B.A. Political Science, cum laude, University of Michigan, 2000


PUBLIC SERVICE

     Member, Aspen Economic Strategy Group (2021 – Present)

     Member, Congressional Budget Office Panel of Healthcare Advisers (2020 – Present)

     Member, Congressional Budget Office Technical Review Panel for the Health Insurance
           Simulation Model (2018-2020)

     Member, Health Affairs Council on Spending and Value (2018-2023)

     Testimony, United States House of Representatives, 2018
            - House Judiciary Committee, Subcommittee on Regulatory Reform, Commercial and
                Antitrust Law: “Competition in the Pharmaceutical Supply Chain: The Proposed
                Merger of CVS Health and Aetna”

     Testimony, United States House of Representatives, 2019
            - House Judiciary Committee, Subcommittee on Regulatory Reform, Commercial and
                Antitrust Law: “Diagnosing the Problem: Exploring the Effects of Consolidation and
                Anticompetitive Conduct in Health Care Markets”
                                              A-1
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     Testimony, United States Senate, 2019
            - Senate Judiciary Committee, Subcommittee on Antirust, Competition Policy, and
                Consumer Rights: “Your Doctor/Pharmacist/Insurer Will See You Now: Competitive
                Implications of Vertical Consolidation in the Healthcare Industry”

     Testimony, United States House of Representatives, 2019
            - House Education and Labor Committee, Subcommittee on Health, Education, Labor
                and Pensions: “Making Health Care More Affordable: Lowering Drug Prices and
                Increasing Transparency”

     Testimony, United States House of Representatives, 2021
            - House Oversight and Reform Committee “Unsustainable Drug Prices (Part III)”

     Testimony, United States Senate, 2022
            - Senate Committee on Commerce, Science, and Transportation’s Consumer
                Protection, Product Safety, and Data Security Subcommittee: “Ensuring Fairness and
                Transparency in the Market for Prescription Drugs”

     Testimony, United States Senate, 2023
            - Senate Committee on Health, Education, Labor, and Pensions: “Taxpayers paid
                billions for it: So why is Moderna considering quadrupling the price of the COVID
                vaccine?”

ACADEMIC PUBLICATIONS

     “The Impact of Early Discharge Laws on the Health of Newborns,” (with William Evans
     and Heng Wei), Journal of Health Economics, 2008, 27(4): 843-870.

     “The Economic Benefits of Pharmaceutical Innovations: The Case of Cox-2 Inhibitors,”
     American Economic Journal: Applied Economics, 2012, 4(3): 116-137.

     “Empirical Evidence on the Value of Pharmaceuticals,” (with Mark Duggan), in The
     [Oxford] Handbook of the Economics of the Biopharmaceutical Industry: Oxford University
     Press: Oxford, 2012: 463-492.

     “The Doctor Might See You Now: The Supply Side Effects of Public Health Insurance
     Expansions.” American Economic Journal: Economic Policy 2012, 4(3): 190-217.

     “Heterogeneity in the Benefits of Greater Treatment Intensity” (with William Evans), The
     Review of Economics and Statistics, 2012, 94(3): 635-649.

     “Can Celebrity Endorsements Affect Political Outcomes: Evidence from the 2008 US
     Democratic Presidential Primary,” (with Tim Moore), The Journal of Law, Economics,
     and Organizations, 2013, 29(2): 355-384.

     “Demand Spillovers, Combative Advertising, and Celebrity Endorsements,” American
                                                A-2
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Economic Journal: Applied Economics, 2014, 6(2): 76-104.

“Giving Mom a Break: The Effect of Higher EITC Payments on Maternal Health” (with William
Evans), American Economic Journal: Economic Policy, 2014, 6(2): 258-290.

“Public Health Insurance, Labor Supply, and Employment Lock,” (with Tal Gross and Matthew
Notowidigdo), Quarterly Journal of Economics, 2014, 129(2): 653-696.

“Health Spending Slowdown Is Mostly Due to Economic Factors, Not Structural Change
in the Health Care Sector” (with David Dranove and Christopher Ody), Health Affairs,
2014, 33(8): 1399-1406.

“The Economic Downturn and its Lingering Effects Reduced Medicare Spending Growth
by $4 Billion In 2009–12,” (with David Dranove and Christopher Ody), Health Affairs,
2015, 34(8): 1368-1375.

“Investment Subsidies and the Adoption of Electronic Medical Records in Hospitals.” (with
David Dranove, Chris Ody, and Bingyang Li), Journal of Health Economics, 2015, 44: 309-
19.

“The Market Impacts of Product Patents in Developing Countries,” (with Mark Duggan
and Aparajita Goyal), American Economic Review, 2016, 106(1): 99-135

“The Black/White Educational Gap, Stalled Progress, and the Long Term Consequences of the
Emergence of Crack Markets,” (with William Evans and Timothy J. Moore), The Review of
Economics and Statistics, 2016, 98(5): 832-847.

“Affordable Care Act’s Medicaid Expansion Led to Substantial Decreases in
Uncompensated Care but Levels and Many Hospitals Remain High,” (with David
Dranove and Christopher Ody), Health Affairs, 2016, 35(8): 1471-1479.

“How do Hospitals Respond to Negative Financial Shocks? The Impact of the 2008 Stock Market
Crash (with David Dranove and Christopher Ody),” The RAND Journal of Economics, 2017,
48(2): 485–525.

“Insurance Expansion and Hospital Emergency Department Access: Evidence from the
Affordable Care Act,” (with John Graves, Tal Gross, and Matthew Notowidigdo), Annals
of Internal Medicine, Feb 7 2017, 166(3):172-179

“Success and Failure in the Insurance Exchanges (with John Graves),” New England
Journal of Medicine, March 9, 2017, 376(10):907-910

“The Economics of Indication Based Pricing (with Amitabh Chandra),” New England
Journal of Medicine, July 2017, 377(2):103-106.

“Hospitals as Insurers of Last Resort,” (with Tal Gross and Matthew Notowidigdo),
American Economic Journal: Applied Economics, 2018, 10(1): 1-39.

“The CVS–Aetna Merger: Another Large Bet on the Changing U.S. Health Care Landscape,”
(with Austin Frakt), Annals of Internal Medicine, January 9, 2018.

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“The Orphan Drug Act at 35: Observations and an Outlook for the Twenty-First Century,”
(with Nicholas Bagley, Benjamin Berger, Amitabh Chandra, and Ariel D. Stern) in
Innovation Policy and the Economy, 2018, Volume 19, pages 97-137, National Bureau of
Economic Research, Inc.

“Characterizing the Drug Development Pipeline for Precision Medicine, (with Chandra,
Amitabh, Garthwaite, Craig and Stern, Ariel Dora Stern), Economic Dimensions of
Personalized and Precision Medicine, 2018, National Bureau of Economic Research, Inc.

“It’s Time to Reform the Orphan Drug Act,” (with Nicholas Bagley, Amitabh Chandra,
and Ariel D. Stern), NEJM Catalyst, Dec 19, 2018.

“Economic Principles for Medicare Reform (with Amitabh Chandra),” ANNALS of the
American Academy of Political and Social Science, 2019, 686(1): 63-92.

“All Medicaid Expansions Are Not Created Equal: The Geography and Targeting of the
Affordable Care Act,” Brookings Papers on Economic Activity, Fall 2019 (with John
Graves, Tal Gross, Zeynal Karaca, Victoria Marone, and Matthew Notowidigdo)

“The Economics of Medicare for All,” book chapter in Maintaining the Strength of
American Capitalism published by the Aspen Economic Strategy Group, eds. Melissa
Kearney and Amy Ganz, December 2019.

“Insurance access and demand response: Price and welfare implications,” (with David
Dranove and David Besanko), Journal of Health Economics, 2020, 73.

“The Economics of Medical Procedure Innovation,” (with David Dranove, Christopher
Heard, and Bingxiao Wu), Journal of Health Economics, January 2022, Vol. 81.

Guns and Violence: The Enduring Impact of Crack Cocaine Markets on Young Black
Males, (with Bill Evans and Timothy J. Moore), Journal of Public Economics, February
2022, vol. 206.

“Endogenous Quality Investments in the US Hospital Market,” (with Chris Ody and
Amanda Starc), Journal of Health Economics, July 2022, 84:10236.

“Does consumer demand pull scientifically novel drug innovation?,” (with David
Dranove and Manuel Hermosilla), RAND Journal of Economics, August 18 2022, Vol. 53
Issue 3.

“The Returns to Medical Inventions,” (with David Dranove and Binxiao Wu), The
Journal of Law & Economics, November 2022, Vol 65 Num. S2.

“Expected Profits and The Scientific Novelty of Innovation,” NBER Working Paper
#27093, (with David Dranove and Manuel Hermosilla), forthcoming, RAND Journal of
Economics




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WORKING PAPERS

        “Regulatory Approval and Expanded Market Size,” NBER Working Paper #28889 (with
        Amitabh Chandra and Benjamin Berger)

        “Who Profits From Amateurism: Rent-Sharing in Modern College Sports,” NBER
        Working Paper #27734 (with Jordan Keener Matthew J. Notowidigdo Nicole F.
        Ozminkowski), revise and resubmit, American Economic Journal: Applied Economics

        “The Impact of Private Contracting on Healthcare for the Old and Sick: Evidence from
        California’s Medicaid Program” (with Mark Duggan and Adelina Wang)

        “Reinsuring the Insurers of Last Resort” (with Chris Ody and David Dranove)

        “The Opportunities and Limitations of Monopsony Power in Healthcare: Evidence from
        the United States and Canada,” July 2019 (with Jillian Chown, David Dranove, and Jordan
        Keener)

        “Artificial Intelligence, the Evolution of the Healthcare Value Chain, and the Future of the
        Physician,” NBER Working Paper #30607 (with David Dranove)


OTHER PUBLICATIONS

        The Impact of the ACA’s Medicaid Expansion on Hospitals’ Uncompensated Care Burden
        and the Potential Effects of Repeal (with David Dranove and Christopher Ody),
        Commonwealth Fund Issue Brief, May 2017.

        “A Floor and Trade Proposal for Hospital Charity Care,” The Hamilton Project working
        paper.


CASES

        Wildcat Physical Therapy (with Dylan Duffy), 2019

        Evaluating Vertical Integration at AB-Inbev Across the Globe (with Sarit Markovich, Eugenio
        Gomez A Latorre, and Andrea Meyer), 2018, Kellogg 5-118-002)

        Consumer Cost Sharing in Health Insurance (with Chris Ody), 2018

        Quality Provision in the Nursing Home Industry (with Chris Ody), 2017

        Renal Care in the United States, 2020

        Sovaldi: Pricing a Breakthrough Drug (with Meghan Busse), 2015

        The Global Aircraft Manufacturing Industry, 2002-2011 (with Jen Brown), 2012. Kellogg Case
        #5-312-505.

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     Starbucks: A Story of Growth, (with Jen Brown and Meghan Busse), 2011. Kellogg Case #5-
     211-259.

PERMANENT WORKING PAPERS

     Pharmaceutical Profits and the Social Value of Innovation, NBER Working Paper #20212,
     (with David Dranove and Manuel Hermosilla)

     “The Effect of In-Utero Conditions on Long Term Health: Evidence from the 1918 Spanish Flu
     Pandemic,” April 2008 (First Draft, July 2007).


TEACHING

     Core Business Strategy (STRT 431), Kellogg School of Management, 2009-Present
     Foundations of Strategy, Kellogg-HKUST EMBA, 2016-Present
     Strategy Frameworks Kellogg EMBA, 2017-Present
     Healthcare Strategy (STRT 443), Kellogg School of Management, 2017-Present
     Healthcare Strategy (STRTX 945), Kellogg School of Management EMBA, 2017-Present
     Value Creation and Capture in Biopharmaceuticals (HCAK 960), 2022 - Present


HONORS AND AWARDS

     Sidney J. Levy Teaching Award for Electives, 2021
     Kellogg Chairs’ Core Course Teaching Award, 2019
     Lavengood Professor of the Year Finalist, 2019
     Lavengood Professor of the Year Finalist, 2018
     Kellogg Faculty Impact Award, Healthcare Strategy, 2018
     Sidney J. Levy Teaching Award for Electives, 2017
     Poets and Quants 40 Best Under 40 Professors, 2015
     Kellogg Faculty Impact Teaching Award, Business Strategy, 2012
     Kellogg Faculty Impact Teaching Award, Business Strategy, 2012
     Kellogg Chairs’ Core Course Teaching Award, 2011
     International Institute of Public Finance (IIPF) Young Economists Award, 2011
     Kellogg Faculty Impact Teaching Award, Business Strategy, 2010
     University of Maryland Third Year Paper Fellowship


INVITED PRESENTATIONS

     2008: University of Notre Dame
     2009: Chicago Booth Graduate School of Business
     2010: University of Wisconsin-Madison, Dartmouth College, University of Notre Dame
     2011: AEA Annual Meeting, University of Illinois-Chicago, Olin Business School at
            Washington University, Harris School of Public Policy at the University of Chicago,
            Indiana University SPEA, National Tax Association Annual Meeting, AcademyHealth
            Research Insights Meeting
     2012: AEA Annual Meeting (Presenter and Discussant), Society of Labor Economists Annual
            Meeting, NBER Summer Institute, University of Illinois Urbana-Champaign, University
            of California-Davis, Columbia University
                                              A-6
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     2013: University of Chicago Health Economics Workshop, University of British Columbia,
           University of California-San Diego, University of Kentucky, Texas A&M University,
           Wharton School of the University of Pennsylvania, University of Maryland, Brookings
           Institution, UC-Davis Poverty Center
     2014: AEA Annual Meeting, Northwestern Law School, RAND Corporation, Rice
           University/University of Houston, HDMS User Forum, Bates/White Life Science
           Conference, Vanderbilt University, University of Michigan RWJF Scholars,
           Northwestern University Economics Department
     2015: AEA Annual Meeting, Stanford University, University of California-Irvine, MIT/BU
           Health Economics Seminar, Syracuse University, NBER Summer Institute, UT-Austin,
           University of Maryland
     2016: Harris School of Public Policy at the University of Chicago, Owen School of
           Management, Vanderbilt University.
     2017: National Tax Association Annual Meeting
     2018: University of Georgia, Auburn University, Harvard University, Boston
           University, American Enterprise Institute, University of Southern California
     2019: American Medical Association, Ohio State University, University of Louisville, Emory
           University, Aspen Ideas Festival, Aspen Economic Strategy Group, University of Utah,
           Aspen Ideas Festival, Aspen Ideas Health Festival, Aspen Economic Strategy Group
     2020: Harris School of Public Policy at the University of Chicago
     2022: The Wharton School


ACADEMIC ACTIVITIES

     Co-Editor, Journal of Public Economics, (2016 – 2020)

     Reviewer: American Economic Review, Quarterly Journal of Economics; Journal of
               Political Economy; Econometrica; Review of Economic Studies; New England
               Journal of Medicine, The Journal of Public Economics; American Economic
               Journal: Economic Policy; Health Affairs; The Review of Economics and
               Statistics; The Journal of Industrial Economics; The Journal of Health
               Economics; The Journal of Human Resources; Journal of Policy Analysis and
               Management; International Journal of Industrial Organization; Health
               Economics; Social Science and Medicine; Economic Inquiry


PAST EMPLOYMENT

     Employment Policies Institute, Washington, DC
             Director of Research and Chief Economist, 2003-2005
     Public Sector Consultants, Lansing, MI
             Economist, 2002-2003


OUTSIDE ACTIVITIES

     Affiliated Consultant, Analysis Group (2018-Present)
     Consultant for Wal-Mart Inc. (2019-2020)
     Eli Lilly Advisory Board (2020)
     Janssen Advisory Board (2021 - Present)

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Speaking engagements for Allergan, Alexion, Digestive Health Professionals Association
National Pharmaceutical Council, Wisconsin Association of Health Plans, Great American
Insurance.




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                                    APPENDIX B
                         EXPERT CONSULTING AND TESTIMONY
1. (Presentation) Marshfield Clinic Zoning Appeal, Oneida County Planning and Development
   committee, Oneida County, WI, December 14, 2017 (on behalf of appellant).

2. (Deposition testimony) In Re: United States of America ex rel. Frank M. Rembert and Michael R.
   Paradise vs. Bozeman Health Deaconess Hospital D/B/A Bozeman Health and Deaconess-
   Intercity Imaging, LLC. D/B/A Advanced Medical Imaging, United States District Court, District
   of Montana, Butte Division, Case No. 2:15-cv-00080-SHE, December 11, 2015 (on behalf of
   Relators).

3. (Testimony) Before the House Judiciary Committee, Subcommittee on Regulatory Reform,
   Commercial and Antitrust Law, February 27, 2018.

4. (Testimony) Before the House Judiciary Committee, Subcommittee on Regulatory Reform,
   Commercial and Antitrust Law, March 7, 2019.

5. (Declaration) In Re: Merck, et al. v. United States Department of Health and Human Services, et
   al., United States District Court for the District of Columbia, Case 1:19-cv-01738, June 14, 2019
   (on behalf of Plaintiffs).

6. (Declaration) In Re: Biotechnology Innovation Organization, et al. v. Alex Azar in his official
   capacity as Secretary of the United States Department of Health and Human Services, et al.,
   United States District Court for the District of Northern California, Civil Case No: 20-cv-08603,
   December 11, 2020 (on behalf of Plaintiffs).

7. (Deposition testimony) In Re: National Prescription Opiate Litigation, United States District
   Court, Northern District of Ohio, Eastern Division, MDL No. 2804 Case No 17-MD-2804, June
   7, 2019 and July 14, 2021 (on behalf of Defendant CVS).

8. (Testimony) Before the Senate Judiciary Committee, Subcommittee on Antirust, Competition
   Policy, and Consumer Rights, June 12, 2019.

9. (Testimony) Before the United States House of Representatives, House Education and Labor
   Committee, Subcommittee on Health, Education, Labor and Pensions, September 26, 2019.

10. (Testimony) Before the House Oversight and Reform Committee, May 18, 2021.

11. (Deposition testimony) State of Florida, Office of the Attorney General, Department of Legal
    Affairs v. Purdue Pharma L.P. et al., in the Circuit Court of the Sixth Judicial Circuit in for Pasco
    County, Florida, Case No. 2018-CA-001438, December 13, 2021 (on behalf of Defendant CVS).

12. (Testimony) Before the Senate Committee on Commerce, Science, and Transportation’s
    Consumer Protection, Product Safety, and Data Security Subcommittee, May 5, 2022.

13. (Testimony) Before the Senate Committee on Health, Education, Labor, and Pensions, March 22,
    2023.

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                                        APPENDIX C
                                   MATERIALS RELIED UPON

Books and Articles

Acemoglu, Daron and Joshua Linn, “Market Size in Innovation: Theory and Evidence From the
Pharmaceutical Industry,” Quarterly Journal of Economics, Vol. 119, No. 3, August 2004, pp. 1049-
1090.

Bagley, Nicholas, et al., “The Orphan Drug Act at 35: Observations and an Outlook for the Twenty-First
Century,” Innovation Policy and the Economy, Vol. 19, No. 1, 2019, pp. 97-137, available at
https://www.journals.uchicago.edu/doi/full/10.1086/699934.

Bauer, Hans H., and Marc Fischer, “Product life cycle patterns for pharmaceuticals and their impact on
R&D profitability of late mover products,” International Business Review, Vol. 9, No. 6, December 2000,
pp. 703-725.

Berger, Benjamin, et al., “Regulatory Approval and Expanded Market Size,” NBER Working Paper, June
2021, No. 28889, available at https://www.nber.org/system/files/working_papers/w28889/w28889.pdf.

Black, Dennis M., et al., “The effect of 6 versus 9 years of zoledronic acid treatment in osteoporosis: a
randomized second extension to the HORIZON‐Pivotal Fracture Trial (PFT),” Journal of Bone and
Mineral Research, Vol. 30, No. 5, December 26, 2014, pp. 934-944, available at
https://asbmr.onlinelibrary.wiley.com/doi/10.1002/jbmr.2442.

Blackstone, Erwin A., and Joseph P. Fuhr, “The Economics of Biosimilars,” American Health & Drug
Benefits, Vol. 6, No. 8, September/October 2013, pp. 469-478, available at
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4031732/.

Blume-Kohout, Margaret E. and Neeraj Sood, “Market Size and Innovation: Effects of Medicare Part D
on Pharmaceutical Research and Development,” Journal of Public Economics, Vol. 97, January 2013, pp.
327-336.

Chandra, Amitabh, and Craig Garthwaite, “The Economics of Indication-Based Drug Pricing,” The New
England Journal of Medicine, Vol. 377, No. 2, July 13, 2017, pp. 103-106.

Clemens, Jeffrey, and Joshua D. Gottlieb, "In the Shadow of a Giant: Medicare’s Influence on Private
Physician Payments," Journal of Political Economy, Vol. 125, No. 1, 2017, pp. 1-39, available at
https://www.journals.uchicago.edu/doi/full/10.1086/689772.

Cockburn, Iain M., et al., “Patents and the Global Diffusion of New Drugs,” American Economic Review,
Vol. 106, No. 1, January 2016, pp. 136-164.

Cummings, Jeffrey L., et al., “The costs of developing treatments for Alzheimer's disease: A retrospective
exploration,” Alzheimer’s Dementia, Vol. 18, No. 3, March 2022, pp. 469-477, available at
https://pubmed.ncbi.nlm.nih.gov/34581499/.



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Danzon, Patricia M., and Andrew J. Epstein, “Effects of Regulation on Drug Launch and Pricing in
Interdependent Markets,” Advances in Health Economics and Health Services Research, Vol. 23, 2012,
pp. 35-71, available at https://faculty.wharton.upenn.edu/wp-content/uploads/2018/12/Effects-of-
regulation-on-drug-launches.pdf.

Danzon, Patricia M., et al., “Productivity in Pharmaceutical-Biotechnology R&D: the Role of Experience
and Alliances,” Journal of Health Economics, Vol. 24, No. 2, March 2005, pp. 317-339.

Danzon, Patricia M., et al., “The Impact of Price Regulation on the Launch Delay of New Drugs —
Evidence from Twenty-Five Major Markets in the 1990s,” Health Economics, Vol. 14, No. 3, March
2005, pp. 269-292, available at https://repository.upenn.edu/entities/publication/7d075784-9731-468c-
96b1-4586b00d3918.

DiMasi, Joseph A., et al., “Innovation in the pharmaceutical industry: New estimates of R&D costs,”
Journal of Health Economics, Vol. 47, May 2016, pp. 20-33.

Dranove, David, et al., “Does consumer demand pull scientifically novel drug innovation?” RAND
Journal of Economics, Vol. 53, No. 3, August 18, 2022, pp. 590-638.

Dubois, Pierre, et al., “Market Size and Pharmaceutical Innovation,” RAND Journal of Economics, Vol.
46, No. 4, October 26, 2015, pp. 844-871.

Duggan, Mark and Fiona Scott Morgan, “The Effect of Medicare Part D on Pharmaceutical Prices and
Utilization,” NBER Working Paper Series, April 2008, No. 13917, pp. 1-37, available at
https://www.nber.org/system/files/working_papers/w13917/w13917.pdf.

Forrester, Caroline, “Benefits of Prior Authorizations,” Journal of Managed Care Pharmacy, July 2020,
Vol. 26, No. 7, pp. 820-822.

Geruso, Michael, and Michael R. Richards, “Trading spaces: Medicare's regulatory spillovers on
treatment setting for non-Medicare patients,” Journal of Health Economics, Vol. 84, July 2022, pp. 1-31.

Grabowski, Henry, and C. Daniel Mullins, “Pharmacy Benefit Management, Cost-Effectiveness Analysis
and Drug Formulary Decisions,” Social Science & Medicine, Vol. 45, No. 4, August 1, 1997, pp. 535-
544.

Grabowski, Henry, et al., “Continuing trends in U.S. brand-name and generic drug competition,” Journal
of Medical Economics, Vol. 24, No. 1, August 2, 2021, pp. 908-917, available at
https://www.tandfonline.com/doi/full/10.1080/13696998.2021.1952795.

Grabowski, Henry, et al., “Regulatory and Cost Barriers are Likely to Limit Biosimilar Development and
Expected Savings in the Near Future,” Health Affairs, Vol. 33, No. 6, June 2014, pp. 1048-1057.

Heskett, Clay, et al., “First Biopharma Product Launch in Europe: What It Takes to Succeed,” L.E.K.
Consulting, available at https://www.lek.com/sites/default/files/insights/pdf-attachments/2044-First-
Biopharma-Product-Launch-in-Europe-What-It-Take.pdf.




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No. 11, June 10, 2013, Table, available at
https://jamanetwork.com/journals/jamainternalmedicine/fullarticle/1682358.

Holtz-Eakin, Douglas, and Robert Book, “Competition and the Medicare Part D Program,” American
Action Forum, September 11, 2013, available at
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                                                         APPENDIX D
1.       CMS has indicated that it will release the list of MFP-eligible drugs for Initial Price Applicability Year
         (“IPAY”) 2026 in September 2023. 1 Based on the IRA and the CMS Initial Guidance released on March 15,
         2023, I have created a list of the drugs that I predict will be included on that list.

2.       To create this list, I first examined 50 branded drugs with the highest Medicare Part D spending in 2021,
         grouped by active moiety using CMS’s Medicare Part D Dashboard Data. 2 Next, in line with CMS’s
         guidance for identifying QSSDs, I excluded drugs and biologics that have a generic or biosimilar already
         available, biologics that are likely to face biosimilar competition within two years, small molecule drugs
         that will not have been approved for at least seven years as of September 1, 2023, biologics that will not
         have been approved for at least 11 years as of that date, certain orphan drugs and plasma-derived products,
         products with Medicare spending of less than $200 million in 2021, and products manufactured by firms
         that would be considered eligible for the “small biotech” exception. 3

3.       The drug with the highest Medicare Part D spending in 2021 is Eliquis, with total expenditures near $12.6
         billion. The next highest drug, Xarelto, had a total Part D spend of less than half that amount, at just over
         $5.2 billion. The list excludes certain products for having not been on the market for the length of time
         required by CMS (i.e., seven or eleven years, depending on whether the product is small molecule or
         biologic). 4 The list also excludes certain products due to the existence of currently-marketed biosimilars and
         generics. 5




   SSA Section 1191(d)(1).
     1

   In the Medicare Part D Dashboard Data, I assume unique combinations of “Gnrc_Name” and “Mftr_Name” are brands. I then
     2

 manually review the top 20 branded drugs to further aggregate by active moiety.
 3
   See Section IV.A.1.(a) for further discussion on MFP exclusion criteria.
 4
   Trulicity, Ozempic/Rybelsus, Trelegy Ellipta, and Biktarvy.
 5
   Revlimid, Humira, Humalog, Symbicort, and Spiriva are excluded for having currently-marketed generics and biosimilars that were
 launched after the 2021 Part D data was compiled by CMS. Invega, Invega Sustena, Invega Trinza, and Invega Hafyera are also
 excluded because, based on CMS’ definition of QSSD in its Initial Guidance, they will be aggregated together because they have the
 same active moiety, and there is generic competition available for Invega. See Appendix D table below.
                                                                D-1
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4.    A number of researchers and organizations have also produced alternative and overlapping predictions of
      the list of MFP-eligible drugs for IPAY 2026, although they were produced prior to the issuance of the CMS
      guidance. 6




  6
   See, e.g., Johnson, Micah et. al, “Which Drug Prices Will Medicare Negotiate First? A Physicians’ [sic] Perspective,” Health Affairs
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                                                                                            Exhibit 1
                                                                Negotiation Timeline between CMS and Primary Manufacturer
                                                For Initial Price Applicability Year 2026 and Initial Price Applicability Years 2027 and Beyond

                                                                         Manufacturer
      CMS                                                                 accepts CMS                                                                          Publication of
    publishes              Agreement              CMS makes              initial offer or                                                                     explanation for
  selected drug           deadline for            initial MFP                submits              Negotiations between                  Publication            the negotiated             MFPs
       list               Manufacturer                offer [1]           counteroffer            manufacturer and CMS [2]               of MFPs                   MFPs                  effective


  September 1,             October 1,             February 1,              March 2,                  April 1 – August 1,               September 1,               March 1,               January 1,
     2023                    2023                    2024                   2024                            2024                          2024                     2025                    2026



  February 1,             February 28,               June 1,                July 1,               August 1 – November 1,               November 30,               March 1,              January 1,
     2025                    2025                     2025                   2025                          2025                           2025                     2026                   2027


Notes:
[1] During Fall 2023, CMS will meet with the manufacturer of each selected drug to review data submissions, subject to the manufacturer’s interest in such meeting. CMS will use these data
submissions to develop an initial offer for each selected drug. During this time period, CMS will also hold listening sessions with patients, consumer groups, and other interested parties to obtain
input on selected drugs. The CMS Guidance does not indicate whether these meetings will be held in subsequent years.
[2] If the Primary Manufacturer’s written counteroffer is not accepted by CMS, CMS will allow for up to three possible in-person or virtual negotiation meetings between the Primary
Manufacturer and CMS. For the initial price applicability year 2026, CMS has provided the following deadlines for the negotiation period: April 1, 2024 is the deadline for CMS to respond to the
Manufacturer’s counteroffer and the latest date for the first CMS-Manufacturer negotiation meeting to be scheduled if CMS declines the counteroffer; June 28, 2024 is the date by which
negotiation meetings between CMS and the Manufacturer must be complete; July 15, 2024 is the deadline for CMS to make a final MFP offer if an MFP was not agreed to during negotiations; July
31, 2024 is the deadline for the Manufacturer to accept or reject CMS final offer. CMS will provide additional information in the future regarding deadlines for the negotiation period for initial
price applicability years 2027 and beyond.

Sources:
[A] CMS Guidance, June 30th 2023, available at https://www.cms.gov/files/document/revised-medicare-drug-price-negotiation-program-guidance-june-2023.pdf
[B] “Text - H.R.5376 - 117th Congress (2021-2022): Inflation Reduction Act of 2022." Congress.gov, Library of Congress, 16 August 2022, https://www.congress.gov/bill/117th-congress/house-
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                                                                                          Exhibit 2
                                                                             Rituxan Follow-on Indication Timing1
                                                                                                                                                                                  Years from
             Disease type                                             Indication Description                                           Category                     Date       original approval
                                         Single agent, relapsed or refractory, low grade or follicular, CD20-positive B-
Non-Hodgkin's Lymphoma                   cell NHL                                                                        Original approval                        11/26/1997                     0
                                         Previously untreated in combination with (cyclophosphamide, doxorubicin,
                                         vincristine, and prednisone) (CHOP) or other anthracycline-based
Non-Hodgkin's Lymphoma                   chemotherapy regimens                                                           Line of treatment expansion/addition      2/10/2006                     8
                                         Previously untreated follicular, CD20-positive, B-cell NHL in combination
                                         with first line chemotherapy and, in patients achieving a complete or partial
                                         response to a rituximab product in combination with chemotherapy, as single-
                            2
Non-Hodgkin's Lymphoma                   agent maintenance therapy                                                       Line of treatment expansion/addition      9/29/2006                     8
                                         Non-progressing (including stable disease), low-grade, CD20- positive, B-cell
                                         NHL as a single agent after first-line cyclophosphamide, vincristine, and
Non-Hodgkin's Lymphoma                   prednisone (CVP) chemotherapy                                                   Line of treatment expansion/addition      9/29/2006                     8
                                         In combination with methotrexate in adult patients with moderately-to severely-
                                         active RA who have inadequate response to one or more TNF antagonist
Rheumatoid Arthritis                     therapies                                                                       New disease type                          2/28/2006                     8
                                         Adult patients, previously untreated and previously treated CD20-positive CLL
Chronic Lymphocytic Leukemia             in combination with fludarabine and cyclophosphamide (FC)                       New disease type                          2/18/2010                    12
                                         Granulomatosis with Polyangiitis (GPA) (Wegener’s Granulomatosis) and
Granulomatosis with Polyangiitis and     Microscopic Polyangiitis (MPA) in adult and pediatric patients 2 years of age
                        3
Microscopic Polyangiitis                 and older in combination with glucocorticoids                                   New disease type                          4/19/2011                    13
Pemphigus Vulgaris                       Moderate to severe Pemphigus Vulgaris (PV) in adult patients                    New disease type                           6/7/2018                    20
                                         Pediatric patients 6 months and older, previously untreated, advanced stage,
                                         CD20-positive, diffuse large B-cell lymphoma (DLBCL), Burkitt lymphoma
                                         (BL), Burkitt-like lymphoma (BLL) or mature B-cell acute leukemia (B-AL) in
Several diseases covered                 combination with chemotherapy                                                   New population and disease type           12/2/2021                    24

Notes:
[1] The "Disease type" column is taken directly from the version of Rituxan's label posted on 12/17/2023. The "Indication description" column summarizes the information provided in the
Indications and Usage section of that label. The "Date" column references the first time the new indication was shown. In cases where indications are modified, the modifications are documented in
notes below. Small modifications to wording (e.g., adding "single agent" when it was implied) are not explicitly documented.
[2] Indication was modified on 1/28/2011 to make patients achieving a complete or partial response to rituximab in combination with chemotherapy eligible for single-agent maintenance therapy.
[3] Indication was modified on 9/27/2019 to include pediatric patients 2 years of age and older.

Source:
[A] Drugs@FDA: FDA-Approved Drugs , https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?event=overview.process&ApplNo=125514, accessed on 4/28/2023.
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                                                                                                        Exhibit 3
                                                                                          Keytruda Follow-on Indication Timing1
                                                                                                                                                                                                          Years from
                   Disease type                                                        Indication Description                                                     Category                   Date       original approval
Melanoma2                                          Unresectable or metastatic melanoma                                                             Original approval                         9/4/2014                   0
                                                   Adjuvant treatment of adult and pediatric with Stage IIB, IIC, or III melanoma folowing
Melanoma3                                          complete resection                                                                              New disease subtype                      2/15/2019                   5
                                                   Single agent, metastatic NSCLC whose tumors express PD-L1, with disease progression on or
                            4
Non-Small Cell Lung Cancer                         after platinum-based chemotherapy                                                               New disease type                         10/2/2015                   1
                                                   Single agent, first-line, NSCLC expressing PD-L1 with no EGFR or ALK genomic aberrations
Non-Small Cell Lung Cancer                         and is metastatic                                                                               New population                          10/24/2016                   2
                                                   Combination therapy, first-line, metastatic nonsquamous NSCLC, with no EGFR or ALK
                            5
Non-Small Cell Lung Cancer                         genomic tumor abberations                                                                       New disease subtype                      5/10/2017                   3
Non-Small Cell Lung Cancer                         Combination therapy, first-line, metastatic squamous NSCLC                                      New disease subtype                     10/30/2018                   4

                                                   Single agent, first-line, NSCLC expressing PD-L1 with no EGFR or ALK genomic aberrations
Non-Small Cell Lung Cancer                         and is Stage III, not candidates for surgical resection or definitive chemoradiation            New disease subtype                      6/10/2019                   5
                                                   Single agent, adjuvant treatment following resection and chemotherapy for adult patients with
Non-Small Cell Lung Cancer                         Stage IB, II, or IIIA NSCLC                                                                     New disease subtype                      1/26/2023                   9

Head and Neck Squamous Cell Cancer                 Single agent, recurrent or metastatic HNSCC with disease progression on or after chemotherapy New disease type                            8/5/2016                   2
                                                   Single agent, first-line, metastatic or unresectable, recurrent HNSCC whose tumors express PD-
Head and Neck Squamous Cell Cancer                 L1                                                                                             Line of treatment expansion/addition      6/10/2019                   5
Head and Neck Squamous Cell Cancer                 Combination therapy, first-line, metastatic or unresectable, recurrent HNSCC                   Line of treatment expansion/addition      6/10/2019                   5
Classical Hodgkin Lymphoma6                        Adult patients with relapsed or refactory cHL                                                   New disease type                         3/14/2017                   3
                                                                                                                                                   Line of treatment expansion/new
Classical Hodgkin Lymphoma                         Pediatric patients with refactory cHL, or cHL that has relapsed after 2 or more lines of therapypopulation                              10/14/2020                   6
                                                   Combination therapy, adult patients with locally advanced or metastatic urothelial carcinoma and
                     7
Urothelial Carcinoma                               not eligble for cisplatin-containing chemotherapy                                                New disease type                        5/18/2017                   3
                                                   Single agent, locally advanced or metastatic urothelial carcinoma who have disease progression
                                                   during or following platinum-containing chemotherapy or within 12-months of neoadjuvant or
Urothelial Carcinoma                               adjuvant treatment with platinum-containing chemotherapy                                         New population                          5/18/2017                   3
                                                   Single agent with Bacillus Calmette-Guerin (BCG)-unresponsive, high risk, non-muscle invasive
                                                   bladder cancer (NMIBC) with carcinoma in situ (CIS) with or without papillary tumors who are
Urothelial Carcinoma                               ineligible for or have elected not to undergo cystectomy                                         New disease subtype                      1/8/2020                   5
                                                   Single agent, locally advanced or metastatic urothelial carcinoma who are not eligble for any
Urothelial Carcinoma                               platinum-containing chemotherapy                                                                 New population                          8/31/2021                   7
                                                   Adult and pediatric patients with unresectable or metastatic MSI-H or dMMR solid tumors that
Microsatellite Instability-High or Mismatch Repair have progressed following prior treatment and who have no satisfactory alternative treatment
Deficient Cancer                                   options                                                                                          New disease type                        5/23/2017                   3
                                                   Combination therapy, first-line, with locally advanced unresectable or metastatic HER2-positive
               8
Gastric Cancer                                     gastric or gastroesophageal junction (GEJ) adenocarcinoma                                        New disease type                        9/22/2017                   3
                                                   Single agent, with recurrent or metastatic cervical cancer with disease progression on or after
Cervical Cancer                                    chemotherapy whose tumors express PD-L1                                                          New disease type                        6/12/2018                   4
                                                   Combination therapy, with persistent, recurrent, or metastatic cervical cancer whose tumors
Cervical Cancer                                    express PD-L1                                                                                    Line of treatment expansion/addition   10/13/2021                   7
                                                   Adult and pediatric patients with refractory PMBCL or have relapsed after 2 or more prior lines
Primary Mediastinal Large B-Cell Lymphoma          of therapy                                                                                       New disease type                        6/13/2018                   4
Hepatocellular Carcinoma                           Previously treated with sorafenib                                                                New disease type                        11/9/2018                   4
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                                                                                                         Exhibit 3
                                                                                           Keytruda Follow-on Indication Timing1
                                                                                                                                                                                                                  Years from
                   Disease type                                                          Indication Description                                                       Category                      Date       original approval

Merkel Cell Carcinoma                                Adult and pediatric patients with recurent locally advanced or metastatic Merkel cell carcinoma New disease type                             12/19/2018                       4
                                                     Locally advanced or metastatic esophageal or GEJ (tumors with epicenter 1 to 5 centimeters
                                                     above the GEJ) carcinoma that is not amenable to surgical resection or definitive chemoradiation
Esophageal Cancer9                                   in combination therapy                                                                           New disease type                             7/30/2019                       5
                                                     Locally advanced or metastatic esophageal or GEJ (tumors with epicenter 1 to 5 centimeters
                                                     above the GEJ) carcinoma that is not amenable to surgical resection or definitive chemoradiation
                                                     as a single agent after one or more prior lines of systemic therapy for patients with tumors of
Esophageal Cancer                                    squamous cell histology that express PD-L1                                                       Line of treatment expansion/addition         3/22/2021                       7
Renal Cell Carcinoma                                 Combination with axitinib, first-line, adult patients with advanced RCC                          New disease type                             4/19/2019                       5
Renal Cell Carcinoma                                 Combination with lenvatinib, first-line, adult patients with advanced RCC                        Line of treatment expansion/addition         8/10/2021                       7
                                                     Adjuvant treatment with RCC at intermediate-high or high risk of recurrence following
Renal Cell Carcinoma                                 nephrectomy, or following nephrectomy and resection of metastatic lesions                        New population                              11/17/2021                       7
                                                     Combination therapy, advanced endometrial carcinoma that is mismatch repair proficient
                                                     (pMMR) or not MSI-H, who have disease progression following prior systemic therapy in any
Endometrial Cancer                                   setting and are not candidates for curative surgery or radiation                                 New disease type                             9/17/2019                       5
                                                     Single agent, advanced endometrial carcinoma that is MSI-H or dMMR, who have disease
                                                     progression following prior systemic therapy in any setting and are not candidates for curative
Endometrial Cancer                                   surgery or radiation                                                                             New population                               3/21/2022                       8
                                                     Adult and pediatric patients with unresectable or metastatic tumor mutational burden-high (TMB-
                                                     H) solid tumors, that have progressed following prior treatment and who have no satisfactory
Tumor Mutational Burden-High Cancer                  alternative treatment options                                                                    New disease type                             6/16/2020                       6
                                                     Recurrent or metastatic cSCC or locally advanced cSCC that is not curable by surgery or
Cutaneous Squamous Cell Carcinoma                    radiation                                                                                        New disease type                             6/24/2020                       6
Deficient Colorectal Cancer10                        Unresectable or metastatic MSI-H or dMMR colorectal cancer                                       New disease type                             6/29/2020                       6
                                                     Combination therapy, locally recurrent or unresectable or metastatic TNBC whose tumors
Triple-Negative Breast Cancer                        express PD-L1                                                                                    New disease type                            11/13/2020                       6
                                                     High-risk early-stage TNBC in combination as neoadjuvant treatment, and continued as single
Triple-Negative Breast Cancer                        agent as adjuvant treatment after surgery                                                        New disease subtype                          7/26/2021                       7

Notes:
[1] The "Disease type" column is taken directly from the version of Keytruda's label posted on 4/3/2023. The "Indication description" column summarizes the information provided in the Indications and Usage section of that
label. The "Date" column references the first time the new indication was shown. In cases where indications are modified, the modifications are documented in notes below. In cases where indication were removed on a label
before 4/3/2023, they are not shown in this exhibit. Small modifications to wording (e.g., adding "single agent" when it was implied) are not explicitly documented.
[2] Indication was modified on 12/18/2015 to no longer include disease progression on another ipilimumab.
[3] Indication was modified on 12/3/2021 to specify stage of disease and remove age restriction.
[4] Indication also includes instructions for patients with EGFR or ALK genomic tumor abberations to have disease progression on an FDA-approved therapy prior to receiving Keytruda.
[5] Indication was modified on 8/20/2018 by changing the chemotherapy combination from carboplatin to platinum chemotherapy.
[6] Indication was modified on 10/14/2020 by dropping the line of therapy requirement for adults and moving the requirement from at least 3 prior lines to at least 2 prior lines for pediatric patients.
[7] Indication was modified starting on 6/19/2018 by adding a genetic marker and ending on 4/3/2023 with changing to combination therapy.
[8] Indication was modified starting on 5/5/2/2021 by adding a combination therapy indication and ending on 2/4/2022 with a drop of the single agent therapy indication.
[9] Indication was modified on 3/22/2021 by adding gastroesophageal junction (GEJ) carcinoma that is not amenable to surgical resection or definitive chemotherapy for patients with tumors of squamous cell histology.
[10] The indication for Microsatellite Instability-High Cancer originally included a line for colorectal cancer, but it was given its own broader definition includding Mismatch Repair Deficient Cancer and a change in line of
treatment specification.

Source:
[A] Drugs@FDA: FDA-Approved Drugs , https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?event=overview.process&ApplNo=125514, accessed on 4/21/2023.
